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 1                                 UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF NEW YORK
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 3
      UNITED STATES OF AMERICA,                        :     08-CR-240
 4
                          v.                           :     U.S. Courthouse
 5                                                           Brooklyn, New York
      THOMAS GIOELI and                                :
 6    DINO SARACINO,                                   :
                                                             March 21, 2012
 7                                 Defendants.         :     9:30 o'clock a.m.
 8    -   -   -   -   -   -    -    - - - -        -    -   - - - - X
 9
                                   TRANSCRIPT OF TRIAL
10                                 BEFORE THE HONORABLE BRIAN M. COGAN
                                   UNITED STATES DISTRICT JUDGE, and a jury.
11
      APPEARANCES:
12
      For the Government:                              LORETTA E. LYNCH
13                                                     United States Attorney
                                                       By: ELIZABETH GEDDES
14                                                          CRISTINA POSA
                                                            JAMES GATTA
15                                                     Assistant U.S. Attorneys
                                                       271 Cadman Plaza East
16                                                     Brooklyn, New York 11201
17    For the Defendant Gioeli:                        ADAM PERLMUTTER, ESQ.
                                                       CARL HERMAN, ESQ.
18                                                     DANIEL McGUINNESS, ESQ.
19    For the Defendant Saracino:                      SAM BRAVERMAN, ESQ.
                                                       LOUIS FASULO, ESQ.
20                                                     HEATHER BERGER, ESQ.
21
22    Court Reporter:                                  Anthony M. Mancuso
                                                       225 Cadman Plaza East
23                                                     Brooklyn, New York 11201
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24
      Proceedings recorded by mechanical stenography, transcript
25    produced by CAT.
             ANTHONY M. MANCUSO, CSR OFFICIAL COURT REPORTER


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                                                501                                                                         503
                                                                          1 Q     Where were you born?
                                                                          2 A     Brooklyn, New York.
                                                                          3 Q     Did you grow up in Brooklyn?
                                                                          4 A     Yes.
                                                                          5 Q     How far did you go in school?
                                                                          6 A     High school equivalency diploma.
                                                                          7 Q     You received a GED?
                                                                          8 A     Yes.
                                                                          9 Q     Did you serve in the military?
                                                                         10 A     Yes, I did.
                                                                         11 Q     Which branch?
                                                                         12 A     The Army.
                                                                         13 Q     When did you go into the Army?
                                                                         14 A     1970.
                                                                         15 Q     How long were you in the Army for?
                                                                         16 A     Two years.
                                                                         17 Q     Were you on active duty?
18       THE WITNESS: Reynold Maragni, R-E-Y-N-O-L-D,                    18 A     Yes, I was.
19 M-A-R-A-G-N-I.                                                        19 Q     Were you deployed?
20       THE CLERK: Thank you. You may be seated.                        20 A     Yes.
21       THE COURT: You may inquire, Ms. Geddes.                         21 Q     Where?
22 REYNOLD MARAGNI ,                                                     22 A     Vietnam.
23   called as a witness, having been first duly sworn,                  23 Q     When did you leave Viet Nam?
24   was examined and testified as follows:                              24 A     1971.
25                                                                       25 Q     How long were you in Vietnam for?
          CMH OCR RMR CRR FCRR                                                       CMH OCR RMR CRR FCRR
                                                               Page 62                                                                    Page 64
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 1 DIRECT EXAMINATION                                                     1 A   Approximately 9 and a half months.
 2 BY MS. GEDDES:                                                         2 Q   Where were you assigned after Vietnam?
 3 Q    Sir, did you participate in organized crime?                      3 A   I was assigned to Fort Dix.
 4 A    Yes.                                                              4 Q   Did you go to Fort Dix?
 5 Q    Which family?                                                     5 A   Yes, I did.
 6 A    Colombo.                                                          6 Q   Did you stay at Fort Dix?
 7 Q    Were you an inducted member of the Colombo family?                7 A   No, I didn't.
 8 A    Yes, I was.                                                       8 Q   How were you discharged?
 9 Q    When were you inducted into the Colombo family?                   9 A   I was given a general discharge for less than honorable
10 A    2008.                                                            10 reasons.
11 Q    Prior to becoming a member of the Colombo family, did you        11 Q   Why was that?
12 associate with members of organized crime?                            12 A   I went AWOL.
13 A    Yes.                                                             13 Q   Why did you go AWOL?
14 Q    For how long?                                                    14 A   I received orders to go to Fort Hood, Texas to play war
15 A    From the '70s.                                                   15 games and I was a combat veteran and didn't feel like I should
16 Q    Did anything happen to end your association with the             16 play war games so I went AWOL.
17 Colombo family?                                                       17 Q   Did you get a legitimate job when you came back from Viet
18 A    I was arrested in January 2011.                                  18 Nam?
19 Q    How did that end your association with the Colombo               19 A   Yes.
20 family?                                                               20 Q   Where did you go when you came back from Viet Nam?
21 A    I made a decision to cooperate.                                  21 A   I went to Brooklyn.
22 Q    How old are you?                                                 22 Q   Did you commit crimes to supplement your income?
23 A    I'm 60.                                                          23 A   Yes.
24 Q    When were you born?                                              24 Q   What types of crimes?
25 A    1952.                                                            25 A   We did trunking which is you burglarize the trunk of a
             CMH      OCR   RMR     CRR      FCRR                                   CMH         OCR   RMR     CRR    FCRR

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 1 car and steal a spare tire or whatever else was in the trunk      1 A Soldier.
 2 you could take, and also I dealt in random card games and         2 Q Are there other names for a soldier?
 3 social clubs.                                                     3 A Wiseguy. Goodfella.
 4 Q Did you participate in any assaults?                            4 Q Are you familiar with the term "a made man"?
 5 A Yes.                                                            5 A Yes.
 6 Q Did you injure anyone?                                          6 Q What is that?
 7 A Yes.                                                            7 A That's an inducted member.
 8 Q Did you develop a reputation?                                   8 Q Is that another term for a soldier?
 9 A Yes.                                                            9 A Yes.
10 Q What was that reputation?                                      10 Q Are you familiar with the term "to be straightened out"?
11 A A tough guy.                                                   11 A Yes.
12 Q What is the primary purpose of the Colombo family?             12 Q What does it mean to be straightened out?
13 A The primary purpose is to engage in criminal activity,         13 A That's when you're inducted into a crime family.
14 make money.                                                      14 Q What is the role of a soldier or made men -- what is the
15 Q To make money?                                                 15 role of soldier in an organized crime family?
16 A Sure.                                                          16 A The role of a soldier is to go out and earn and cultivate
17 Q During the course of your involvement in organized crime,      17 and develop associates, to enhance the wealth of the crime
18 did you learn that the Colombo family had a certain structure?   18 family earning-wise and manpower-wise.
19 A Yes.                                                           19 Q What is the role below a soldier?
20 Q And before I ask you about that structure, did you learn       20 A Associate.
21 that there were other families like the Colombo family?          21 Q Are there other terms for associates?
22 A Yes.                                                           22 A Yes.
23 Q And did those families have the same general structure?        23 Q What are those?
24 A Yes.                                                           24 A Knockaround guy, street guy.
25 Q And are there also rules associated with the Colombo           25 Q What is the role of an associate?
           CMH OCR RMR CRR FCRR                                                 CMH OCR RMR CRR FCRR
                                                         Page 66                                                                     Page 68
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 1 family?                                                           1 A   Go out and earn.
 2 A Yes.                                                            2 Q    Go out and earn money?
 3 Q Were the rules associated with the Colombo family the           3 A   Go out and earn money and do whatever his supervisor
 4 same general rules that applied to those other families?          4 tells him.
 5 A Yes, there were.                                                5 Q    Are there certain ethnic requirements that someone has to
 6 Q How many organized crime families are there in the              6 fulfill to become a made member of an organized crime family?
 7 New York area?                                                    7 A   Yes.
 8 A Five.                                                           8 Q    What are those?
 9 Q What are the names of those families?                           9 A   You have to be 100 percent Italian.
10 A Colombo, Bonanno, Luchese, Gambino and Genovese.               10 Q    Has it always been that way?
11 Q Are you familiar with the role of a captain in organized       11 A   No.
12 crime?                                                           12 Q    How was it before?
13 A Yes.                                                           13 A   Before it was as long as you were Italian on your
14 Q Are there other names for captains in organized crime?         14 father's side, you could be inducted as a member.
15 A Yes.                                                           15 Q    I'm showing the witness only what's been marked for
16 Q What are those?                                                16 identification as Government Exhibit 37.
17 A Caporegime, skipper.                                           17        Do you recognize that?
18 Q What is the role of a captain in an organized crime            18 A   Yes.
19 family?                                                          19 Q    What is it?
20 A It's to oversee a crew of soldiers and supervise their         20 A   It's a picture of Gerry Langella.
21 day-to-day.                                                      21 Q    Is it a fair and accurate photograph of Mr. Langella?
22 Q And when you refer to supervising their day-to-day, whose      22 A   Yes.
23 day-to-day are you referring to?                                 23        MS. GEDDES: I offer Government Exhibit 37.
24 A Your -- the soldiers in your regime.                           24        MR. PERLMUTTER: No objection.
25 Q What is the position under captain?                            25        MR. FASULO: No objection.
           CMH OCR RMR CRR FCRR                                                  CMH      OCR    RMR     CRR      FCRR

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 1        THE COURT: Received.                                               1 Q What are those?
 2        (Exhibit 37 so marked.)                                            2 A Allie Boy, Little Allie.
 3        MS. GEDDES: May I publish it?                                      3 Q Approximately when did you meet Allie Boy Persico?
 4        THE COURT: You may.                                                4 A In the early '70s.
 5        (Exhibit published.)                                               5 Q How did you meet him?
 6 Q    Does Mr. Langella have any nicknames?                                6 A I met him over a dispute I had with his cousin.
 7 A    Gerry Lang.                                                          7 Q What was the nature of your dispute?
 8 Q    What is Gerry Lang's association with organized crime?               8 A It was an argument that his cousin was having with my
 9 A    Gerry Lang was an inducted member of the Colombo family              9 cousin and I interceded on it and it almost turned into a
10 and at one time served as acting boss.                                   10 fistfight and Allie came to see me and we talked about it and
11 Q    Where did you first meet Gerry Lang?                                11 we patched it up.
12 A    I met Gerry Lang on a, on a visit to my uncle at the                12 Q And what was your relationship with Allie Boy Persico
13 West Street Federal Detention Center in New York.                        13 after that?
14 Q    Were you incarcerated at that time?                                 14 A We were good friends.
15 A    No, I wasn't.                                                       15 Q What, if any, affiliation with organized crime did Allie
16 Q    Was your uncle incarcerated?                                        16 Boy Persico have?
17 A    Yes, he was.                                                        17 A His affiliation was with the Colombo family.
18 Q    Was Mr. Lang incarcerated?                                          18 Q Was he an inducted member?
19 A    Yes, he was.                                                        19 A Yes.
20 Q    Did you later associate with Gerry Lang out of jail?                20 Q Did you commit crimes with Allie Boy Persico?
21 A    Yes.                                                                21 A Yes.
22 Q    After Gerry Lang was released -- withdrawn.                         22 Q What types of crimes?
23        Are you familiar with the term to be with somebody?               23 A Shylocking.
24 A    Yes.                                                                24 Q What do you mean by shylocking?
25 Q    Who were you first with in that sense?                              25 A Giving out loans for a high interest rate.
           CMH        OCR    RMR     CRR      FCRR                                       CMH OCR RMR CRR FCRR
                                                                  Page 70                                                                     Page 72
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 1 A    Gerry Lang.                                                          1 Q    Did you do anything to ensure that those loans would be
 2 Q    And what does it mean to be with somebody?                           2 repaid?
 3 A    To be with somebody is you place yourself in somebody's              3 A   Yes.
 4 hands and he directs you and supervises you and cultivates you            4 Q    What?
 5 and grooms you and you go out and earn a living and you report            5 A   Well, threats, and -- yeah, threats, basically.
 6 directly to him.                                                          6 Q    Threats of violence?
 7 Q    How old were you when you were first with Gerry Lang?                7 A   Yes.
 8 A    Approximately 22, 23.                                                8 Q    Did you stay in Brooklyn?
 9 Q    So it was after your time in the military?                           9 A   I moved to Florida, I believe it was 1983.
10 A    Yes.                                                                10 Q    Where in Florida?
11 Q    When you were with Gerry Lang, what did you do for him?             11 A   Central Florida, Orlando.
12 A    I mostly delivered messages for him and whatever else he            12 Q    Did you get a job there?
13 asked me to do.                                                          13 A   Yes, I did.
14 Q    Does that include assault at times?                                 14 Q    Doing what?
15 A    Yes.                                                                15 A   I was marketing director of Club Sevilla, a time-share
16        MS. GEDDES: I'm now showing the witness what's in                 16 resort in Kissammee, Florida.
17 evidence, I'll publish to the jury as well, as Government                17 Q    Did you also commit crimes to supplement your income when
18 Exhibit 52.                                                              18 you lived in Central Florida?
19        (Exhibit published.)                                              19 A   Yes, I did.
20 Q    Do you recognize that individual?                                   20 Q    What types of crimes?
21 A    Yes.                                                                21 A   I committed credit card fraud.
22 Q    Who is that?                                                        22 Q    What was the fraud?
23 A    That's Alphonse Persico.                                            23 A   It was we would buy 3-day passes in Walt Disney World
24 Q    Does he have any nicknames?                                         24 with fraudulent credit cards.
25 A    Yes.                                                                25 Q    Where did you obtain the credit cards from?
           CMH        OCR    RMR     CRR      FCRR                                       CMH     OCR    RMR      CRR     FCRR

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 1 A New York.                                               1 Q Did you operate those alone or with partners?
 2 Q Were they legitimate credit cards?                      2 A With partners.
 3 A No, they weren't.                                       3 Q Did you eventually start to commit a crime again when you
 4 Q How long did the scheme last?                           4 were in South Florida?
 5 A Approximately a year.                                   5 A Yes, I did.
 6 Q What would you do with the 3-day passes after you       6 Q Doing what?
 7 obtained them?                                            7 A Shylocking.
 8 A Sell them to travel agents in the area.                 8 Q Are you familiar with the term "money laundering"?
 9 Q Approximately how much money did you earn through that 9 A Yes, I am.
10 scheme?                                                  10 Q What is money laundering?
11 A There was thousands earned.                            11 A Money laundering is when you take money and clean it up
12 Q How did it end?                                        12 and keep the proceeds, keep a percentage of the proceeds and
13 A I was arrested.                                        13 give the money back.
14 Q Were you charged with a crime?                         14 Q Have you engaged in money laundering?
15 A Yes, I was.                                            15 A Yes.
16 Q What crime?                                            16 Q When?
17 A Credit card fraud.                                     17 A 1994 and again in 2010, I believe.
18 Q In the federal system or the state system?             18 Q Directing your attention back to the early '90s, what did
19 A Federal system.                                        19 you do in connection with money laundering then?
20 Q How did you resolve your case?                         20 A I was given a check from a -- I was given a check from a
21 A I pled guilty.                                         21 friend and I would deposit that in my corporate account, hold
22 Q What was your sentence?                                22 back 10 percent and give them the rest.
23 A Five years.                                            23 Q Did you know where your friend obtained those checks
24 Q Did you spend five years in jail?                      24 from?
25 A I spent twenty months.                                 25 A He says he got them from his clients. He was a
          CMH OCR RMR CRR FCRR                                         CMH OCR RMR CRR FCRR

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 1 Q Why were you released early?                                  1 stockbroker.
 2 A Parole.                                                       2 Q    Did you believe that your friend had permission to have
 3 Q When were you released?                                       3 your friend, his clients' checks?
 4 A July 1987.                                                    4 A   No.
 5 Q Where did you live when you were released?                    5 Q    And what did you do with the checks once you received
 6 A Central Florida back in the Orlando area.                     6 them?
 7 Q Did you stay in Central Florida?                              7 A   I deposited them into my corporate account and when the
 8 A No, I didn't.                                                 8 check cleared, I gave him back 90 percent.
 9 Q Where did you move to?                                        9 Q    And how much did you keep for yourself?
10 A I moved to South Florida, Pompano Beach area.                10 A   10 percent.
11 Q Did you get a job there?                                     11 Q    How much money did you earn through that scheme?
12 A Yes, I did.                                                  12 A   Thousands.
13 Q Doing what?                                                  13 Q    Were you caught by law enforcement for your role in that
14 A I was in a motorcycle shop. I was a parts manager.           14 crime?
15 Q Did you stay at that shop?                                   15 A   No, I wasn't.
16 A Yes, I did.                                                  16 Q    Were there members of the Colombo family living in
17 Q Did you --                                                   17 Florida?
18       MR. HERMAN: I'm sorry. Can we take the picture           18 A   Yes.
19 down, please?                                                  19 Q    Did you associate with members of the Colombo family
20       Thank you, Judge.                                        20 while you were in Central Florida?
21 Q How long did you stay at that shop for?                      21 A   No.
22 A On and off, I was at that shop approximately eight years,    22 Q    How about when you were back in South Florida in Pompano
23 nine years.                                                    23 Beach?
24 Q And did you also have your own motorcycle shops?             24 A   Yes.
25 A Yes, I did.                                                  25 Q    Which Colombo family members did you associate with in
          CMH OCR RMR CRR FCRR                                                 CMH     OCR    RMR        CRR   FCRR

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 1 South Florida?                                                             1        THE COURT: Received.
 2 A    Anthony Black, Tom Farese, Vinny Alloy, Pattie Catalano,              2        (Exhibits 367A through D so marked.)
 3 Bobby Pate, Allie Boy Persico.                                             3        MS. GEDDES: I'm going to publish 367C to the jury.
 4 Q    Did all of those individuals live in South Florida?                   4        (Exhibit published.)
 5 A    No.                                                                   5 Q    Who's in that photograph?
 6 Q    Did some of those individuals live in South Florida?                  6 A    Allie Boy and myself.
 7 A    Yes.                                                                  7 Q    Can you point to, on the screen to which one is Allie
 8 Q    Now, when you associated -- directing your attention to               8 Boy?
 9 Allie Boy Persico, was he living in South Florida?                         9 A    (Indicating.)
10 A    I believe he had dual residence.                                     10 Q    If you touch it, yes.
11 Q    He traveled back and forth?                                          11        Is that where you've made the little purple mark?
12 A    Yes.                                                                 12 That's Allie Boy?
13 Q    Where was he traveling back and forth between?                       13 A    Yes.
14 A    Florida and New York.                                                14 Q    Did you eventually begin to commit crimes again with
15 Q    You previously testified that you associated with Allie              15 Allie Boy Persico when you were in South Florida?
16 Boy when you were living in Brooklyn growing up.                          16 A    Yes.
17 A    Right.                                                               17 Q    What did you do with him?
18 Q    Did you stay in touch with Allie Boy that whole time,                18 A    I basically oversaw the day-to-day of the South Florida
19 between the time when you were growing up with him in Brooklyn            19 crew. I brought messages back and forth for him. I met with
20 and when you re associated, when you were associated with him             20 people from other crime families.
21 in South Florida?                                                         21 Q    You mentioned the South Florida crew. What do you mean
22 A    No. There was a time close to fifteen years that we                  22 by that?
23 didn't speak.                                                             23 A    Members and associates of the Colombo family that were
24 Q    Approximately when did you start to associate with Allie             24 living in the southern district of Florida.
25 Boy again?                                                                25 Q    Were you an inducted member of the Colombo family at that
              CMH   OCR      RMR      CRR     FCRR                                       CMH         OCR     RMR    CRR       FCRR

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 1 A Approximately in 1995, '96.                                  1 time?
 2 Q And where was he living at that time?                        2 A No, I wasn't.
 3 A He was living in New York and Florida.                       3 Q Who were those members and associates of organized crime
 4 Q And where were you living?                                   4 of the Colombo family?
 5 A Florida.                                                     5 A Anthony Anduisa, Anthony Black and Tommy Farese.
 6 Q Where would you see Allie Boy, in New York or in Florida? 6 Q And were there other associates of the Colombo family?
 7 A Florida.                                                     7 A Yes, there were.
 8 Q How frequently did you see Allie Boy?                        8 Q Who were those?
 9 A Once a month.                                                9 A Joey Flowers, Ritchie Delgoio, myself and many others.
10 Q What was your relationship with him?                        10 Q How did you become, since you were simply an associate,
11 A Friendly.                                                   11 how did you become the person in charge of that crew?
12       MS. GEDDES: I'm showing the witness only what's         12 A Well, I was a trusted friend of Allie Boy's so ...
13 been marked for identification as Government Exhibit 367A, B, 13 Q And who put you in charge of the crew?
14 C and D.                                                      14 A Allie Boy.
15 Q Do you recognize those?                                     15 Q You mentioned Anthony Black. Who is he?
16 A Yes.                                                        16 A Anthony Anduisi is a soldier in the Colombo crime family.
17 Q What are those?                                             17 Q And is Anthony Black a nickname for Anthony Anduisi?
18 A Those are pictures of Allie Boy and myself.                 18 A Yes.
19 Q When were they taken?                                       19 Q Did he spend time in the jail in the '90s?
20 A They were taken New Year's EVE 2000 -- I'm sorry. New 20 A Yes, he did.
21 Year's eve 1998, I believe it was.                            21 Q How about Tommy Farese, what is his association with the
22       MS. GEDDES: The government offers Government            22 Colombo family?
23 Exhibits 367A through D.                                      23 A He's an inducted member in the Colombo family.
24       MR. HERMAN: No objection.                               24 Q And did Tommy Farese spend time in jail in the '90s?
25       MR. FASULO: No objection.                               25 A Yes, he did.
           CMH OCR RMR CRR FCRR                                             CMH OCR RMR CRR FCRR

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 1 Q What was Allie Boy's position in the late '90s?               1 was overseeing the Colombo crime family.
 2 A Allie Boy was acting boss of the Colombo family.              2 Q What happened to Sal Fusco, Senior?
 3 Q In your role as supervising the South Florida crew, did       3 A He died.
 4 you learn what types of crimes the crew was committing?         4 Q When?
 5 A Yes.                                                          5 A I believe it was July of 2000.
 6 Q What types of crimes?                                         6 Q Were you eventually arrested again?
 7 A It was money laundering, extortion, shylocking,               7 A Yes, I was.
 8 bookmaking.                                                     8 Q When?
 9 Q Did you profit from those crimes?                             9 A In June of 2000.
10 A Yes.                                                         10 Q For what?
11 Q Who determined your profit?                                  11 A Racketeering.
12 A Allie.                                                       12 Q Is that a federal or a state charge?
13 Q Allie Boy?                                                   13 A Federal.
14 A Yes.                                                         14 Q How did you resolve those charges?
15 Q How much did you earn?                                       15 A I pled guilty.
16 A Thousands.                                                   16 Q To what crime?
17 Q For how long approximately did you act as a supervisor       17 A I pled guilty to one count of conspiracy, racketeering
18 for the crew?                                                  18 conspiracy.
19 A Approximately a year and a half, two years.                  19 Q Was a particular organized crime family part of that
20 Q Were you always interacting with Allie Boy as your           20 racketeering conviction?
21 contact in New York?                                           21 A Yes, the Colombo family.
22 A Yes.                                                         22 Q And were there other crimes involved in the racketeering
23 Q Did there come a time when you stopped interacting with      23 conspiracy that you were charged which and to which you
24 Allie Boy?                                                     24 pleaded guilty to?
25 A Yes.                                                         25 A Yes.
           CMH OCR RMR CRR FCRR                                             CMH OCR RMR CRR FCRR
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 1 Q What happened?                                                1 Q What were those?
 2 A He was arrested and sent to prison.                           2 A Extortion, shylocking, wire fraud.
 3 Q Did you continue to associate with the Colombo family in      3 Q Did you commit those crimes?
 4 New York when Allie Boy was arrested?                           4 A Yes.
 5 A Yes, I did.                                                   5 Q What was your sentence?
 6 Q Who was your point of contact?                                6 A Two years.
 7 A Sal Fusco, Senior.                                            7 Q Were you also sentenced to a period of supervised
 8 Q I'm showing the witness only what's been marked for           8 release?
 9 identification as Government Exhibit 33.                        9 A Yes.
10         Do you recognize that individual?                      10 Q What is supervised release?
11 A Yes.                                                         11 A Supervised release is, it's like a term of parole but
12 Q Who is it?                                                   12 only -- they did away with the parole board. It's probation.
13 A That's Sal Fusco, Senior.                                    13 You're on probation for three years.
14 Q Fair and accurate photograph of Sal Fusco, Senior?           14 Q Are there certain conditions that you have to abide by?
15 A Yes.                                                         15 A Yes.
16         MS. GEDDES: I offer Government Exhibit 33.             16 Q Are you allowed to associate with other members of
17         MR. HERMAN: No objection.                              17 organized crime during that period?
18         MR. FASULO: No objection.                              18 A No.
19         THE COURT: Received.                                   19 Q You have to have a job?
20         (So marked.)                                           20 A Yes.
21         MS. GEDDES: May I publish it?                          21 Q Did you abide by all the conditions of your supervised
22         (Exhibit published.)                                   22 release?
23 Q What, if any, affiliation with the Colombo family did Sal    23 A Yes.
24 Fusco, Senior have at the time he was your point of contact?   24 Q Did you stop associating with members of organized crime
25 A Sal Fusco at the time was a ruling member on a panel that    25 while you were on supervised release?
            CMH OCR RMR CRR FCRR                                              CMH OCR RMR CRR FCRR

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                                       525                                   Maragni - direct / Geddes        527
 1 A No, I didn't.                                              1 DIRECT    EXAMINATION     CONTINUED
 2 Q When were you released from jail?                          2 BY MS. GEDDES:
 3 A 2003.                                                      3 Q Where?
 4 Q When you were released from jail, did you start to commit 4 A Restaurant in Brooklyn.
 5 crimes?                                                      5 Q Where in Brooklyn?
 6 A Yes.                                                       6 A Downtown Brooklyn.
 7 Q What types of crimes then?                                 7 Q Do you remember the name of that restaurant?
 8 A Shylocking.                                                8 A Monte's.
 9 Q Other crimes too?                                          9 Q Did members and associates of the Colombo family spend
                                                               10 time at that restaurant?
10 A Yes.
                                                               11 A Yes, they did.
11 Q What other types of crimes did you commit?
                                                               12 Q Who?
12 A Money laundering.
                                                               13 A Jerry Langella, Andrew Russo, Jo-Jo Russo, Chucky Russo.
13        MS. GEDDES: I'm showing the witness what's in
                                                               14 Q I'm showing you what's been marked for identification as
14 evidence as Government Exhibit 1B.
                                                               15 Government Exhibit 58 and 59.
15 Q Do you know that individual?
                                                               16        Do you recognize those?
16 A Yes, I do.                                                17 A Yes, I do.
17        MS. GEDDES: If you may publish it for the jury.      18 Q What are those?
18 Thank you.                                                  19 A Those are photographs of Chucky Russo and Jo-Jo Russo.
19        (Exhibit published.)                                 20 Q Fair and accurate photographs of those individuals?
20 Q Who is that?                                              21 A Yes.
21 A Tomorrow Gioeli.                                          22        MS. GEDDES: I offer Government Exhibits 68 and 69
22 Q Do you see him in the courtroom today?                    23 into evidence.
23 A Yes.                                                      24        MR. PERLMUTTER: No objection.
24 Q Can you please point to him and identify him by his       25        THE COURT: Received.
25 clothing?                                                                     MARSHA DIAMOND, CSR
           CMH OCR RMR CRR FCRR                                                 OFFICIAL COURT REPORTER
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                                        526                                    Maragni - direct / Geddes           528
 1 A Where he's sitting there, he's wearing a green shirt.         1        (Government Exhibits 68 and 69 received and marked
 2        MS. GEDDES: Let the record reflect the witness is        2 into evidence).
 3 identifying defendant Thomas Gioeli.                            3        MS. GEDDES: I publish 68.
 4 Q When did you first meet Tommy Gioeli?                         4 Q Who is the individual shown in 68?
 5 A First time I met Tommy, I believe was the '70s.               5 A That is Chucky Russo.
 6        (Continued on next page.)                                6 Q And how about 69?
 7                                                                 7 A Chucky Russo.
 8                                                                 8 Q Did you stay in touch with Tommy Gioeli after you saw him
 9                                                                 9 at Monte's restaurant in the 70s?
                                                                  10 A No.
10
                                                                  11 Q When did you next hear from Tommy Gioeli?
11
                                                                  12 A 2007.
12
                                                                  13 Q What happened?
13
                                                                  14 A I was asked to come to New York. Tommy Gioeli wanted to
14
                                                                  15 see me.
15
                                                                  16 Q Who asked you to do that?
16
                                                                  17 A Angelo Spata.
17                                                                18 Q Who is Angelo Spata?
18                                                                19 A He's Allie boy's brother-in-law.
19                                                                20 Q Did you agree to meet Gioeli?
20                                                                21 A Yes.
21                                                                22 Q Did you meet him?
22                                                                23 A Yes, I did.
23                                                                24 Q Where did you meet him?
24                                                                25 A I met him in Long Island at the Hilton Hotel.
25                                                                                 MARSHA DIAMOND, CSR
            CMH OCR RMR CRR FCRR                                                  OFFICIAL COURT REPORTER

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                                                       Page 89                                                          Page 91
              Maragni - direct / Geddes          529                         Maragni - direct / Geddes           531
 1 Q Do you know where that hotel was located on Long Island? 1 Q When?
 2 A It was in Huntington.                                      2 A The next day.
 3 Q Did you choose the location?                               3 Q Where?
 4 A No.                                                        4 A At Barnes & Noble book store, Staten Island.
 5 Q How did you know to go to that location?                   5 Q Was it just you and Joe Imbergamo?
 6 A I was driven there.                                        6 A When I got to Barnes & Noble Tommy Gioeli was there,
 7 Q Why whom?                                                  7 Junior Lollipop, Jimmy Padulla and myself and Joe Imbergamo
 8 A Angelo.                                                    8 came in and I was introduced to him, and we sat down, Joe
 9 Q Spata?                                                     9 Imbergamo and myself, and we talked about it, and we
10 A Yes.                                                      10 straightened the problem out, and he realized I didn't owe the
11 Q When you agreed to meet with Gioeli did you know the      11 money.
12 nature of the meeting?                                      12 Q You mentioned an individual by the name of Junior
13 A No.                                                       13 Lollipop, who's that?
14 Q Who did you see when you arrived at the hotel?            14 A His name is Joe Carna. He is an inducted member in the
15 A When I got to the hotel I saw Jimmy Padulla, Tommy Gioeli 15 Colombo family.
16 and Dennis DeLucia.                                         16 Q And how about Dennis DeLucia, you testified you met at
17 Q Had you meet Jimmy Padulla that before that occasion?     17 the Hilton hotel in Huntington Long Island?
18 A No.                                                       18 A He is also an inducted member of the Colombo family.
19 Q How about Dennis DeLucia?                                 19 Q Directing your attention to Christmas of 2007, did you
20 A No.                                                       20 travel to New York then?
21 Q Did you recognize Gioeli as the individual that you met   21 A Yes, I did.
22 in the 70s?                                                 22 Q Where did you stay during your visit?
23 A No, I didn't.                                             23 A I stayed in the Hilton hotel in Long Island.
24 Q How did you realize he was the same one you met in the 24 Q The same location where you met defendant Tommy Gioeli?
25 70s?                                                        25 A Yes.
                 MARSHA DIAMOND, CSR                                            MARSHA DIAMOND, CSR
                OFFICIAL COURT REPORTER                                        OFFICIAL COURT REPORTER
                                                       Page 90                                                          Page 92
             Maragni - direct / Geddes          530                               Maragni - direct / Geddes           532
 1 A Tommy refreshed my memory.                                   1 Q Did you see Gioeli while you were in New York on that
 2 Q What did he say?                                             2 trip?
 3 A He says that he met me years ago in Monte's and I            3 A Yes, I did.
 4 probably don't recognize him because he had hair back then.    4 Q Where?
 5 Q What was the reason for the meeting at the Huntington        5 A I saw him at the hotel and we went out to a nightclub and
 6 hotel?                                                         6 then to dinner.
 7 A Tommy wanted me to straighten out a dispute of a person      7 Q What nightclub did you go to?
 8 that was claiming that I owed $25,000 to.                      8 A We went to Mirage in Long Island.
 9 Q Did you learn who said you owed that money?                  9 Q When you were inside the Mirage nightclub, what part of
10 A Yes, I did.                                                 10 nightclub were you?
11 Q Who?                                                        11 A He was sitting in a little area off to the side. I guess
12 A It was a fellow Joseph Imbergamo (ph).                      12 it is a little VIP area.
13 Q Did Mr. Imbergamo have ties to organized crime?             13 Q Were any other members of organized crime with you that
14 A Yes.                                                        14 night?
15 Q What are those?                                             15 A Dennis DeLucia showed up. There was just some friends
16 A He was inducted member of the Lucchese family.              16 that Tommy knew that -- there was a doctor and his friend.
17 Q Did you owe that money?                                     17 Q Did you see Gioeli after that?
18 A No, I didn't.                                               18 A After what?
19 Q Did Gioeli propose how to resolve this situation?           19 Q After you saw him during Christmas 2007?
20 A Yes.                                                        20 A Yes, I did.
21 Q What did he say?                                            21 Q When did you see him next?
22 A He said he wanted me to meet with Joe Imbergamo and         22 A I saw him in Florida.
23 straighten it out.                                            23 Q Where did you meet him in Florida?
24 Q Did you agree to meet with Imbergamo?                       24 A I met him in West Palm Beach at a restaurant, Villagio's
25 A Yes, I did.                                                 25 (ph) restaurant.
                  MARSHA DIAMOND, CSR                                                 MARSHA DIAMOND, CSR
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                                                         Page 93                                                           Page 95
              Maragni - direct / Geddes          533                             Maragni - direct / Geddes         535
 1 Q Did you request a meeting?                                     1 Q Was the defendant Tommy Gioeli present at your ceremony?
 2 A No.                                                            2 A No, he wasn't.
 3 Q Did he?                                                        3 Q Did you see the defendant Gioeli after you became an
 4 A Yes.                                                           4 inducted member in the Colombo family?
 5 Q Why did you meet with Gioeli at that time?                     5 A Yes.
 6 A I met with Tommy. We had a couple of coffee and.               6 Q Where did you see him?
 7        MR. PERLMUTTER: Objection; nonresponsive.                 7 A I first saw him at Allie Russo's wedding.
 8        THE COURT: Sustained.                                     8 Q Who is Allie Russo?
 9 Q What happened when you met with Gioeli at that time?           9 A Chucky Russo's son.
10 A What happened? I sat with him, I spoke with him, and he       10 Q Were there other members of the Colombo family present at
11 informed me that I was going to be a made member of the         11 that wedding?
12 Colombo family.                                                 12 A Yes.
13 Q You were going to be inducted into the Colombo family?        13 Q Who?
14 A Yes, I was going to be straightened out, yes.                 14 A Jimmy Gooch, Dennis DeLucia. Billie Russo, myself, Tommy
15 Q You testified that you were eventually straightened out;      15 Gioeli, Vincent Manzo.
16 is that correct?                                                16 Q And all those individuals are inducted members in the
17 A Yes, I was.                                                   17 Colombo family?
18 Q When were you inducted in the Colombo family?                 18 A Yes.
19 A 2008.                                                         19 Q You mentioned Jimmy Gooch, is that a real name or a
20 Q Do you remember when in 2008?                                 20 nickname?
21 A On Palm Sunday.                                               21 A Nickname.
22 Q What month is Palm Sunday in?                                 22 Q Do you know his real name?
23 A I believe it was March that year.                             23 A No, I don't know his last name.
24 Q Where did the ceremony takes place?                           24 Q What happened when you saw Gioeli at the wedding?
25 A Bronx, New York.                                              25 A When I saw Tommy at the wedding I was introduced to him.
                  MARSHA DIAMOND, CSR                                               MARSHA DIAMOND, CSR
                 OFFICIAL COURT REPORTER                                           OFFICIAL COURT REPORTER
                                                         Page 94                                                           Page 96
             Maragni - direct / Geddes            534                       Maragni - direct / Geddes            536
 1 Q Do you remember the location in the Bronx?                1 Q By whom?
 2 A Yes, it was down in the basement of -- they had some      2 A Dennis DeLucia.
 3 makeshift social club. There was --                         3 Q What do you mean by "introduced"?
 4 Q Who was present at the ceremony?                          4 A I was introduced formally to Tommy as inducted member of
 5 A Richie Fusco, Benjie Castellazo, Dennis DeLucia and       5 the Colombo family.
 6 myself.                                                     6 Q Can you describe for the jury precisely how you were
 7 Q What, if any, affiliation did Richie Fusco have with      7 introduced to Tommy Gioeli?
 8 organized crime in terms of your ceremony?                  8 A Dennis DeLucia took my hand in his and put Tommy's hand
 9 A Richie Fusco at the time he told me was acting underboss  9 in his and put our hands together, and he told Tommy -- he
10 of the Colombo family.                                     10 says, Tommy, this is Reynald Maragni amigo nostro (ph) Colombo
11 Q How about Castellazo?                                    11 family. He says Reynalda, this is Tommy Gioeli amigo nostro,
12 A He was a captain.                                        12 acting boss of the Colombo family.
13 Q How did you learn their positions in the Colombo family? 13 Q What did you understand Gioeli's position to be in the
14 A They told me.                                            14 Colombo family based on what he said told you?
15 Q During the ceremony?                                     15 A Acting boss.
16 A Yes.                                                     16 Q You used the term amigo nostro, what is that?
17 Q Who resided over your ceremony?                          17 A My friend. Close friend.
18 A Richie Fusco.                                            18 Q In what language?
19 Q What happened during the ceremony?                       19 A Italian.
20 A What happened?                                           20 Q Were you formally introduced to any other members of the
21 Q Yes.                                                     21 Colombo family that night?
22 A What happened. I put my hand on a gun and got my finger 22 A Yes I was.
23 pinched and they burned the saint in my hand.              23 Q Who?
24 Q When you say "they" who are you referring to?            24 A I was introduced to Jimmy Gooch, and Billy Russo.
25 A Richie Fusco, and Benjie Castellazo.                     25 Q Who introduced you?
                MARSHA DIAMOND, CSR                                             MARSHA DIAMOND, CSR
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              Maragni - direct / Geddes             537                      Maragni - direct / Geddes           539
 1 A Tommy did.                                                 1 standings.
 2 Q Did Gioeli mention your ceremony at which you were         2 Q Did Gioeli explain to you what Manzo had done that was
 3 inducted in the Colombo family?                              3 not the right way?
 4 A Yes.                                                       4 A Yes.
 5 Q What did he say?                                           5 Q What had he done?
 6 A He says he would have liked to have been there but he      6 A Vincent Manzo's son owed a lot of money to a lot of
 7 couldn't. He says that he was followed. He had a tail. So    7 different people and Vincent went around making deals, making
 8 he didn't come to the ceremony.                              8 promises to pay these people and didn't live up to any. So
 9 Q What did you understand him to mean by his being followed 9 for that it was -- he became a big embarrassment and Tommy put
10 or that he had a tail?                                      10 him on the shelf.
11 A Cops were following him.                                  11 Q Did you ever meet in Brooklyn with Gioeli after you were
12 Q You previously testified that Vincent Manzo was present   12 inducted into the Colombo family?
13 at the wedding as well?                                     13 A Yes, I did.
14 A Yes, he was.                                              14 Q Where was that?
15 Q Did Gioeli introduce you to Manzo?                        15 A We met on Bay 8th Street and 86th Street in Brooklyn.
16 A No, he didn't.                                            16 Q Who else was there?
17 Q Did you learn why he did not?                             17 A Dennis DeLucia and Sal Fusco Junior.
18 A Yes.                                                      18 Q And how is Sal Fusco Junior related to Sal Fusco?
19 Q What did Gioeli tell you about Mr. Manzo?                 19 A He is his son.
20 A Vincent Manzo is on the shelf.                            20 Q What is Sal Fusco Junior's affiliation with the Colombo
21 Q What does it mean to be on the shelf?                     21 family?
22 A To be on the shelf is basically you are exiled. You       22 A He is an inducted member of the Colombo family.
23 aren't entitled to any representation, you are not to       23 Q Where did you go that day?
24 associate with other members of organized crime and you are 24 A We went to La Polema (ph) restaurant and had lunch.
25 not to be recognized.                                       25 Q Was it just the four of you or were there others there?
                   MARSHA DIAMOND, CSR                                           MARSHA DIAMOND, CSR
                 OFFICIAL COURT REPORTER                                        OFFICIAL COURT REPORTER
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               Maragni - direct / Geddes              538                      Maragni - direct / Geddes           540
 1 Q What do you mean by representation?                           1 A No, Jimmy Gooch.
 2 A You are -- don't have any right to go to a captain to         2 Q What happened at the lunch?
 3 settle disputed or be represented by anybody.                   3 A At the lunch we were sitting down and basically
 4 Q How are disputes resolved in organized crime?                 4 socialized and Louie Canoli come in.
 5 A Usually members sit down and they try to hash out their       5 Q Who's Louie Canoli?
 6 differences and if they can't, they'll go -- what we would      6 A He's an associate of the Colombo family.
 7 call -- they will go to wiser heads. They will go to            7 Q Inducted member?
 8 superiors.                                                      8 A No.
 9 Q Are you familiar with the term sit-down?                      9 Q What happened when Louie Canoli came in?
10 A Yes.                                                         10 A He sat down and Tommy was reprimanding him.
11 Q Who attends a sit-down?                                      11 Q For what?
12 A Usually it's two members straightening out a dispute of      12 A Louie Canoli was going around passing himself off as a
13 their own, over someone else, or they are representing someone13 made guy. Wiseguy.
14 else.                                                          14 Q He was reprimanded for that?
15 Q You testified that Gioeli told you that Manzo was on the     15 A Yes, he was.
16 shelf, who of the crime families who put someone on the shelf? 16        MS. GEDDES: I'm showing the witness what's been
17 A The boss.                                                    17 marked for identification as Government Exhibits 17, 19, 29,
18 Q Who can take someone off the shelf?                          18 30, 32, 38, 53 73, and 75.
19 A Only the boss.                                               19 Q Beginning with Government Exhibit 75 -- I'm sorry -- 17,
20 Q Were you given any other instructions as to Mr. Manzo?       20 do you recognize this?
21 A Yes, I was.                                                  21 A Yes.
22 Q What were those?                                             22 Q What is this?
23 A Tommy asked me to talk to Vincent and tell him to start      23 A That's Jimmy Lollipop.
24 doing things right, and start acting the right way, and maybe  24 Q And again is Jimmy Lollipop a real name or a nickname?
25 he can find himself back in the good graces and good           25 A It's a nickname.
                   MARSHA DIAMOND, CSR                                             MARSHA DIAMOND, CSR
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              Maragni - direct / Geddes         541                            Maragni - direct / Geddes          543
 1 Q And Government Exhibit 19, do you recognize this?            1 Q Have you ever held any other positions in the Colombo
 2 A Benjie.                                                      2 family other than soldier?
 3 Q What is his last name?                                       3 A Yes.
 4 A Castellazo.                                                  4 Q What?
 5 Q Government Exhibit 29, who is that?                          5 A I was a capo regime.
 6 A That's Luca.                                                 6 Q When were you elevated to position of captain?
 7 Q What is Luca's last name?                                    7 A 2008.
 8 A DiMatteo.                                                    8 Q Who promoted you?
 9 Q What is Luca Demateo's situation with organized?             9 A Ralph DeLeo -- Benjie Castellazo was the one who informed
10 A He is an inducted member of the Colombo family.             10 of me.
11 Q Government Exhibit 30.                                      11 Q You mentioned Ralph DeLeo, who is that?
12 A Jimmy Gooch.                                                12 A Ralph DeLeo was the acting boss of the Colombo family at
13 Q And again, is that a nickname or a real name?               13 that time.
14 A That's a nickname.                                          14 Q Why was Gioeli no longer the acting boss?
15 Q And what's Jimmy Gooch's affiliation with organized         15 A Tommy was locked up?
16 crime, if any?                                                16 Q He'd been arrested?
17 A He is an inducted member of the Colombo family.             17 A Yes.
18 Q Government Exhibit 32, do you recognize that individual?    18 Q I'm showing you what's been marked for identification as
19 A Richie Fusco.                                               19 Government Exhibit 51. Do you recognize this individual?
20 Q Government Exhibit 38, who is that?                         20 A Yes, I do.
21 A Ralphie Lombardi.                                           21 Q Who is that?
22 Q Government 53.                                              22 A Robert Pate.
23 A Junior Persico.                                             23 Q Is that a fair and accurate photograph of Pate?
24 Q Is that his real name?                                      24 A Yes.
25 A Carmine Persico.                                            25        MS. GEDDES: I offer 51.
                  MARSHA DIAMOND, CSR                                              MARSHA DIAMOND, CSR
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             Maragni - direct / Geddes             542                        Maragni - direct / Geddes             544
 1 Q How is Carmine Persico related to Allie boy Persico?         1        MR. PERLMUTTER: No objection.
 2 A His father.                                                  2        MR. BRAVERMAN: No objection.
 3 Q Whose father?                                                3        THE COURT: 51 is received.
 4 A Carmine is Allie boy's father.                               4        MS. GEDDES: May I publish 51?
 5 Q Government Exhibit 56.                                       5        THE COURT: You may.
 6 A Andrew Russo.                                                6 Q Do you recall when you first met Robert Pate?
 7 Q What is Andrew Russo's affiliation with organized crime?     7 A Yes.
 8 A He is an inducted member in the Colombo family.              8 Q When?
 9 Q And Government Exhibit 73.                                   9 A It was in the -- it was in the 90s. Right around 1996,
10 A That's Dennis DeLucia.                                      10 1997.
11 Q And finally, Government Exhibit 75.                         11 Q Where did you meet him?
12 A That's Big Allie Persico or Uncle Allie as I call him.      12 A South Beach in Miami.
13 Q How is Uncle Allie related to Alphonse or Allie boy         13 Q Who introduced you to him?
14 Persico?                                                      14 A Allie Boy.
15 A That his uncle. His father's brother.                       15 Q And when Pate was introduced to you, were you formally
16 Q How is he related to Carmine Persico?                       16 introduced or just introduced?
17 A They are brothers.                                          17 A I was introduce.
18 Q Carmine and Uncle Allie are brothers?                       18 Q Did you learn whether Pate had any ties to organized
19 A Yes.                                                        19 crime?
20       MS. GEDDES: I offer Government Exhibits 17, 19,         20 A Yes.
21 29, 30, 32, 38, 53 73, and 75.                                21 Q What were those?
22       MR. BRAVERMAN: No objection.                            22 A He was inducted member of the Colombo family.
23       THE COURT: Received.                                    23 Q Were you ever officially or formally introduced to Robert
24       (Government Exhibit 17, 19, 29, 30, 32, 38, 53 73,      24 Pate?
25 and 75, received and marked into evidence)                    25 A Yes, I was.
                 MARSHA DIAMOND, CSR                                              MARSHA DIAMOND, CSR
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                                                    Page 105                                                       Page 107
               Maragni - direct / Geddes          545                      Maragni - direct / Geddes         547
 1 Q When?                                                     1
 2 A 2008.
 3 Q After you, yourself, were inducted?
 4 A Yes.
 5 Q Where were you introduced to him?
 6 A I -- we met at the Cheesecake factory in West Palm Beach,
 7 in Florida.
 8 Q And who introduced you to him?
 9 A Tommy Gioeli.
10 Q Gioeli was in Florida for that meeting?
11 A Yes.
12 Q Did you learn to whom Pate reported in the context of the
13 Colombo family at that time?
14 A He was reporting to Tommy.
15 Q Gioeli?
16 A Yes.
17 Q How about after Gioeli was arrested?
18 A He was staying with Junior Lollipop.
19 Q You are referring to Robert Pate when you say "he"?
20 A Yes.
21 Q Did Pate tell you what criminal activities he was
22 involved in?
23 A Yes.
24 Q What were those?
25 A Bookmaking.
                  MARSHA DIAMOND, CSR
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             Maragni - direct / Geddes         546                           Maragni - direct / Geddes              548
 1 Q Did you learn whether Pate gave any money to anyone in     1         (The following took place in open court).
 2 the Colombo family?                                          2         MS. GEDDES: Judge, can I publish -- that is on the
 3 A Yes, I did.                                                3 Elmo to the jury, please? Thank you.
 4 Q How did you learn that?                                    4 Q You testified of Bobby -- Robert Pate was being
 5 A I was told by Junior Lollipop.                             5 transferred to your crew; is that correct?
 6 Q When?                                                      6 A Yes.
 7 A I met Junior Lollipop an Robert Pate was being             7 Q Why were you meeting with Junior Lollipop that day?
 8 transferred to my regime.                                    8 A Junior Lollipop wanted to inform me about what Bobby Pate
 9 Q Was that after you had been elevated to the position of    9 was doing.
10 captain?                                                    10 Q Why is that?
11 A Yes.                                                      11 A Because he was going to be part of my regime and I have a
12 Q Why was Pate being transferred to your regime or your     12 right to know.
13 crew?                                                       13 Q What did Junior Lollipop tell you?
14 A Because he lived in Florida.                              14 A Junior told me that Bobby Pate was giving $600 a month to
15 Q And what did Junior Lollipop tell you?                    15 him.
16 A Junior Lollipop --                                        16 Q To whom?
17        MR. PERLMUTTER: Objection; hearsay.                  17 A To Junior Lollipop to have that money go to Tommy's
18        Side-bar please.                                     18 family -- Tommy Gioeli.
19        (Continued on next page).                            19 Q Are you referring to the defendant Tommy Gioeli?
20                                                             20 A Yes, I am.
21                                                             21 Q Did Junior Lollipop tell you that about any other
22                                                             22 payments that Bobby Pate was making?
23                                                             23 A He also told me that there was a $3,000 gift every
24                                                             24 Christmastime.
25                                                             25 Q And who did that go to?
                  MARSHA DIAMOND, CSR                                             MARSHA DIAMOND, CSR
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              Maragni - direct / Geddes             549                      Maragni - direct / Geddes           551
 1 A That went to Junior Lollipop and he passed it a long.       1        MS. GEDDES: I am showing the witness what has been
 2 Q To whom?                                                    2 marked for identification as Government Exhibit 3500-RM-8
 3 A To whomever. I don't know who his contact was.              3 (handing).
 4 Q Did Lollipop tell you whether he gave that entire $600 a    4 Q Do you recognize that?
 5 month to Gioeli?                                              5 A Yes.
 6 A He told me he passed $480 and kept 120.                     6 Q What is that?
 7 Q Why is that? Why did he keep a portion for himself?         7 A This was the first agreement I signed with the
 8 A He says he was entitled to keep 20 percent because he was 8 government.
 9 servicing Bobby Pate.                                         9 Q What did you agree to do in this agreement?
10 Q Did you agree with that?                                   10 A I agreed to be debriefed, to meet with the government any
11 A No.                                                        11 time they wanted to meet with me, and not to reveal my
12 Q Why not?                                                   12 cooperation to anyone, and to also work proactively wearing a
13 A Because I felt that if he is passing money to Tommy's      13 recording device.
14 family, Tommy's family should have gotten the whole amount. 14 Q And when you say "work proactively" what did you mean?
15 Q For what reason?                                           15 A Record other members of organized crime.
16 A The guy was in jail. I'm sure his family could have used   16 Q What did the government agree to do in that agreement?
17 it.                                                          17 A The government agreed to make a recommendation that I be
18 Q When Pate was transferred to your crew did you begin to 18 allowed out on bail.
19 collect money from Robert Pate?                              19 Q For what reason?
20 A No.                                                        20 A For reasons that I could work proactively and make
21 Q Why not?                                                   21 recordings.
22 A I just let Junior Lollipop continue doing it because they  22 Q Did the government recommend that you be released from
23 already -- however they were going it, it was working, and I 23 jail?
24 just told Junior to continue.                                24 A Yes.
25 Q Directing your attention to January 2011, what happened? 25 Q Were you then released?
                  MARSHA DIAMOND, CSR                                            MARSHA DIAMOND, CSR
                 OFFICIAL COURT REPORTER                                        OFFICIAL COURT REPORTER
                                                     Page 110                                                        Page 112
             Maragni - direct / Geddes           550                         Maragni - direct / Geddes           552
 1 A I was arrested.                                             1 A Yes, I was.
 2 Q What were you charged with?                                 2 Q What were the terms of your bail when you were released?
 3 A Racketeering.                                               3 A I was under house arrest.
 4 Q As a result of your arrest, were you incarcerated?          4 Q What did you mean by "house arrest"?
 5 A Yes, I was.                                                 5 A I was -- I had to wear an ankle bracelet and I wasn't
 6 Q And during the time that you were incarcerated, did you     6 allowed to leave the house.
 7 make a decision about how you wanted to proceed with your     7 Q Were you allowed to leave the house if you were given
 8 case?                                                         8 permission by certain people?
 9 A Yes, I did.                                                 9 A Yes.
10 Q What did you decide to do?                                 10 Q What entities could give you permission to leave?
11 A I decided to cooperate.                                    11 A The FBI.
12 Q As a result of that decision to cooperate did you meet     12 Q Are you currently incarcerated?
13 with the government?                                         13 A No.
14 A Yes.                                                       14 Q Were there additional terms of your bail besides the home
15 Q Were you debriefed by the government?                      15 confinement?
16 A Yes.                                                       16 A The conditions of my bail was that I wouldn't be allowed
17 Q When you were first debriefed were you still               17 to commit any crimes that the FBI wasn't aware of and --
18 incarcerated?                                                18 Q Did you have a security company?
19 A Yes.                                                       19 A Yes, I did. I had a security company sitting outside my
20 Q What were you initially debriefed about?                   20 house.
21 A Crimes that I committed.                                   21 Q Who had to pay for that?
22 Q Did you later sign an agreement?                           22 A I did.
23 A Yes.                                                       23 Q Did you make recordings?
24        MS. GEDDES: May I approach, Your Honor?               24 A Yes, I did.
25        THE COURT: You may.                                   25 Q Of whom?
                 MARSHA DIAMOND, CSR                                             MARSHA DIAMOND, CSR
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                                                       Page 113                                                         Page 115
             Maragni - direct / Geddes             553                         Maragni - direct / Geddes          555
 1 A Members of organized crime. Various members.                  1 A Yes.
 2 Q For what period of time?                                      2 Q Did you later enter into another agreement with the
 3 A From April 2011 until December 2011.                          3 government?
 4 Q After each recording that you made did you talk to an FBI     4 A Yes.
 5 agent?                                                          5        MS. GEDDES: May I approach?
 6 A Yes, I did.                                                   6        THE COURT: You may.
 7 Q What was the purposes of those discussions?                   7        MS. GEDDES: I am showing the witness what has been
 8 A They wanted to know what my conversations were about.         8 marked for identification as Government Exhibit 3500-RM-244.
 9 Q Did you always tell the agents everything that happened       9 Q Do you recognize that?
10 during the meetings that you recorded?                         10 A Yes, I do.
11 A No.                                                          11 Q What is that?
12 Q What did you leave out?                                      12 A Cooperation agreement.
13 A I left out some stuff from time to time.                     13 Q Whose cooperation agreement is it?
14 Q Like what?                                                   14 A Mine.
15 A I left out when I collected money.                           15 Q In that agreement did you agree to plead guilty to
16 Q When you say "collected money" what did you mean?            16 additional crimes?
17 A I collected shylock money that was due me.                   17 A Yes.
18 Q You didn't tell the FBI about that?                          18 Q What crimes?
19 A No, I didn't.                                                19 A Marijuana distribution, extortion, shylocking and money
20 Q On occasion did you tell the FBI when you collected          20 laundering.
21 money?                                                         21 Q What did you do that made you guilty of marijuana
22 A Yes.                                                         22 distribution?
23 Q How were you able to collect money without the FBI           23 A I --
24 learning about it if you were wearing a recording device?      24 Q Marijuana distribution conspiracy, I should say.
25 A I passed notes.                                              25 A I made a phone call, an introduction.
                 MARSHA DIAMOND, CSR                                                MARSHA DIAMOND, CSR
                OFFICIAL COURT REPORTER                                            OFFICIAL COURT REPORTER
                                                       Page 114                                                         Page 116
                Maragni - direct / Geddes            554                        Maragni - direct / Geddes              556
 1 Q Why did you do that?                                          1 Q Who did you introduce?
 2 A Well, I didn't want the FBI to know I was getting money       2 A I introduced a buyer to a seller.
 3 and I was trying to protect who I was talking to.               3 Q Who was the buyer?
 4 Q Have you resolved the charges for which you were              4 A The buyer was Ralph DiLeo.
 5 initially arrested for in January of 2011?                      5 Q At the time you made that introduction what was Ralph
 6 A Yes.                                                          6 DiLeo's position in the Colombo family?
 7 Q How?                                                          7 A He was acting boss at the time.
 8 A I pled guilty.                                                8 Q When was that?
 9 Q To what did you plead guilty to, what crime?                  9 A I believe that was 2009.
10 A I pled guilty to racketeering.                               10 Q When you pled guilty a second time, what judge did you
11 Q What family?                                                 11 plead guilty before?
12 A Colombo family.                                              12 A Judge Matsumoto.
13 Q Were there crimes as part of that racketeering plea?         13 Q The same judge that before who -- is that the same judge
14 A Yes.                                                         14 who you previously pled guilty before?
15 Q What types of crimes?                                        15 A Yes.
16 A Shylocking, extortion, wire fraud.                           16 Q Were the penalties of your guilty plea explained to you?
17 Q Other crimes, too?                                           17 A Yes, they were.
18 A Yes.                                                         18 Q What is the maximum jail time that you're facing as a
19 Q Did you commit all the crimes you pleaded guilty to?         19 result of your guilty plea when you pled guilty to the
20 A Yes.                                                         20 cooperation agreement, plus your prior guilty plea?
21 Q When you pled guilty did you appear before a judge?          21 A Forty years.
22 A Yes, I did.                                                  22 Q What is the minimum time jail time you are facing?
23 Q Which judge?                                                 23 A Five.
24 A Judge Matsumoto.                                             24 Q You are you also facing fines ?
25 Q Is she a federal judge?                                      25 A Yes.
                    MARSHA DIAMOND, CSR                                             MARSHA DIAMOND, CSR
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                                                       Page 117                                                          Page 119
               Maragni - direct / Geddes           557                         Maragni - direct / Geddes          559
 1 Q How much?                                                     1 February.
 2 A Five hundred thousand.                                        2 Q Of what year?
 3 Q How about forfeiture?                                         3 A 2012.
 4 A Yes.                                                          4 Q Who decides what your sentence will be?
 5 Q How much?                                                     5 A The judge.
 6 A Five hundred thousand.                                        6 Q What happens if you breach your cooperation agreement,
 7 Q Is that negotiable?                                           7 you don't get that letter?
 8 A The forfeiture isn't.                                         8 A Then I stand to go to jail for a very long time.
 9 Q As part of your agreement -- your cooperation agreement,      9 Q Is lying to the government a breach?
10 that is, did you make certain promises to the government?      10 A Yes.
11 A Yes.                                                         11 Q As you sit here today do you know what your sentence will
12 Q What were those?                                             12 be?
13 A I promised to tell them the truth.                           13 A No.
14 Q You have to testify?                                         14       MS. GEDDES: I'm showing the witness what's been
15 A Yes.                                                         15 marked for identification as Government Exhibit 2.
16 Q Did you admit to crimes that you weren't charged with in     16 Q Do you recognize that individual?
17 your -- when you pled guilty a second time?                    17 A Yes, I did.
18        MR. PERLMUTTER: Judge, objection to leading.            18 Q Who is that?
19        THE COURT: No. Overruled.                               19 A Dino.
20 Q Did you plead guilty to crimes that you weren't charged      20 Q Dino who?
21 with when you pled guilty for a second time?                   21 A Dino Saracino.
22 A Yes.                                                         22 Q Is that fair and accurate picture of Dino Saracino?
23 Q If you live up to your obligations under the agreement       23 A Yes.
24 what do you hope to get in return?                             24       MS. GEDDES: I offer Government Exhibit 2.
25 A I hope to get a reduced sentence.                            25       MR. BRAVERMAN: No objection.
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                 OFFICIAL COURT REPORTER                                          OFFICIAL COURT REPORTER
                                                       Page 118                                                          Page 120
                Maragni - direct / Geddes                558                     Maragni - direct / Geddes           560
 1 Q What do you hope to get from the government?                  1         THE COURT: Received.
 2 A I hope to get a 5k1 letter.                                   2         (Government Exhibit 2 received and marked into
 3 Q What is a 5k1 letter?                                         3 evidence)
 4 A It's a letter that states my cooperation.                     4 Q Do you see Dino Saracino in the courtroom today?
 5 Q Who writes the 5k letter?                                     5 A Yes, I do.
 6 A The United States Attorney.                                   6 Q Can you point to him and describe an article of clothing?
 7 Q And what is the subject matter of that letter?                7 A Dino is sitting there with the white shirt.
 8 A The subject matter informs the judge of my cooperation,       8         MS. GEDDES: Let the record reflect the witness
 9 and also, crimes that I have committed that I haven't been      9 identified the defendant Dino Saracino?
10 charged with.                                                  10 Q Do you know any nicknames for Dino Saracino?
11 Q Is that letter important to you?                             11 A Little Dino.
12 A Yes.                                                         12 Q Where did you first meet Dino Saracino?
13 Q Why?                                                         13 A MDC.
14 A If the letter that's -- if the letter is written strongly    14 Q What is the MDC?
15 it will give the judge a reason to go below my minimum         15 A That is the federal detention holding facility in
16 guideline.                                                     16 Brooklyn.
17 Q If you don't get that letter, can the judge sentence you     17 Q When did you meet him?
18 to less than five years in jail?                               18 A I met him coming back from a visit.
19 A No.                                                          19 Q What year?
20 Q Even if you do get the letter is the judge obligated to      20 A 2011.
21 give you a lower sentence?                                     21 Q How did you meet him?
22 A No.                                                          22 A I met him in the elevator.
23 Q Do you recall the date on which you pled guilty a second     23 Q Were you introduced to him?
24 time pursuant to that cooperation agreement?                   24 A Yes, I was.
25 A I don't remember the exact date. I believe it was in         25 Q Officially?
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                                                    Page 121                                                        Page 123
            Maragni - direct / Geddes         561                           Maragni - direct / Geddes           563
 1 A Yes.                                                      1 BY MS. GEDDES:
 2 Q By whom?                                                  2 Q You previously testified that Gioeli told you that
 3 A Andrew Russo.                                             3 Vincent Manzo was on the shelf, which Manzo was he referring
 4 Q Who is Andrew Russo at the time that you were introduced 4 to?
 5 to Dino Saracino?                                           5 A Vincent Manzo Senior.
 6 A Andrew Russo was the acting boss of the Colombo family at 6 Q Was he ever taken off the shelf?
 7 that time.                                                  7 A Yes.
 8        MS. GEDDES:I am showing the witness what's been      8 Q By whom?
 9 marked for identification as Government Exhibit 40.         9 A Andrew Russo.
10 Q Do you recognize that individual.                        10 Q Who did Manzo report to in the Colombo family once he was
11 A Yes.                                                     11 taken off the shelf?
12 Q Who is that?                                             12 A He reported to me.
13 A Vincent Manzo Junior.                                    13 Q As part of your cooperation did you make secret
14        MS. GEDDES: I am showing the witness what's been    14 recordings of Vincent Manzo?
15 marked Government Exhibit 41.                              15 A Yes, I did.
16 Q Do you recognize that individual?                        16 Q Just one, more than one?
17 A Yes.                                                     17 A More than one.
18 Q Who is that?                                             18       MS. GEDDES: May I approach?
19 A Vincent Manzo Senior.                                    19       THE COURT: You may.
20        MS. GEDDES: I offer Government Exhibits 41 and 41.  20       MS. GEDDES: I am showing the witness what's been
21        MR. PERLMUTTER: Objection.                          21 marked for identification as Government Exhibits 502 and
22        MR. BRAVERMAN: No objection.                        22 502-T, A, B and C. .
23        THE COURT: They are received.                       23 Q Beginning with 502, do you recognize this?
24        (Government Exhibits 40 and 42 received and marked 24 A Yes.
25 in evidence).                                              25 Q How do you recognize it?
                 MARSHA DIAMOND, CSR                                            MARSHA DIAMOND, CSR
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                                                    Page 122                                                        Page 124
            Maragni - direct / Geddes         562                             Maragni - direct / Geddes          564
                                                                1 A My initials.
                                                                2 Q What is it?
                                                                3 A CD.
                                                                4 Q Containing?
                                                                5 A Recordings that I made with Vincent Manzo.
                                                                6 Q One recording or multiple recordings?
                                                                7 A I believe it's multiple recordings.
                                                                8         MS. GEDDES: I offer Government Exhibit 502.
                                                                9         THE COURT: 502 is received.
                                                               10         (Government Exhibit 502 received and marked into
                                                               11 evidence)
                                                               12 Q I am now directing your attention to Government
                                                               13 Exhibit 502-T, A, B and C.
                                                               14         Do you recognize those?
                                                               15 A Yes.
16                                                             16 Q How?
17                                                             17 A These are conversations I had with Vincent Manzo, and my
18                                                             18 initials are on them.
19                                                             19 Q Are they fair and accurate transcripts of those
20                                                             20 conversations?
21                                                             21 A Yes.
22                                                             22         MS. GEDDES: I offer Government Exhibits 502-T, A, B
23                                                             23 and C.
24                                                             24         THE COURT: Any objection?
25                                                             25         MR. PERLMUTTER: No objection.
                MARSHA DIAMOND, CSR                                               MARSHA DIAMOND, CSR
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                                                              Page 125                                      Page 127
             Maragni - direct / Geddes             565                   Maragni - direct / Geddes    567
 1       THE COURT: They are received.
 2       (Government Exhibits 502-T, A, B, and C received and
 3 marked into evidence)
 4 Q Did there come a time while you were cooperating with the
 5 FBI and the government that you learned someone had received a
 6 subpoena?
 7 A Yes.
 8 Q How did you learn about that subpoena?
 9 A I was -- I got a phone call from a friend that said that
10 Vincent Manzo Junior was given a subpoena.
11 Q Did you see the subpoena that Vincent Manzo Junior was
12 given?
13 A Yes, I did.
14 Q What was the nature of the subpoena?
15 A He was to go to the federal building for photographs and
16 records update.
17 Q Was there an FBI agent listed on the subpoena?
18 A Yes.
19 Q Who?
20 A Scott Curtis.
21 Q Directing your attention to November 18, 2011 who, if
22 anyone, did you meet with on that day?
23 A I met with Vincent Manzo Junior, Vincent Manzo Senior and
24 myself.
25 Q Where did you meet?
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                                                            Page 126
             Maragni - direct / Geddes           566
 1 A I met at LaRocca's restaurant in Staten Island.
 2 Q Were you wearing a secret recording device?
 3 A Yes, I was.
 4 Q What was the purpose of your meeting with Vincent Manzo
 5 Senior an Vincent Manzo Junior?
 6 A We were there -- I was there to find out what Vincent
 7 Manzo Junior was asked by the FBI at that meeting with the
 8 subpoena.
 9 Q Did you learn what happened or what he was asked?
10 A Yes.
11 Q How did you learn?
12 A Vincent Manzo Junior told me.
13 Q What did he tell you?
14 A He told me that when he met with Scott Curtis, Scott
15 showed him a picture of a --
16       MR. PERLMUTTER: May we have a side-bar briefly?
17       THE COURT: All right.
18       (Continued on next page)
19
20
21
22
23
24
25
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                                                       Page 129                                                              Page 131
             Maragni - direct / Geddes          569                             Maragni - direct / Geddes             571
 1 end                                                             1        MS. GEDDES: I am going to play an expert of a
                                                                   2 recording but before I do I am going to distribute transcript
                                                                   3 binders to members of the jury containing those transcriptions
                                                                   4 that were admitted into evidence.
                                                                   5        THE COURT: Ladies and gentlemen, the transcripts
                                                                   6 that you are about to receive in relation to these recordings
                                                                   7 are not themselves evidence in the case. They are just an aid
                                                                   8 to help you follow the tape-recordings that you are going to
                                                                   9 hear. If there's a conflict between what you hear and what you
                                                                  10 see on the transcript, you go with what you hear. What you
                                                                  11 hear is the evidence. What you see in the transcript is,
                                                                  12 again, just an aid to help you understand what you are
                                                                  13 hearing.
                                                                  14        MS. GEDDES: Do all the members of the jury have
                                                                  15 copies of the transcript binder?
                                                                  16 Q You testified that Vincent Manzo Senior told you that he
                                                                  17 assisted in transporting Cutolo's body. Did he indicate who
                                                                  18 helped him?
                                                                  19 A Yes.
                                                                  20 Q Who did he tell you helped him?
                                                                  21 A He told me that Joey Caves and Dino Saracino, and Big
                                                                  22 Dino helped him.
                                                                  23 Q Who else?
                                                                  24 A Tommy Gioeli.




                                                       Page 130
              Maragni - direct / Geddes            570
 1       (The following took place in open court)
 2       THE COURT: Left us continue.
 3 BY MS. GEDDES:
 4       MS. GEDDES: I am showing the witness a post -- I am
 5 showing the jury too, what is already in evidence Government
 6 Exhibit 24.
 7 Q Who is that.
 8 A Bill Cutolo.
 9 Q How do you know Bill Cutolo?
10 A I know Billy from Brooklyn.
11 Q Does he have any nicknames?
12 A Yes.
13 Q What are those?
14 A Wild Bill and Billy Fingers.
15 Q How did he get the name nickname Billy Fingers?
16 A He had a couple of fingers missing.
17 Q Did Vincent Manzo Senior -- what happened to -- what
18 happened to Wild Bill?
19 A Disappeared.
20 Q Did Vincent Manzo Senior tell you his role in that
21 disappearance?
22 A Yes.
23 Q What did he tell you, briefly?
24 A He told me that he drove Bill Cutolo's body to the
25 gravesite.                                                              All right. I think this would be a good time to
                 MARSHA DIAMOND, CSR                                                MARSHA DIAMOND, CSR
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              Maragni - direct / Geddes        573                              Maragni - direct - Geddes            575
 1 take our lunch break.                                          1         ALL: No.
                                                                  2         MS. GEDDES: I think if we put the mike a little
                                                                  3 closer for the next one.
                                                                  4         THE COURT: You're running this tape off an open
                                                                  5 mike. Try it. We'll try it on the next one.
                                                                  6 DIRECT EXAMINATION (Continued)
                                                                  7 BY MS. GEDDES:
                                                                  8 Q Directing your attention to page two of the transcript
                                                                  9 that we just looked into, the recording that we just looked
                                                                 10 into, line three, you said, "Do you think Dino told 'em?"
                                                                 11         What were you referring to when you said "Do you
                                                                 12 think Dino told them?"
                                                                 13 A I was referring to Big Dino, and saying that I think that
                                                                 14 Big Dino talked to the agents.
                                                                 15 Q And directing your attention again to page two, lines 42
                                                                 16 through 45, when Manzo, Sr. on the transcript says: "The only
                                                                 17 ones that really knew I had anything to do with that are me,
                                                                 18 Joey Caves and the other guy Dino, the two Dinos, Joey Caves
                                                                 19 and Tommy."
                                                                 20         Who did you understand Manzo to mean when he
                                                                 21 said "Tommy".
                                                                 22 A Tommy Gioeli.
                                                                 23 Q The defendant?
                                                                 24 A Yes.
                                                                 25 Q How about the two Dinos, who did you understand Manzo to
                                                                                    MARSHA DIAMOND, CSR
                                                                                   OFFICIAL COURT REPORTER
                                                      Page 134                                                        Page 136
             Maragni - direct / Geddes         574                           Maragni - direct - Geddes          576
                                                                1 mean?
                                                                2 A Big Dino and Little Dino.
                                                                3 Q Who is Little Dino?
                                                                4 A Dino Saracino.
                                                                5 Q Now, directing your attention to the last page of that
                                                                6 transcript, page four. Right after on line 19, Manzo, Sr.
                                                                7 said, "Jesus Christ Almighty," and then there was a pause.
 8 R E Y N O L D M A R A G N I,                                 8 And Manzo, Sr. then responds, "No, I didn't. I didn't even
 9     called as a witness, having been previously duly         9 touch it. Just threw it in the car."
10     sworn, was examined and testified as follows:           10        What, if anything, did you say to Manzo during that
11                                                             11 pause.
12         (Jury present.)                                     12 A I mouthed to Vincent Manzo if he shot him, and I used my
13         THE COURT: Please be seated.                        13 hands.
14         The government may proceed.                         14 Q What were you indicating with your hands?
15                                                             15 A I made a gun gesture.
16         So, we're at Tab 1 in the book with headphones, and 16 Q How did Manzo, Sr. respond?
17 you're going to play that?                                  17 A He says he didn't. He says he never touched it.
18         MS. GEDDES: Please.                                 18 Q What did you understand him to mean when he said he
19         (Tape plays.)                                       19 didn't even touch it? What did you understand him to mean by
20         (Tape stops.)                                       20 it?
21         THE COURT: We didn't have overhead, do you all know 21 A He never touched the body.
22 that at the government table?                               22 Q Whose body?
23         MS. GEDDES: No, we believe we had it.               23 A Billy.
24         THE COURT: You didn't have overhead; right? People 24 Q Wild Bill?
25 in the back, you didn't hear that; right?                   25 A Yes.
                   MARSHA DIAMOND, CSR                                           MARSHA DIAMOND, CSR
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                                                      Page 137                                                         Page 139
              Maragni - direct - Geddes           577                          Maragni - direct - Geddes             579
 1 Q Following your meeting on November 18 2011, did you set 1 with the overhead. Why don't you play it again.
 2 up another meeting with Vincent Manzo, Sr.?                     2       (Tape plays.)
 3 A Yes.                                                          3       (Tape stops.)
 4 Q For when?                                                     4 BY MS. GEDDES:
 5 A I believe it was the day before Thanksgiving.                 5 Q If I could direct your attention to page three, line 14:
 6 Q What was the purpose of that meeting?                         6       Who said: "Were you involved?" and "They are
 7 A I was to introduce Vincent Manzo to Luca DiMatteo.            7 involved?" Who asked that question?
 8 Q What position did you hold at that point in the Colombo       8 A Dino. Luca DiMatteo.
 9 Family?                                                         9       MR. FASULO: Sorry. We couldn't hear.
10 A I was -- at that point, I was a soldier.                     10       THE COURT: Again, please.
11 Q You previously testified that you had been a captain?        11 Q Again, directing your attention to line 14:
12 A Yes.                                                         12       Who said "Were you involved?" and asked "and they
13 Q How did you become a soldier after you were previously a 13 are involved?"
14 captain?                                                       14 A Luca DiMatteo.
15 A I was relieved of that position because they claimed they    15 Q Did Manzo, Sr. answer that question, whether he was
16 were going to break up my regime and all the guys that were in 16 involved?
17 my regime were going to go back to their original respective   17 A Yes.
18 captains.                                                      18 Q How did he answer?
19 Q And what position did Luca -- by the way, who are you        19 A He said, yes, he was involved.
20 referring to when you said Luca?                               20 Q What did you understand Manzo, Sr. to mean when he said
21 A Luca DiMatteo.                                               21 he was involved?
22 Q What position did Luca DiMatteo hold at that time?           22 A That he was involved with the murder of Billy.
23 A He was acting captain.                                       23 Q Now, directing your attention to line 35, where Manzo,
24 Q When you say "acting captain," what do you mean by that? 24 Sr. on the transcript says: "I drove, I drove."
25 A He was acting captain for Ralph Lombardo.                    25       What did you understand Manzo, Sr. to mean when he
                  MARSHA DIAMOND, CSR                                             MARSHA DIAMOND, CSR
                 OFFICIAL COURT REPORTER                                         OFFICIAL COURT REPORTER
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               Maragni - direct - Geddes           578                       Maragni - direct - Geddes            580
 1 Q Why might someone be an acting captain as opposed to an 1 said "I drove, I drove"?
 2 official captain?                                            2        MR. BRAVERMAN: Objection, speaks for itself.
 3 A Well, he's probably helping -- he can help out a           3        THE COURT: No, it doesn't. Overruled.
 4 captain, because maybe the guy's got ill health or a lot of  4        You may answer.
 5 heat is on the guy and he can't get around and do his job.   5 A He said that -- I believe he meant to say he drove the
 6 So, he appoints somebody to function for him.                6 body.
 7 Q Did you introduce Manzo, Sr. to Luca DiMatteo?             7 Q Whose body?
 8 A Yes, I did.                                                8 A Billy Cutolo.
 9 Q Where were you?                                            9 Q And during that conversation and in your conversations
10 A I was at the 69th Street pier in Brooklyn.                10 with Vincent Manzo, Sr., prior conversations, did you learn
11 Q And you testified that was the day before Thanksgiving?   11 who Vincent Manzo, Sr.'s captain or who he reported to at the
12 A Yes.                                                      12 time of the murder of Bill Cutolo?
13 Q Were you again wearing a recording device?                13 A Yes.
14 A Yes, I was.                                               14 Q Who?
15 Q Who else was present that day?                            15 A Thomas Gioeli.
16 A There was myself, Vincent Manzo, Vincent Manzo, and Lenny 16 Q And when you said, on page four of line nine: "Tommy
17 Dello. Jr.                                                  17 Gioeli was his skipper?" At the time when you asked that
18 Q Who is Lenny Dello?                                       18 question, what did you mean by that question?
19 A Lenny Dello is an associate.                              19 A I asked if Thomas Gioeli was Vincent Manzo's captain.
20 Q Of what family?                                           20 Q Is that another term for skipper?
21 A Colombo Crime Family.                                     21 A Yes.
22         MS. GEDDES: I'm now going to play another excerpt.  22 Q How did he respond?
23 If the members of the jury could turn to Tab 2.             23 A "Yes."
24         (Pause.)                                            24 Q He answered, yes?
25         THE COURT: All right. That's the best we can do     25 A Yes.
                   MARSHA DIAMOND, CSR                                          MARSHA DIAMOND, CSR
                 OFFICIAL COURT REPORTER                                       OFFICIAL COURT REPORTER

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                                                             Page 141                                                                       Page 143
              Maragni - direct - Geddes            581                                  Maragni - direct - Geddes            583
 1 Q Directing your attention to December 8 of 2011.                       1 Q Did they go directly to Long Island?
 2        Did you meet with anyone on that day.                            2 A He says he drove to a bowling alley.
 3 A Yes, I did.                                                           3 Q And then what?
 4 Q Who did you meet with?                                                4 A And then he picked up Tommy, and they went to -- they
 5 A Vincent Manzo.                                                        5 went to go look at a hole.
 6 Q Where did you meet that day?                                          6 Q What happened when they got to that area where the hole
 7 A I met him at the Staten Island Mall.                                  7 was?
 8 Q Were you wearing a recording device?                                  8 A They says that they popped the trunk, and the body was
 9 A Yes, I was.                                                           9 removed from the trunk.
10 Q To be clear: Aside from November 18, November 23 and                 10 Q Where did they go next, according to what Manzo, Sr. told
11 December 8, 2011, did you have other conversations with                11 you?
12 Vincent Manzo, Sr. about his participation in the disposal of          12 A They went back to the bowling alley.
13 William Cutolo's body?                                                 13 Q Finally, directing your attention to page seven, line 19,
14 A Yes.                                                                 14 when Manzo, Sr. said, in the transcript, "I've been in this
15        MS. GEDDES: If the members of the jury could now                15 thing for a long time," what did you understand Manzo, Sr. to
16 turn to Tab 3 in your binder, and I'm now going to play the            16 mean when he referred to "this thing"?
17 third set of excerpts.                                                 17 A He's been in the life for a long time.
18        (Tape plays.)                                                   18 Q What do you mean by "the life"?
19        (Tape stops.)                                                   19 A He's been a street guy a long time.
20 BY MS. GEDDES:                                                         20        (Continued on next page.)
21 Q Directing your attention to page two, line ten, where                21
22 Manzo, Sr. on the transcript says "Almost sure it was his              22
23 house," and you asked "Dino is Little Dino not Big Dino?,"             23
24 Manzo, Sr. responded "Little Dino, Little Dino." Who did               24
25 you understand Manzo, Sr. to mean?                                     25
                  MARSHA DIAMOND, CSR                                                       MARSHA DIAMOND, CSR
                 OFFICIAL COURT REPORTER                                                   OFFICIAL COURT REPORTER
                                                               Page 142                                                                     Page 144
              Maragni - direct - Geddes           582                                     Maragni - cross - Perlmutter           584
 1 A Little Dino Saracino.                                                 1 BY MS. GEDDES:
 2 Q Based on what Manzo, Sr. told you that day and the other              2 Q    And, again, on line 47, Manzo, Senior said, "This is in
 3 days, what did you understand happened at Little Dino's house           3 my blood," what did you understand Manzo, Senior to be
 4 that day?                                                               4 referring to when he said this?
 5         MR. BRAVERMAN: Objection.                                       5 A    Cosa Nostra.
 6         THE COURT: Sustained.                                           6 Q    La Cosa Nostra?
 7 Q Based on what Manzo, Sr. told you that day and the other              7 A    Yes.
 8 dates that you met with Manzo, Sr., what did you understand             8        MS. GEDDES: The government has no further
 9 that Manzo, Sr. told you occurred at the house where he
                                                                           9 questions.
10 arrived that day?
                                                                          10        THE COURT: All right. Cross-examination.
11 A He told me that he went to a driveway, and Joey Caves and
                                                                          11        Sir, I'm going to ask you to hold the mic a little
12 Little Dino put something in his trunk.
                                                                          12 closer to you.
13 Q And directing your attention to line 16.
                                                                          13        THE COURT: Mr. Perlmutter or Mr. Braverman, are the
14         When you asked "Was Tommy there or not there?,"
                                                                          14 jurors going to need your notebooks for the cross-examination?
15 Manzo, Sr. responded "Tommy was there," who did you
                                                                          15        MR. PERLMUTTER: I think they will, but it's not
16 understand Manzo, Sr. to be referring to when he said
                                                                          16 going to be for quite a while, Judge.
17 "Tommy".
                                                                          17        THE COURT: Let me ask the jurors to close those up
18 A Tommy Gioeli.
19 Q When he said "Tommy was there," where did you understand             18 for a while so you're listening to the questions.
20 there to be?                                                           19        MR. PERLMUTTER: May I, Judge?
21 A The driveway.                                                        20        THE COURT: You may.
22 Q Based on what Manzo, Sr. told you that day and the other             21 CROSS-EXAMINATION
23 dates, where did you understand Manzo, Sr. went after the              22 BY MR. PERLMUTTER:
24 driveway?                                                              23 Q    Good afternoon, Mr. Maragni, my name is Adam Perlmutter
25 A He went to Long Island.                                              24 and I'm the attorney for Tommy Gioeli. I have some questions
                  MARSHA DIAMOND, CSR                                     25 for you. We have never met before?
                 OFFICIAL COURT REPORTER                                              CMH      OCR     RMR      CRR      FCRR

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                                                        Page 145                                                                      Page 147
              Maragni - cross - Perlmutter        585                             Maragni - cross - Perlmutter           587
 1 A No.                                                            1 Q    Well, isn't it a fact that you started staging accidents
 2 Q Now you grew up in Brooklyn, right?                            2 with Gene Lombardo to get involved, to get insurance proceeds?
 3 A Yes.                                                           3 A    That's not when I was 19.
 4 Q You've got to speak up for me?                                 4 Q    Okay. Well, how old are you when you were staging
 5 A Okay.                                                          5 accidents to commit insurance fraud?
 6 Q You grew up in Bensonhurst?                                    6 A    It was probably, that was probably about 27.
 7 A Yes.                                                           7 Q    About 27 years old?
 8 Q Were you were a child in a large family?                       8 A    Yes.
 9 A Yes.                                                           9 Q    May I look at 3500RM-25. I'll move on and we'll get back
10 Q You had nine brothers and sisters?                            10 to that.
11 A No.                                                           11        Now, you went into the military, I think you said,
12 Q Didn't have nine brothers and sisters.                        12 what year, hold were you?
13      How many brothers and sisters did you have growing         13 A    18.
14 up?                                                             14 Q    All right. Now, did your brothers go in the military?
15 A I have three brothers.                                        15 A    No.
16 Q Just three brothers?                                          16 Q    And, in fact, you had a brother who, he was eligible for
17 A A lot of cousins.                                             17 the military, right?
18      MR. PERLMUTTER: One second, Your Honor.                    18 A    Yes.
19 Q Now, so you have three brothers, right?                       19        MS. GEDDES: Objection, Judge.
20 A Yes.                                                          20        THE COURT: Overruled.
21 Q Your mom and your dad?                                        21 Q    But you worked out some way to manipulate his draft
22 A Yes, my mom and dad.                                          22 number, didn't you?
23 Q You went to public school?                                    23 A    No.
24 A Yes.                                                          24 Q    Well, did you manipulate your own draft number?
25 Q P.S. 229?                                                     25 A    No. Well, what I did is I went sooner.
         CMH OCR RMR CRR FCRR                                                    CMH    OCR     RMR      CRR     FCRR

                                                        Page 146                                                                      Page 148
              Maragni - cross - Perlmutter        586                            Maragni - cross - Perlmutter         588
 1 A Yes.                                                           1 Q So you enlisted earlier?
 2 Q What grades did you attend 229?                                2 A Right. It was a first year in a lottery.
 3 A Until the sixth.                                               3 President Nixon came out with a lottery. My name was 16 so I
 4 Q And then you went to P.S. 201?                                 4 could have waited until February or boosted the draft earlier
 5 A Yes.                                                           5 and went three months earlier so that's what I did.
 6 Q That was a junior high school?                                 6 Q All right. You went in and you went AWOL, you were
 7 A Yes, it was.                                                   7 ordered to Fort Hood, right?
 8 Q And then you wound up at Lafayette high school, right?         8 A Yes.
 9 A Yes.                                                           9 Q And you went AWOL?
10 Q Pretty famous high school, Lafayette, right?                  10 A Yes, I did.
11 A I guess.                                                      11 Q And you went to -- one second.
12 Q Larry King went there?                                        12       And you were arrested at that point?
13 A I don't know if Larry King went there. Sandy Koufax went      13 A Yes.
14 there.                                                          14 Q Where were you arrested?
15 Q That's right. Sandy Koufax. Paul Sorvino. And you got         15 A At my home in Brooklyn.
16 a GED, right?                                                   16 Q And you were sent to Fort Hamilton, right?
17 A Yes.                                                          17 A Yes.
18 Q Equivalency diploma when you were 19 years old?               18 Q And where is that?
19 A Correct.                                                      19 A Brooklyn.
20 Q Now, you were testifying about your military service.         20 Q And then back to Fort Dix, correct?
21 I'm going to get back to that, but one of the things that we    21 A Yes.
22 didn't talk about or the government didn't raise is that when   22 Q Now, you were demoted at that point, correct?
23 you were 19 following getting your GED, you started getting     23 A Yes.
24 involved in insurance fraud, right?                             24 Q And you were ordered again to Fort Hood, right?
25 A I was 19. I was in the Army.                                  25 A Yes, later on, yes.
             CMH OCR RMR CRR FCRR                                             CMH OCR RMR CRR FCRR

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                                                        Page 149                                                         Page 151
              Maragni - cross - Perlmutter           589                        Maragni - cross - Perlmutter         591
 1 Q Well, how, how far after your demotion were you ordered      1 A   Yes.
 2 to Fort Hood again?                                            2 Q And you said that was a general discharge, right?
 3 A About two months.                                            3 A Yes.
 4 Q And what was the purpose of your being re-sent to Fort       4 Q Now, just educate me and the jury for a second.
 5 Hood?                                                          5        You can get an honorable discharge?
 6 A Play war games.                                              6 A Yes.
 7 Q And you went AWOL again at that point?                       7 Q You can get a dishonorable discharge?
 8 A Yes, I did.                                                  8 A Yes.
 9 Q Now, you were claiming that you were disabled?               9 Q You can get a general discharge?
10 A No.                                                         10 A Yes.
11 Q Well, you claim that you had some type of injury that       11 Q Your discharge was a discharge other than honorable,
12 prevented you from engaging in your training as, war games in 12 right?
13 Fort Dix?                                                     13 A Yes.
14 A No.                                                         14 Q Now, you got out of the Army and how old were you?
15 Q You just didn't feel that you should be deployed to war     15 A I believe that was, I was 24, I believe, at that point.
16 games, right?                                                 16 Q Well, you started, you started committing crimes earlier
17 A I didn't feel that after serving in Viet Nam that I         17 than that, right?
18 should be playing war games with two or three months left in  18 A Yes.
19 the service.                                                  19 Q Okay. So, in fact, you started committing crimes, I
20 Q But the fact is that you were still in the service,         20 guess, probably about the age of 21, 22?
21 right?                                                        21 A Yes.
22 A Yes, I was.                                                 22 Q And you became involved in something called the Bath
23 Q And you were -- and basically, the way you felt was that    23 Avenue Social Club, right?
24 you had done your time overseas and you shouldn't really have 24 A Yes.
25 to do anything, you should burn out three months and then get 25 Q Now, that's a, that's an Italian social club?
            CMH OCR RMR CRR FCRR                                            CMH OCR RMR CRR FCRR
                                                        Page 150                                                         Page 152
              Maragni - cross - Perlmutter             590                      Maragni - cross - Perlmutter       592
 1 discharged?                                                      1 A Yes.
 2 A Well, that's not exactly true. I didn't mind being put         2 Q Okay. And it's, it's a place to gather for organized
 3 back in active duty but I just didn't feel as a veteran in a     3 crime purposes, right?
 4 war zone, you should come back to the state and play war         4 A Well, the Bath Avenue Social Club that I was involved in
 5 games.                                                           5 was friends of mine my own age.
 6 Q You didn't re-up?                                              6 Q Okay. But you, while you were there, you ran into a guy
 7 A No, I didn't.                                                  7 named Joey Papa?
 8 Q And you didn't volunteer to go back to Viet Nam?               8 A Jerry Papa.
 9 A No, I didn't.                                                  9 Q Jerry Papa? Okay. And you and he started to run a
10 Q You didn't say I don't want to play games, put me in the      10 gambling operation out of there, right?
11 real action, send me back?                                      11 A Yes.
12 A No, I didn't say that.                                        12 Q And the gambling operation, that was for -- you were
13 Q So you split again, right?                                    13 running what, poker?
14 A Yes, I did.                                                   14 A Poker.
15 Q You went AWOL?                                                15 Q Okay. And you were making money off of that, right?
16 A Yes.                                                          16 A Yes, I was.
17 Q And you got rearrested?                                       17 Q Making about 100, 125 a night?
18 A Yes.                                                          18 A Yes.
19 Q Where were you rearrested?                                    19 Q And the people that were gambling there, you would
20 A I was rearrested on 12th Avenue and 86th Street.              20 advance them credit to gamble at times?
21 Q Here in Brooklyn, right?                                      21 A I wouldn't advance them anything. I was just a card
22 A Yes, I was.                                                   22 dealer.
23 Q Sent back to Fort Dix?                                        23 Q But other people, other people who were involved in
24 A Yes.                                                          24 running it, they would advance credit to people, right?
25 Q And you were discharged in the Army, right?                   25 A Yes.
            CMH OCR RMR CRR FCRR                                              CMH OCR RMR CRR FCRR

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                                                       Page 153                                                           Page 155
              Maragni - cross - Perlmutter        593                           Maragni - cross - Perlmutter        595
 1 Q And sometimes players would come up short with money,         1 A Yes.
 2 right?                                                          2 Q You wouldn't do eleven, right?
 3 A Yes.                                                          3 A Very rare.
 4 Q And they'd be beaten up, right, if they couldn't pay?         4 Q You wouldn't do nine, right?
 5 A I never seen that.                                            5 A Sometimes I would do eight, sometimes we would do 12.
 6 Q So you were never involved in that type of violence?          6 Q Okay. Now, while you were doing that, you, you were also
 7 A No, not over card games, no.                                  7 involved in running a craps game, correct?
 8 Q But you've been involved in other violence, right?            8 A No.
 9 A Yes.                                                          9 Q Well, there came a time when you ran a crap game on
10 Q We'll get to that.                                           10 15th Avenue and 79th Street, right?
11        Now, around this same time, you said that you were,     11 A I worked at a crap game.
12 you were doing trunking?                                       12 Q You worked at a crap game?
13 A Yes.                                                         13 A Yes.
14 Q Robbing trunks?                                              14 Q And that was with a guy named Ron Colucci?
15 A Yes.                                                         15 A It was Ron Colucci's club.
16 Q You were also robbing trucks, right?                         16 Q All right. And you -- how long did you do that for?
17 A Trunks, not trucks.                                          17 A I think three months.
18 Q Just trunks, not trucks?                                     18 Q All right. And you also, in 1975, you started running
19 A No.                                                          19 gambling at an after hours club called the Mon Ami?
20 Q And that involved what, popping open people's trunks and     20 A Yes.
21 going in and seeing what was there?                            21 Q And was that your club?
22 A Yes.                                                         22 A That was Allie Boy Persico's club.
23 Q Okay. And who did you do that with?                          23 Q Let me ask you, it's something I was wondering about.
24 A I did that with a bunch of guys from the neighborhood        24    You said that you met Mr. Persico way back and then
25 that we would hook up at night and we would call it going to   25 sometime in the mid '90s, you started working on his behalf in
           CMH OCR RMR CRR FCRR                                              CMH OCR RMR CRR FCRR
                                                       Page 154                                                           Page 156
             Maragni - cross - Perlmutter        594                         Maragni - cross - Perlmutter         596
 1 work.                                                       1 South Florida?
 2 Q All right. Well, my question was who.                     2 A Yes.
 3 A There was a fellow Frank Siriani, there was another       3 Q And you ran his operation there?
 4 fellow Carmine Sciandra. Mostly Carmine Sciandra.           4 A Well, I didn't run his operation. I just was in touch
 5 Q And how many times did you do that?                       5 with all the associates down there in South Florida.
 6 A About five times a week.                                  6 Q And made members, right?
 7 Q For how long?                                             7 A Yes. The made members that were living in Florida at the
 8 A A couple of years.                                        8 time were incarcerated.
 9 Q How many years?                                           9 Q Okay. But you -- let me be clear though. You were the,
10 A Two, three.                                              10 you were the -- you were the go-between, right?
11 Q And where did you do it?                                 11 A Yes.
12 A All over New York.                                       12 Q And it's your testimony there were no made members in
13 Q When you say all over, be more specific?                 13 South Florida at all?
14 A All the boroughs.                                        14 A There weren't any made members that were around at that
15 Q You would drive through a neighborhood?                  15 time in South Florida. They were locked up.
16 A Right.                                                   16 Q Okay. Now, you have been involved in violence, right?
17 Q And what time would you do it?                           17 A Yes.
18 A After midnight.                                          18 Q And, in fact, what we were talking about, violence in
19 Q So you would just pick some neighborhood and you would 19 connection with card games, right?
20 drive in with one of your friends and you would just start 20 A Yes.
21 busting open trunks?                                       21 Q Do you remember telling the government that you actually
22 A Yes.                                                     22 were involved in an assault in connection with the card game
23 Q How many would you do on a night?                        23 involving somebody with the initials of FS?
24 A Ten.                                                     24 A No.
25 Q Ten, that was your quota?                                25 Q You don't recall that?
            CMH OCR RMR CRR FCRR                                           CMH OCR RMR CRR FCRR

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                                                                   Page 157                                                       Page 159
               Maragni - cross - Perlmutter           597                                    Side Bar                599
 1 A   No.                                                                    1
 2        MR. PERLMUTTER: May I have 3500RM-25, page four.
 3 Q    Now, you were arrested for assaults, right?
 4 A   I was arrested for an assault, yes.
 5 Q    You assaulted a detective's son, correct?
 6 A   Yes.
 7 Q    I'm going to show you what's been marked as 3500RM-25
 8 and I'm going to show you a binder as well.
 9        Judge, can I approach the witness?
10        THE COURT: You may.
11 Q    Now, I was asking you whether you were, if you recall
12 ever being involved in violence in connection with some of
13 your card games. All right?
14 A   Yes.
15 Q    And do you remember being interviewed by the government
16 on April 18th of 2011?
17 A   Vaguely, yes.
18 Q    Okay. And do you recall -- do you recall who was at that
19 meeting?
20 A   Who was at that meeting? No, I don't recall.
21 Q    All right. Well, you had a lot of meetings with the
22 government, right?
23 A   Yes, I did.
24 Q    Now, do you recall at that meeting telling the government
25 that, involving a black, there was a blackjack game where you
             CMH      OCR   RMR      CRR      FCRR

                                                                   Page 158
               Maragni - cross - Perlmutter           598
 1 smacked around FS?
 2 A   No, I don't recall saying that.
 3 Q    All right.
 4        MR. PERLMUTTER: If I can approach the witness, Your
 5 Honor.
 6        THE COURT: You can.
 7 Q    I'm going to direct your attention to 3500RM-25 at page
 8 four, and I'm also going to show you a typed version which is
 9 from paragraphs 3500RM-25X at page four, and I'd like to
10 direct you to the top of the page. There's handwritten notes.
11 There's the typed version.
12        Do you recall telling the government that at
13 West 75th Street and Avenue T, there was a blackjack game
14 where FS got smacked around?
15 A   No. The blackjack game that I worked on was on West 7th
16 and Avenue T.
17 Q    All right. Well, do you remember telling the government
18 that at that location, FS got smacked around?
19 A   No, I don't remember that.
20 Q    You have no recollection of that?
21 A   No, I don't.
22 Q    Okay. Thank you.
23        (Continued on next page.)                                           23   MR. PERLMUTTER: May I continue?
24                                                                            24   THE COURT: You may.
25                                                                            25
             CMH      OCR   RMR      CRR      FCRR                                  CMH    OCR   RMR     CRR   FCRR

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               Maragni - cross - Perlmutter          601                                    Maragni - cross - Perlmutter            603
 1 BY MR. PERLMUTTER:                                                         1 isn't it? He picked you up on a recording device, didn't he?
 2 Q Now, so just -- I was asking you about this violence                     2 A    Yes.
 3 associated with this blackjack game, and it's your testimony               3 Q    And you came to learn that he, that he was using that
 4 you have no recollection of that?                                          4 recording device for the FBI, correct?
 5 A I don't -- I don't know who FS is.                                       5 A    Yes.
 6 Q But do you know some man Frank Sparaco?                                  6 Q    And in connection with your time when you were
 7 A I know Frank Sparaco.                                                    7 incarcerated and learning about your case, the reasons why you
 8 Q Could it be Frank Sparaco?                                               8 were arrested, you came to learn how he was able to use that
 9 A I never had a fight with Frank Sparaco.                                  9 recording device, turn it on, turn it off, et cetera?
10 Q Now, other violence that you have were instructed or were               10        MS. GEDDES: Objection.
11 involved in, there was a stolen, an incident stolen jewelry?              11 A    Yes.
12 A Yes.                                                                    12        THE COURT: Overruled.
13 Q Do you recall that? And you were instructed by GL to get                13        Continued on next page.
14 your stuff back.                                                          14
15       Could you tell us who is that, is that Gerry                        15
16 Langella?                                                                 16
17 A That is Gerry Langella, yes.                                            17
18 Q And you found the individual that stole the jewelry?                    18
19 A Yes.                                                                    19
20 Q And you assaulted that individual?                                      20
21 A Yes, I did.                                                             21
22 Q What did you do to that individual who you assaulted?                   22
23 A I hit him with a bat.                                                   23
24 Q Where did you hit him with the bat?                                     24
25 A On the side of his head.                                                25
           CMH OCR RMR CRR FCRR                                                          CMH      OCR     RMR      CRR      FCRR

                                                                  Page 162                                                                     Page 164
               Maragni - cross - Perlmutter             602                                        Side bar                 604
 1 Q    And did you break his skull?                                          1
 2 A    No.
 3 Q    Did he go to the hospital?
 4 A    No.
 5 Q    And let me ask if the assault that you perpetrated on
 6 this detective's son, what did you do with him?
 7 A    That was a fistfight.
 8 Q    And you -- you've bragged in the past that you've dragged
 9 people out of cars and crippled them to keep them out of the
10 neighborhood, didn't you?
11 A    No, I don't think so.
12 Q    Never did that?
13        MR. PERLMUTTER: Can we prepare DX199A at 5148.
14        Your Honor, if you give me a second.
15        THE COURT: All right.
16 Q    Do you know someone named Tom McLaughlin?
17 A    Do I know Tommy McLaughlin? Yes, I do.
18 Q    Do you remember speaking with him at some point where you
19 were recorded speaking about your or bragging about what you
20 do to black people in your neighborhood?
21 A    That was, I believe that was colorful talk. I don't
22 think it was me that was doing that. I said the kids in the
23 neighborhood were doing that.
24 Q    Okay. Well, let's -- if you give us a second.
25        Now, Tommy McLaughlin, that's why you got arrested,
              CMH    OCR        RMR   CRR     FCRR                                       CMH      OCR     RMR      CRR      FCRR

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                                                     Page 165                                                                       Page 167
                   Side bar              605                                    Maragni - cross - Perlmutter         607
                                                                 1          MR. PERLMUTTER: The government is saying they are
                                                                 2 not able to hear it.
                                                                 3          THE CLERK: But it is overhead.
                                                                 4          THE COURT: What can I tell you? You can refresh
                                                                 5 his recollection. You can attempt to.
                                                                 6          MR. PERLMUTTER: Okay.
                                                                 7          THE COURT: The government has to know what you are
                                                                 8 using.
                                                                 9          MR. PERLMUTTER: I have told them the tape number
                                                                10 and the location of the tape.
                                                                11          THE COURT: You can play it for him and he'll listen
                                                                12 and then you can play it for the government and then you can
                                                                13 ask him the question.
                                                                14          MR. PERLMUTTER: Thank you.
                                                                15          (Pause.)
                                                                16          MR. McGUINNESS: May I approach, Your Honor?
                                                                17          THE COURT: Yes.
                                                                18          MR. PERLMUTTER: Okay. Wrong headsets.
                                                                19          (Pause.)
                                                                20          MR. PERLMUTTER: Judge, the government has listened.
21                                                              21 I will wait for the government to hear it as well before I ask
22                                                              22 my question.
23                                                              23          THE COURT: All right.
24                                                              24          MR. PERLMUTTER: That's not going to work.
25                                                              25          (Pause.)
           CMH    OCR     RMR    CRR     FCRR                                 GR       OCR   CM     CRR     CSR

                                                     Page 166                                                                       Page 168
                Maragni - cross - Perlmutter       606                        Maragni - cross - Perlmutter       608
 1 MR. PERLMUTTER:                                               1 EXAMINATION CONTINUES
 2 Q Do you have a set of headphones up there?                   2 BY MR. PERLMUTTER:
 3 A Yes, I do.                                                  3 Q Does that refresh your recollection that you said that?
 4 Q Could you put them on and just you put them on.             4 A Yes.
 5         Now, remember we were talking about your bragging     5 Q Now, you were also involved in a conspiracy to murder
 6 about dragging black people out and crippling them?           6 someone named Jerry Clemenza?
 7         MS. GEDDES: Objection.                                7       MS. GEDDES: Objection; 608.
 8 A Yes --                                                      8       THE COURT: Sustained.
 9         THE COURT: Wait until I rule on the objection.        9       MR. PERLMUTTER: I'm sorry, Judge?
10         The objection is overruled.                          10       THE COURT: 608, sustained.
11 Q Okay. Could you just listen to the tape. I'm going to      11 Q Do you know somebody named Jerry Clemenza?
12 play it for you.                                             12 A I know of him. I never met him.
13         Do you hear anything?                                13 Q Do you know another name that he has?
14 A No.                                                        14 A Jerry Green Eyes.
15         (Pause.)                                             15 Q And do you -- do you recall that William Cutolo had put
16 Q Okay?                                                      16 out orders to beat up Clemenza?
17         THE COURT: You don't want it on the overhead.        17       MS. GEDDES: Objection.
18         (Pause.)                                             18       THE COURT: Overruled.
19         THE COURT: Not on the overhead.                      19 A No.
20         MR. PERLMUTTER: Judge, what we'll do is bring the    20 Q Do you remember having a meeting this Florida and
21 computer to him and play it to for him.                      21 discussing finding Jerry Clemenza?
22         (Pause.)                                             22       MS. GEDDES: Objection.
23         (Continued on next page.)                            23       THE COURT: I will have to talk to you at side bar.
24                                                              24       (Continued on next page.)
25                                                              25
             CMH OCR RMR CRR FCRR                                           GR OCR CM CRR CSR

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                                                        Page 169                                                                     Page 171
          Maragni - cross - Perlmutter     609                                         Maragni - cross - Perlmutter            611
 1




                                                                                                                                     Page 172
                                                                                   Maragni - cross - Perlmutter         612
                                                                    1        (In open court.)
                                                                    2 EXAMINATION CONTINUES.
                                                                    3 BY MR. PERLMUTTER:
                                                                    4 Q    Have you ever possessed a firearm?
                                                                    5 A    Yes.
                                                                    6 Q    When did you possess a firearm?
                                                                    7        MS. GEDDES: Objection.
                                                                    8        THE COURT: Overruled.
                                                                    9 A    I possessed a firearm when I was in Orlando, when I was
                                                                   10 arrested on my first case.
                                                                   11 Q    Down in Florida, right?
                                                                   12 A    Yes.
                                                                   13 Q    Now, there was a time in connection with your involvement
                                                                   14 in the Colombo Family that there was an underboss that asked
                                                                   15 you to attack the boyfriend of one -- of his relative?
                                                                   16        MS. GEDDES: Objection.
                                                                   17 Q    Do you recall that?
                                                                   18        THE COURT: Sustained.
                                                                   19 Q    Well, do you recall an instance where you were owed money
                                                                   20 by a landscaper or surveyor?
                                                                   21 A    It wasn't me that was owed the money.
                                                                   22 Q    Okay. But it was somebody that you knew was owed the
                                                                   23 money?
                                                                   24 A    Yes.
                                                 tated, that I     25 Q    You got involved in collecting that money, right?
          GR      OCR     CM     CRR     CSR                                      GR     OCR     CM   CRR     CSR

03-21-12_GIOELI                                                                                                            Pages 169 - 172
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                                                         Page 173                                                                    Page 175
              Maragni - cross - Perlmutter        613                                  Maragni - cross - Perlmutter            615
 1 A Yes.                                                            1 Brooklyn.
 2 Q In connection with that, did you -- I mean, you just            2 Q Any other games?
 3 didn't go to the guy and say we are going to take you to Small    3 A I ran a game on Bay 17th Street and Bath Avenue in
 4 Claims Court, right?                                              4 Brooklyn.
 5        MS. GEDDES: Objection.                                     5 Q All right. So the one on New Utrecht, how many nights a
 6        THE COURT: Sustained.                                      6 week did that run?
 7 Q Isn't it a fact that you -- that you threatened that            7 A That would start on a Friday and sometimes go to Sunday.
 8 individual?                                                       8 Q It was a two-day game?
 9        MS. GEDDES: Objection.                                     9 A Sometimes; it broke up earlier at other times.
10        THE COURT: Sustained.                                     10 Q Okay. You said there was a third game that you ran?
11 Q You got married in 1975?                                       11 A There was a social club that we ran a game on the 17th --
12 A No.                                                            12 Bay 17th and Bath Avenue.
13 Q Did you matter Barbara DiCicco?                                13 Q How many days a week would that run?
14 A I married Barbara DiCicco in 1978.                             14 A Once.
15 Q Barbara DiCicco. Okay.                                         15 Q Basically, you were running games five nights a week,
16        Her father, he was a capo in the Gambino Crime            16 right?
17 Family, right?                                                   17 A All these clubs weren't open in the same years. This was
18 A Yes.                                                           18 all different times.
19 Q He ran activities in Brooklyn and Staten Island?               19 Q You -- you also ran Joker-Poker machines?
20 A Yes.                                                           20 A Yes.
21 Q Involved in labor racketeering?                                21 Q What is a Joker-Poker machine?
22 A I don't know what he was involved; in what specific            22 A It is a machine where you put money in and there is a
23 crimes I don't know.                                             23 joker. It's a card game. It's like a poker machine.
24 Q You have no idea?                                              24 Q How many of these machines did you run?
25 A I don't know what specific crimes he was involved in.          25 A Not that I ran them; I asked people if they would want to
             GR OCR CM CRR CSR                                                    GR OCR CM CRR CSR
                                                         Page 174                                                                    Page 176
             Maragni - cross - Perlmutter            614                           Maragni - cross - Perlmutter         616
 1 Q So if he was involved in loansharking, you have no              1 put them in their stores.
 2 knowledge of that?                                                2 Q    Okay. How many did you install?
 3       MS. GEDDES: Objection.                                      3 A   Maybe four.
 4       THE COURT: Sustained.                                       4 Q    Where did you place them?
 5 Q Now, you married her in 1978?                                   5 A   In candy stores around the neighborhood in Brooklyn.
 6 A Yes.                                                            6 Q    When you placed them, how was it that you got permission
 7 Q At that point you were running additional card games?           7 to put them in?
 8 A Yes.                                                            8 A   I asked the people that owned the stores if they would
 9 Q You were running I think Joker-Poker machines?                  9 put them in.
10 A Yes.                                                           10 Q    They would agree to put them in?
11 Q Now, one of the card games that you were running, that         11 A   Yes.
12 was at Bay 13th Street and Bath Avenue?                          12 Q    What type of profits would this generate?
13 A Yes.                                                           13 A   Well, I don't know. It all varied. It all depended on
14 Q What type of games were you running there?                     14 how many players would play, how many people would play the
15 A Poker.                                                         15 machines.
16 Q You kept the bank?                                             16 Q    Average?
17 A No.                                                            17 A   A couple of hundred dollars a week.
18 Q How much money did you make there?                             18 Q    Now, you were also involved in boosting records from
19 A I made about 150 a night.                                      19 department stores?
20 Q Seven nights a week?                                           20 A   Yes.
21 A No. It was -- I think the game, if I recall, the game          21 Q    You acted as a spotter on those thefts, right?
22 ran maybe two nights a week, sometimes three.                    22 A   No; I acted as a carrier.
23 Q Did you run any other games other than at that -- at           23 Q    As a carrier.
24 Bay 13th and Bath Avenue?                                        24        How many times were you boosting department stores?
25 A I ran a game on 75th Street and New Utrecht Avenue in          25 A   Three days a week.
           GR OCR CM CRR CSR                                                      GR     OCR    CM     CRR     CSR

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                                                                  Page 177                                                                      Page 179
                 Maragni - cross - Perlmutter         617                                   Maragni - cross - Perlmutter           619
 1 Q    What years was that?                                                  1 Q    Now, I just want to understand how this works. Let's say
 2 A   I believe that was 1974.                                               2 you give a loan for a thousand dollars.
 3 Q    Where would you boost those -- where were you boosting?               3 A   Yes.
 4 A   All over New York, Upstate New York, Long Island; all                  4 Q    How do you charge interest on that thousand dollars?
 5 over the place.                                                            5 A   It's a percentage of the money.
 6 Q    Other than -- when you say records, you mean like the old             6 Q    Okay. What percentage is it?
 7 LPs?                                                                       7 A   It was -- at the time it was two percent.
 8 A   Yes. The old record albums, yes.                                       8 Q    That's weekly, right?
 9 Q    Did you steal other type of stuff as well?                            9 A   Yes, it is.
10 A   No.                                                                   10 Q    So that's -- that percentage, that's also called points,
11 Q    You were just exclusive to records?                                  11 right?
12 A   Yes.                                                                  12 A   Yes.
13 Q    You also got involved in loansharking, right?                        13 Q    So two points on a thousand dollars, that's 20 bucks a
14 A   Yes.                                                                  14 week?
15 Q    When -- thee is the term shylocking, right?                          15 A   Yes.
16 A   Yes.                                                                  16 Q    All right. Did there come a time when the points that
17 Q    Shylocking is loansharking, right?                                   17 you would charge changed?
18 A   Yes, it is.                                                           18 A   Yes.
19 Q    All right. You began to do what is called pushing money              19 Q    And I am assuming that's not because the Federal Reserve
20 out, right?                                                               20 changed interest rates, right?
21 A   Right.                                                                21 A   That's correct.
22 Q    And collecting money?                                                22 Q    Okay. What did it change to?
23 A   Right.                                                                23 A   It changed to three points.
24 Q    When did you start doing that?                                       24 Q    All right. So in your experience, either you charged two
25 A   Around 1975.                                                          25 points or three points, correct?
              GR     OCR     CM     CRR      CSR                                           GR     OCR    CM       CRR     CSR

                                                                  Page 178                                                                      Page 180
                 Maragni - cross - Perlmutter         618                                       Maragni - cross - Perlmutter             620
 1 Q    Around '75.                                                           1 A Yes.
 2        Did you obtain -- did you obtain money from your                    2 Q If somebody didn't pay their interest, what would happen
 3 father-in-law to start loansharking?                                       3 to them?
 4 A   No; he wasn't my father-in-law in 1975.                                4 A Well, if somebody didn't pay their interest, we would
 5 Q    How about 1978, did you get money from him to start                   5 roll the interest over to the following week. We really never
 6 loansharking?                                                              6 had any trouble getting paid.
 7 A   No.                                                                    7 Q Because people knew that you should get paid, right?
 8 Q    You used your own money to loanshark?                                 8 A People paid.
 9 A   I wasn't loansharking in 1978.                                         9 Q Now, at two points -- my math is not very good -- that
10 Q    How about in 1975, you were loansharking?                            10 means you are charging 104 percent interest, right?
11 A   Yes, I was.                                                           11 A I am not sure.
12 Q    You used your own money?                                             12 Q Well, it's two points a week, right?
13 A   No, I didn't.                                                         13 A Yes.
14 Q    Whose money did you use?                                             14 Q Times 52 weeks, 104 percent interest, right?
15 A   I got the money from my friend, Alli Boy.                             15 A Okay.
16 Q    From Alphonse Persico?                                               16 Q It's not whether it's okay or not. It is math.
17 A   Yes.                                                                  17 A All right.
18 Q    How many loans did you have outstanding with -- how much             18         MS. GEDDES: Objection, Judge.
19 money did you get from Alphonse Persico?                                  19         THE COURT: Sustained.
20 A   About 10,000.                                                         20 Q How long did you run loansharking?
21 Q    How many loans did you break up that ten thousand into?              21         You said you did it in 1975?
22 A   All varied. We wouldn't -- I wouldn't give anybody over               22 A Yes.
23 a thousand dollar loan.                                                   23 Q Did you do it in '76?
24 Q    All right. So it would be loans for a thousand or less?              24 A Yes.
25 A   Yes.                                                                  25 Q '77?
              GR     OCR     CM     CRR      CSR                                           GR OCR CM CRR CSR

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                                                       Page 181                                                                       Page 183
             Maragni - cross - Perlmutter        621                            Maragni - cross - Perlmutter          623
 1 A No.                                                           1 Q They would work?
 2 Q '78?                                                          2 A Yes.
 3 A No.                                                           3 Q Okay. They wouldn't come back that it was a stolen
 4 Q When did you start loansharking again?                        4 credit card number and they wouldn't honor it?
 5 A I started loansharking again when I moved to Florida,         5 A No.
 6 after I got out of jail.                                        6 Q Kids still got to go to Walt Disney World?
 7 Q After you got out of jail?                                    7 A Yes.
 8 A Yes.                                                          8 Q I'm glad. Okay.
 9 Q All right. You moved to Florida before you went to jail,      9        Now, you had this phrase that you said when you were
10 right?                                                         10 asked how much money you'd make.
11 A Yes.                                                         11        You would say thousands, right?
12 Q What year did you move to Florida?                           12 A Yes.
13 A I think it was '83; '83 or '84. I am not sure.               13 Q I think, for example, you were talking about a money
14 Q In '84, you started getting involved in this credit card     14 laundering scheme you were involved in in the middle nineties
15 fraud, right?                                                  15 with a stockbroker?
16 A That's correct.                                              16 A Yes.
17 Q I want to understand this fraud. You would -- you would      17 Q You used that phrase there too, right?
18 get fraudulent credit card numbers?                            18 A Yes, I did.
19 A I would get fraudulent credit cards.                         19 Q You said thousands.
20 Q Those were stolen credit cards, right?                       20        The fact is that you told the government that you
21 A They were duplicate credit cards.                            21 made about $200,000 on that scam, right?
22 Q All right. But they were -- but the numbers were stolen,     22 A I don't know if it was 200,000. But I made -- I made a
23 right?                                                         23 lot of money.
24 A The numbers were stolen off of receipts that the original    24 Q You made a lot of money, didn't you?
25 people made purchases of. It was the carbon copies that the    25 A Yes.
             GR OCR CM CRR CSR                                                GR OCR CM CRR CSR
                                                       Page 182                                                                       Page 184
              Maragni - cross - Perlmutter       622                             Maragni - cross - Perlmutter            624
 1 cards were made duplicate of.                                   1 Q    In fact, you made enough money to be able to support
 2 Q Where did you get those stolen receipts?                      2 yourself in the motorcycle business?
 3 A New York.                                                     3 A   I was already into the motorcycle business.
 4 Q From whom?                                                    4 Q    You certainly made enough money to be able to continue in
 5 A Louis Melitto.                                                5 your operations?
 6 Q Where did he get them from?                                   6 A   Yes.
 7 A I -- I believe they had a machine that made them.             7        MR. PERLMUTTER: May I have 3500-MR-30, at three?
 8 Q That made the receipts or the cards?                          8 Q    Now, you -- this credit card fraud back in 1984,
 9 A That made the cards.                                          9 you -- the credit cards weren't just used to purchase Walt
10 Q Where did you get the receipts though, to manufacture the    10 Disney World tickets, right?
11 cards?                                                         11 A   I wasn't the one doing the purchasing. I am not sure.
12 A I didn't; he did.                                            12 Q    They were used all over the country, weren't they?
13 Q Do you know where he got them?                               13 A   No, not that I am aware of, no.
14 A No.                                                          14 Q    Isn't it a fact that the -- that the fraud was discovered
15 Q Now, when you got these duplicate cards, as you referred     15 when someone made purchases in California?
16 to them, you would then use them to purchase passes to Walt    16 A   Yes.
17 Disney World?                                                  17        That was the fellow David Panisi that was involved
18 A Yes.                                                         18 with us in the credit card fraud. When he went to California
19 Q Then you would sell those passes to travel agents?           19 he took his father out to dinner and used one of the cards to
20 A Yes.                                                         20 pay for the dinner.
21 Q They would sell those passes to families that wanted to      21 Q    Again, it just wasn't -- people weren't just using these
22 go on a vacation to Walt Disney World, right?                  22 cards in Walt Disney World. They were using these cards
23 A Yes.                                                         23 elsewhere too, right?
24 Q Those passes wouldn't work, would they?                      24 A   He used the card elsewhere.
25 A Sure, they would.                                            25        (Continued on next page.)
            GR OCR CM CRR CSR                                                   GR    OCR     CM      CRR     CSR

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                                                                Page 185                                               Page 187
                 Maragni - cross - Perlmutter         625                      Maragni - cross - Perlmutter   627
 1 BY MR. PERLMUTTER:                                                      1
 2 Q   Now, one second?
 3         How much did you make on the credit card fraud.
 4 A   We made thousands of dollars.
 5 Q   2,000?
 6 A   No. Thousands of dollars.
 7 Q   10,000?
 8 A   More.
 9 Q   Fifty?
10 A   I think right around 50.
11 Q   Around 50,000?
12 A   Somewhere like that. I'm not exactly sure how much.
13 Q   100?
14         MS. GEDDES: Objection.
15         THE COURT: Overruled.
16 Q   Was it 100?
17 A   I don't think. I'm talking about my end. I don't think
18 it was a hundred.
19 Q   I'm not just talking about your end. I'm talking about
20 this whole scam.
21 A   Altogether, 100,000.
22 Q   You don't know?
23 A   I don't know.
24 Q   Could have been 200?
25 A   I don't know. I couldn't answer, honestly.
       ANTHONY M. MANCUSO, CSR OFFICIAL COURT REPORTER

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                 Maragni - cross - Perlmutter         626
 1 Q   How many people were involved in this scam?
 2 A   Three.
 3 Q   Well, there was a guy name PJ that was involved?
 4 A   Yes.
 5 Q   What does PJ stand for?
 6 A   PJ stands for Peter John.
 7 Q   That was that guy Louis Milito you were getting the cards
 8 from?
 9 A   Yes.
10 Q   And David?
11 A   Dave Panisi, yes.
12 Q   There was a guy named Sammy G?
13 A   I don't know who Sammy G is.
14 Q   That's four of you that are involved; right?
15 A   Well, Louis Milito wasn't involved -- Louis Milito was
16 selling me credit cards. He knew nothing about what was going
17 on in Disney World.
18 Q   Did you all make equal amounts of money?
19 A   No.
20 Q   I asked you about this stock fraud, this --
21         THE COURT: But go on, Mr. Perlmutter. Do you have
22 a lot more?
23         MR. PERLMUTTER: I do, Judge.
24         THE COURT: Let's take a midafternoon break now.




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                                                                Page 189                                                                       Page 191
               Maragni - cross - Perlmutter        629                                      Maragni - cross - Perlmutter          631
                                                                            1          Now, if you would take a look at that. Does that
                                                                            2 refresh your recollection that you told the government that
                                                                            3 you made about $200,000 off of that money-laundering scheme.
                                                                            4 A     Yes, approximately $200,000, yes.
                                                                            5 Q     Thank you. And you got involved in this scheme after you
                                                                            6 got released from your 1986 credit-card fraud case; right?
                                                                            7 A     Yes.
                                                                            8 Q     And you did, I think you said you were sentenced to five
                                                                            9 years, but you only did twenty months on that case?
                                                                           10 A     Yes, that's correct.
                                                                           11 Q     Now, after you were arrested on this case, you were
                                                                           12 released and tried to cooperate for the government; right?
                                                                           13 A     No.
                                                                           14 Q     I mean, on this case, on the case that we're here about
                                                                           15 today.
                                                                           16 A     Yes. Okay. I didn't know which case you were referring
                                                                           17 to.
18        You may continue, Mr. Perlmutter.                                18 Q     I meant this case. That's why I said that.
19        MR. PERLMUTTER: Thank you, your Honor.                           19 A     Okay.
20 BY MR. PERLMUTTER:                                                      20          MS. GEDDES: Your Honor, can counsel specify what he
21 Q    Mr. Maragni, before we broke, I was asking how much money          21 means by this?
22 you made off of the money-laundering scam that you did with             22          THE COURT: Do you mean the instant prosecution?
23 the stockbroker?                                                        23 Q     This case, the case here in court on today?
24 A   Yes.                                                                24 A     Yes.
25 Q    And you said you didn't know; right?                               25 Q     You understand?
        ANTHONY M. MANCUSO, CSR OFFICIAL COURT REPORTER                             ANTHONY M. MANCUSO, CSR OFFICIAL COURT REPORTER

                                                                Page 190                                                                       Page 192
               Maragni - cross - Perlmutter        630                                      Maragni - cross - Perlmutter          632
 1 A   I'm not sure of the total amount, no.                                1 A     Now, I do.
 2 Q    I asked you if it was about $200,000?                               2          MR. PERLMUTTER: Judge, I'm going to mark two pages,
 3 A   I'm not sure. I don't know.                                          3 and I'm going to ask that they --
 4 Q    Do you recall being interviewed by the government on                4
 5 September 13 of 2011?                                                    5 Q     Let me ask you: What date were you arrested in
 6 A   Yes.                                                                 6 connection with the case that you are -- the case that you
 7 Q    Do you recall who was present for that meeting?                     7 became a cooperator on?
 8 A   I believe Agent Curtis was present, and Elizabeth Geddes             8 A     January 21, 2011.
 9 was present.                                                             9 Q     January 21, 2011.
10 Q    When you say "Agent Curtis," you mean Scott Curtis?                10          MR. PERLMUTTER: Judge with the government's
11 A   Yes.                                                                11 consent, I'm going to admit Defendants' J and K.
12 Q    Do you see Scott Curtis in the courtroom today?                    12          THE COURT: All right. Those are admitted.
13 A   Yes, I do.                                                          13          (So marked.)
14 Q    Can you identify a piece of clothing he's wearing?                 14          MR. PERLMUTTER: If I could have the Elmo up.
15 A   He's wearing a green tie.                                           15 Q     So, you said that you were arrested what day in January?
16        MR. PERLMUTTER: The record should reflect that the               16 A     Actually, it was the 20th. I'm sorry, I said the 21st.
17 witness has identified Scott Curtis.                                    17 It was the 20th of January.
18 Q    Now, I'm going to approach you, with the judge's                   18 Q     So, it was Thursday, January 20; right?
19 permission.                                                             19 A     Correct.
20        THE COURT: You may.                                              20 Q     Now, there came a time when you entered into a plea
21 Q    I'm going to show you what's marked as 3500-RM-30 at page          21 agreement with the government; right?
22 four, and I am also going to show you RM -- 3500-RM-30-X at             22 A     Yes.
23 page four. So, you have the handwritten version, and the                23 Q     And do you remember the date of that?
24 typed version. I'm going to point you to the middle of the              24 A     I believe it was August 4.
25 page towards the top?                                                   25 Q     August 4.
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                                                                    Page 193                                                                      Page 195
               Maragni - cross - Perlmutter         633                                         Maragni - cross - Perlmutter          635
 1         MR. PERLMUTTER: Judge, I would like to admit at                      1 again?
 2 this point 3500-RM-20.                                                       2 A    A few years after.
 3         MS. GEDDES: No objection.                                            3 Q    What year did you hook up with him again?
 4         THE COURT: What is it marked as?                                     4 A    '95, '96. I'm not sure what year this was.
 5         MR. PERLMUTTER: We can mark it as Defendants' L, as                  5 Q    You started to collect gambling money for him; right?
 6 in Larry.                                                                    6 A    Yes.
 7         THE COURT: All right. Defendants' L is admitted.                     7 Q    And you would -- he would pay you in connection with
 8         (So marked.)                                                         8 that right?
 9 Q    I'm going to show you what's now admitted as Defendants'                9 A    He would give me a piece of what I brought, yes.
10 Exhibit L, and I'm going to ask you to refer to the last page?              10 Q    He paid you about 50,000 for that work?
11         What is Defendants' L? Would you tell the jury?                     11 A    All total.
12 Mr. Maragni.                                                                12 Q    Now, you were arrested again -- you were arrested again
13 A   What is?                                                                13 in 2000?
14 Q    What is the document that you have in your hand,                       14 A    Yes.
15 Defendants' L?                                                              15 Q    And that was for racketeering; right?
16 A   It's a plea agreement.                                                  16 A    Yes.
17 Q    It's your plea agreement; right?                                       17 Q    And that was for another credit-card fraud?
18 A   Yes.                                                                    18 A    I don't know if credit-card fraud was part of the
19 Q    Would you look at the date on the back, and tell me if                 19 indictment. I'm not sure.
20 that refreshes your recollection as to the exact date that you              20        MR. PERLMUTTER: Can I have 3500-RM-2, please?
21 pled?                                                                       21 Q    You were indicted on bank fraud; right?
22 A   August 1.                                                               22 A    I believe so.
23 Q    August 1. Do you see your signature on there?                          23 Q    And loan-sharking?
24 A   Yes, I do.                                                              24 A    Yes.
25 Q    And you read that agreement before you signed it?                      25 Q    Let's go back to the bank fraud. Let me ask you: The
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               Maragni - cross - Perlmutter         634                                         Maragni - cross - Perlmutter          636
 1 A   Yes.                                                                     1 bank fraud, would you describe what you do, for the jury?
 2 Q    And you discussed it with a lawyer?                                     2 What was that fraud, what did it involve?
 3 A   Yes.                                                                     3 A    I have no idea. I was charged with the underlying
 4 Q    And you understood all the terms of it; correct?                        4 crimes, because I was in a supervisory position.
 5 A   Yes.                                                                     5 Q    Well, do you remember what the credit-card fraud was?
 6 Q    Can I have it back, please?                                             6 A    No, I don't.
 7         And that was August 1 of 2011.                                       7 Q    You remember what the loan-sharking was, though; right?
 8 A   Yes.                                                                     8 A    Yes.
 9 Q    That was a Monday; right?                                               9 Q    And you were also charged with illegal gambling?
10 A   Yes.                                                                    10 A    Yes, I was.
11 Q    Yes?                                                                   11 Q    And also bribing a public official; right?
12 A   Yes.                                                                    12 A    Yes.
13 Q    Now -- just to be clear: That's one two, three, four,                  13 Q    Now, in connection with that, you were bribing officials
14 five, a little more than six months before you entered a plea               14 at the Florida DMV?
15 agreement; right?                                                           15 A    I obtained a driver's license from an official at the
16 A   Six months before I entered a plea agreement?                           16 DMV.
17 Q    Yes. You were arrested on January 20, and you entered a                17 Q    How many driver's licenses did you obtain?
18 plea agreement on August 1; right?                                          18 A    One.
19 A   Correct.                                                                19 Q    And you pled guilty to that; right?
20 Q    That's not a cooperation agreement. That was a plea                    20 A    Yes, I did.
21 agreement; right?                                                           21 Q    You served twenty-four months?
22 A   Plea agreement, yes.                                                    22 A    Yes.
23 Q    Now, I'm going to get back to that in a minute. Let me                 23 Q    When you got out -- let me ask you: When you were in
24 ask you: Around the same time that you were doing this                      24 jail for that twenty-four months, you still engaged in crime,
25 money-laundering scam, you hooked up with Alphonse Persico                  25 even while you were locked up; right?
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                Maragni - cross - Perlmutter           637                                     Maragni - cross - Perlmutter         639
 1 A    Yes.                                                                    1 A   No.
 2 Q    You were engaged in loan-sharking?                                      2 Q    -- in 2002?
 3 A    Yes.                                                                    3 A   No.
 4 Q    You had about 40 to 80 thousand dollars on the street in                4          MR. PERLMUTTER: Can I see 3500-RM-26 at one.
 5 loan-sharking loans?                                                         5 Q    What's a phone room?
 6 A    Yes.                                                                    6 A   A phone room is a room that people -- there's a bunch of
 7 Q    And you were getting three points on those loans at that                7 phones, telephones in a room. People read off a script and
 8 time, weren't you?                                                           8 sell a product.
 9 A    Yes.                                                                    9 Q    Were you involved in a phone-room scam at that point?
10 Q    Now, you worked out an arrangement with somebody named                 10 A   No.
11 Louis Desione?                                                              11 Q    Were you involved in a bookmaking operation, a gambling
12 A    Louis DeSimone.                                                        12 bookmaking operation for sports betting at that point?
13 Q    DeSimone?                                                              13 A   No.
14 A    Yes.                                                                   14 Q    Were you involved in extortion after 2002?
15 Q    And he would keep a point, and you would get two points;               15 A   Yes.
16 right?                                                                      16 Q    And that was a company called Argo Construction?
17 A    Yes.                                                                   17 A   I don't remember the company.
18 Q    That means while you were in jail, you were making about               18 Q    Does the name RS International ring a bell?
19 1600 bucks a week on your loan-sharking loans?                              19 A   No.
20 A    Approximately.                                                         20 Q    Tell us you who extorted around 2002.
21 Q    About $83,000 a year?                                                  21 A   I don't remember.
22 A    Approximately.                                                         22 Q    But you were engaged in extortion?
23 Q    And you had that money delivered to your new wife?                     23 A   2002, I was in jail.
24 A    Yes.                                                                   24 Q    After 2002, you were engaged in extortion? You just said
25 Q    When you got out, you were on supervised release; right?               25 before that you engaged in extortion at some point?
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                Maragni - cross - Perlmutter           638                                     Maragni - cross - Perlmutter         640
 1 A    Yes.                                                                    1 A   The only extortion that I was engaged in was extortionate
 2 Q    The fact is that you said -- you told the jury before                   2 loans.
 3 that you abided by the requirements of the supervised release;               3 Q    Well, did you have some type of involvement with a strip
 4 right?                                                                       4 club called RS International --
 5 A    I -- yes. That's what I said, yes.                                      5 A   No.
 6 Q    But you didn't, did you?                                                6 Q    -- located in North Carolina?
 7 A    No, I didn't.                                                           7 A   No. That was owned by a friend of mine.
 8 Q    You went back to the life of crime?                                     8 Q    That was owned by a friend of yours?
 9 A    Well, I said that I was still shylocking while I was on                 9 A   Yes.
10 supervised release. I also said that.                                       10 Q    What was the name of that friend?
11 Q    But the fact is that at one point, you told the jury that              11 A   Rocco Scarano.
12 you complied with supervised release; right?                                12 Q    You had dealings with him?
13 A    Yes, I did.                                                            13 A   He was my friend.
14 Q    And part of being on supervised release is leading a                   14 Q    And he owned RS International; right?
15 law-abiding life; right?                                                    15 A   I don't know. I don't know his company name.
16 A    Yes.                                                                   16 Q    Didn't you tell the government that you were involved
17 Q    Not committing crimes?                                                 17 with an extortion involving a place called RS International?
18 A    Correct.                                                               18 A   I don't recall saying that.
19 Q    And you were committing crimes?                                        19 Q    All right.
20 A    Yes, I was.                                                            20          MR. PERLMUTTER: Hold on one second.
21 Q    You went back to bookmaking?                                           21          (Pause.)
22 A    No.                                                                    22 Q    Rocco, he tried to open up a club in Florida; right?
23 Q    You went back to gambling; right?                                      23 A   He was looking into it, yes.
24 A    No.                                                                    24 Q    And he needed money?
25 Q    Running gambling operations --                                         25 A   Yes, he was looking for investors.
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                Maragni - cross - Perlmutter       641                                     Maragni - cross - Perlmutter         643
 1 Q    Did you invest with him?                                              1 Q   And that doesn't refresh your recollection that you said
 2 A    No.                                                                   2 that to the government?
 3 Q    Other than extortionate loans, have you ever extorted a               3 A   No, it doesn't.
 4 business?                                                                  4 Q   Who was at that meeting on November 16 of 2011?
 5 A    No.                                                                   5 A   I'm not sure exactly who was there.
 6 Q    The marijuana dealing that you spoke about, Vito Marcel,              6 Q   Scott Curtis there?
 7 is that the Canadian marijuana supplier you are talking about?             7 A   Probably. I'm not sure.
 8 A    No. I don't know Vito Marcel.                                         8 Q   He was at all your meetings, wasn't he?
 9 Q    Now, after 2002, you were also involved in a                          9 A   Basically.
10 gambling-debt collection; right?                                          10       (Continued on next page.)
11 A    There were people that were collecting gambling debts. I             11
12 wasn't part of it.                                                        12
13 Q    But you were aware of it; right?                                     13
14 A    I was aware of it.                                                   14
15 Q    A guy name Smiley owed money on bookmaking?                          15
16 A    I don't know anything about Smiley owed.                             16
17        MS. GEDDES: Objection.                                             17
18        THE COURT: Overruled.                                              18
19 Q    Well, do you know something called Romantique Limousine?             19
20 A    Yes, I do.                                                           20
21 Q    What's Romantique Limousine?                                         21
22 A    A limousine company.                                                 22
23 Q    Who owns it?                                                         23
24 A    My friend Michael Persico.                                           24
25 Q    He's the brother of Alphonse Persico?                                25
        ANTHONY M. MANCUSO, CSR OFFICIAL COURT REPORTER                             ANTHONY M. MANCUSO, CSR OFFICIAL COURT REPORTER

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                Maragni - cross - Perlmutter       642                     Maragni - cross / Perlmutter            644
 1 A Yes, he is.                                               1 CROSS EXAMINATION CONTINUED
 2 Q Do you know a guy named John DiLeo?                       2 BY MR. PERLMUTTER:
 3 A Yes, I did.                                               3 Q Showing you again Defendant's Exhibit -- what's on the
 4 Q He works there; right?                                    4 Elmo, Defendant's J. Talked about your arrest on January 20th
 5 A Yes.                                                      5 of 2011, right?
 6 Q Do you recall meeting a guy named Smiley at Romantique    6 A Yes.
 7 Limousine through John DiLeo?                               7 Q And you took a plea on August 1st of 2011, right, and you
 8 A I know Smiley.
                                                               8 didn't enter into -- you weren't given a cooperating agreement
                                                               9 by the government at any time during 2011, right?
 9 Q Before, you said you had no idea who he was. Do you know
                                                              10 A Correct.
10 Smiley?
                                                              11 Q It wasn't until -- I am now showing you Defendant's K, it
11 A I know Smiley. I have no idea of his gambling debt.
                                                              12 wasn't until then that you entered into a cooperation
12 Q Do you remember telling the government he owed money on
                                                              13 agreement, right?
13 bookmaking?
                                                              14 A Yes.
14 A No.
                                                              15 Q You remember the date of the cooperation agreement?
15
                                                              16 A No.
16 Q Do you remember being interviewed by the government on
                                                              17 Q Showing you what's been marked 3500-RM-244, which I'm
17 November 16 of 2011?                                       18 going to mark as Defendant's Exhibit M for Mary.
18 A Yes.                                                     19        Do you recognize that document?
19 Q I'm going to show you what's marked as 3500-RM-29-X, and 20        Judge, I am assuming I can approach and I don't to
20 I'm going to refer you to the fourth line from the bottom. 21 ask?
21       Do you see that.                                     22        THE COURT: That is fine.
22 A Yes.                                                     23        Thank you, for asking.
23 Q Do you recall telling the government that Smiley owed    24 Q (Cont'd): So is that your cooperation agreement?
24 money from bookmaking?                                     25 A Yes.
25 A No, I don't.                                                                MARSHA DIAMOND, CSR
        ANTHONY M. MANCUSO, CSR OFFICIAL COURT REPORTER                        OFFICIAL COURT REPORTER

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             Maragni - cross / Perlmutter            645                        Maragni - cross / Perlmutter              647
 1 Q What is the date of it?                                        1 cooperation agreement by August 1st, 2011; right?
 2 A February 9th, 2012.                                            2 A I don't know. I -- I don't know what merits a
 3        MR. PERLMUTTER: Judge, I ask that it be admitted          3 cooperation agreement.
 4 into evidence.                                                   4 Q Okay. Well, you know when you cooperate you want to give
 5        MS. GEDDES: No objection.                                 5 them information, correct?
 6        THE COURT: It is received.                                6 A Right.
 7        MR. PERLMUTTER: Thank you Judge.                          7 Q And if you give them information you might get one of
 8        (Defendant Exhibit M received and marked in               8 these agreements, right? Cooperation agreement, right?
 9 evidence).                                                       9 A A cooperation agreement is not determined by me. It is
10 Q So that was February 9, 2012; correct?                        10 determined by the government.
11 A Yes.                                                          11 Q Okay. And they had not determined to give you one then?
12 Q So it took more than a year for you to finally gain your      12         MS. GEDDES: Objection.
13 cooperation agreement, right?                                   13         THE COURT: Mr. Perlmutter, let's move it along.
14 A Yes.                                                          14 Q You don't get a 5k1 letter on just a straight plea,
15 Q Now, let me go back to your plea agreement which we put       15 right?
16 in evidence as Defendant's Exhibit L.                           16 A I don't know.
17        Put it up on the Elmo. See it, right? I've shown         17 Q Now, when you entered this plea agreement you pled guilty
18 you this before?                                                18 to racketeering, right?
19 A Yes.                                                          19 A Yes.
20 Q In connection with this plea agreement -- well, the           20 Q And I'm going to get back exactly to what you had pled to
21 government -- you were at liberty at the time that you signed   21 later -- well, I can actually get to it now, so we don't have
22 this plea agreement, right? You weren't incarcerated, right?    22 to go back over it.
23 A No, I wasn't. I was on bail.                                  23         You pled guilty to a racketeering act three which
24 Q You're not incarcerated now, are you?                         24 was a money laundering conspiracy?
25 A No, I'm not.                                                  25 A Yes.
                  MARSHA DIAMOND, CSR                                                  MARSHA DIAMOND, CSR
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            Maragni - cross / Perlmutter            646                          Maragni - cross / Perlmutter           648
 1 Q But at the time that you signed this plea agreement there      1 Q And racketeering act 13, that was an extortion?
 2 was frustrations about whether you were going to become a        2 A Yes.
 3 cooperator or not, right?                                        3 Q And racketeering act 20, that was possession of
 4 A I don't think so, no.                                          4 contraband cigarettes?
 5 Q You hadn't been offered a cooperation agreement yet,           5 A Yes.
 6 right?                                                           6 Q And that was basically you were selling cigarettes
 7 A No.                                                            7 without tax stamps?
 8 Q And you had numerous meetings with the government,             8 A Yes.
 9 correct?                                                         9 Q You were selling how many cigarettes?
10 A Yes.                                                          10 A Two cases?
11 Q And you'd been on the street for quite a while wearing a      11 Q How many cases are two cases?
12 wire?                                                           12 A Fifty cartons to a case.
13 A Yes.                                                          13 Q And how many -- can you tell us how many cigarettes that
14 Q And the government wasn't willing to allow you -- to          14 is?
15 offer you a cooperation agreement at that time, right?          15 A Twenty to a pack. It's ten packs to a carton and well --
16 A I don't know what they were willing to do or not.             16 Q I can't figure that out and you can't either. We will
17 Q You were told you were going to take a plea agreement?        17 figure it out of later?
18 A I was told I had a plea, yes.                                 18        You also said pled guilty to extortion of an
19 Q And you wanted to get a cooperation agreement, right?         19 individual in North Carolina.
20 A Yes.                                                          20 A Yes.
21 Q But you weren't being offered a cooperation agreement,        21 Q Marijuana distribution?
22 you were being offered a plea agreement only, correct?          22 A Yes.
23 A Not at that point, right.                                     23 Q Extortion of another fellow, John Doe 19?
24 Q So your cooperation hadn't gotten to the point where that     24 A Yes.
25 the work you'd done out on the street, it wasn't meriting a     25 Q Wire fraud of, Florida official?
                 MARSHA DIAMOND, CSR                                                  MARSHA DIAMOND, CSR
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            Maragni - cross / Perlmutter         649                          Maragni - cross / Perlmutter          651
 1 A Yes.                                                         1 A I don't remember.
 2 Q And now in connection with the agreement, the government 2 Q Okay. But the government agreed they wouldn't prosecute
 3 agreed that they wouldn't prosecute you for other crimes that  3 you for that, right?
 4 you committed?                                                 4 A Yes.
 5 A No, not at that point.                                       5 Q Three, shipping and transporting, receiving, possessing,
 6 Q Well, they said that they wouldn't bring you -- they         6 selling contraband cigarettes, do you see that?
 7 wouldn't bring criminal charges against you for a whole host   7 A Yes.
 8 of criminal activities, didn't they?                           8 Q You pled guilty to one charge of that, right?
 9 A Not that I am aware of.                                      9 A Yes.
10 Q Well, let me show you paragraph 12. You see paragraph 12,10 Q But they agreed they wouldn't pursue additional charges
11 you see that?                                                 11 against you for that, right?
12 A Yes, I do.                                                  12 A Yes.
13 Q No further criminal charges will be brought against the     13 Q And then there's another conspiracy to use extortionate
14 defendant, that's you, right?                                 14 means involving an individual from North Carolina. They greed
15 A Yes.                                                        15 they wouldn't prosecute you for that, right?
16 Q And it refers to, one, conspiring to launder the proceeds   16 A Yes.
17 of illegal gambling business of a cousin of John Doe 8 in or  17 Q And then there was the marijuana charge that they agreed
18 about 2008 to 12011; do you see that?                         18 they wouldn't prosecute you for that, right?
19 A Yes.                                                        19 A Yes.
20 Q Who was the cousin of -- who is John Doe 8?                 20 Q And there was extortionate means for extension of credit
21 A I have no idea.                                             21 for John Doe 19, right?
22 Q And do you know who the cousin was?                         22 A Yes.
23 A No.                                                         23 Q They wouldn't prosecute you for that further, correct?
24 Q You told the government that you didn't -- you engaged in 24 A Correct.
25 this money laundering and gambling proceeds with these        25 Q Okay. And then here they talk about the scheme involving
                  MARSHA DIAMOND, CSR                                               MARSHA DIAMOND, CSR
                 OFFICIAL COURT REPORTER                                          OFFICIAL COURT REPORTER
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              Maragni - cross / Perlmutter         650                         Maragni - cross / Perlmutter               652
 1 individuals, right?                                             1 a bribery of a Florida official. You wouldn't be prosecuted
 2 A Yes.                                                          2 further for that, right?
 3 Q And they agreed that you wouldn't be prosecuted for that,     3 A No.
 4 right?                                                          4 Q Okay. Now, all of the other stuff that we talked about,
 5 A Yes.                                                          5 all the other criminal activities that we discussed, you
 6 Q And two, conspiring to use extortionate means to collect      6 disclosed that to the government and they've agreed also that
 7 an extension of credit from John Doe 11 in or about in between 7 you wouldn't be prosecuted for that as well, right?
 8 March 2010 and January 11th; do you see that? January 2011 , 8           MS. GEDDES: Objection?
 9 do you see that?                                                9        THE COURT: The question is overbroad. Rephrase.
10 A Yes.                                                         10 Q We talked about a whole host of criminal activities that
11 Q Now, this person, John Doe 11, who was that?                 11 you were involved with -- collecting proceeds for Allie
12 A I don't know.                                                12 Persico, for being involved in all sorts of activities after
13 Q Okay, but you agreed with the government that you had a 13 you were released in 2002 from jail, and you disclosed that to
14 -- that you used extortionate means to collect an extension of 14 the government and you are not being prosecuted for any of
15 credit, right?                                                 15 that, are you?
16         MS. GEDDES: Objection.                                 16        MS. GEDDES: Objection.
17         THE COURT: Sustained.                                  17        THE COURT: Overruled.
18 Q Well, that means that you threatened somebody, doesn't 18 A No.
19 it?                                                            19 Q Now, there's discussion about this fellow Vincent Manzo?
20         MS. GEDDES: Objection?                                 20 A Yes.
21         THE COURT: That is what was charged.                   21 Q And there's two, there's a Vincent Manzo Senior and a
22         MR. PERLMUTTER: Okay.                                  22 Vincent Manzo Junior, right?
23         THE COURT: They are agreeing they wouldn't prosecute 23 A Correct.
24 him for that.                                                  24 Q And Vincent Manzo Junior, he had a large gambling debt to
25 Q Did you tell the government you had done that?               25 people with the Gambinos, right?
                   MARSHA DIAMOND, CSR                                              MARSHA DIAMOND, CSR
                  OFFICIAL COURT REPORTER                                          OFFICIAL COURT REPORTER

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             Maragni - cross / Perlmutter          653                      Maragni - cross / Perlmutter           655
 1 A I'm not sure what family.                                   1 Q And is there something funny about that?
 2 Q It was about around $50,000 that he owed to another         2 A No.
 3 family?                                                       3 Q You were laughing.
 4 A Roughly, yes.                                               4 A No.
 5 Q And Vincent Manzo Senior, he came to you about that debt, 5 Q I am curious.
 6 right?                                                        6        And that was the cement and concrete workers Local
 7 A I went to him.                                              7 6A.
 8 Q You went to him about that debt?                            8 A Yes.
 9 A Yes.                                                        9 Q Now, you acted with an individual named Ralph Scopo in
10 Q You had discussions with him about that, right?            10 connection with that, right?
11 A Yes.                                                       11 A Yes.
12 Q And Vincent Manzo Seniors's, hes' quite an old fellow,     12 Q And that involved taking over positions in the union?
13 isn't he?                                                    13 A No.
14 A Yes, he's in his 70s.                                      14 Q Well, it involved taking actions of stealing wages and
15 Q He is in his late 70s, early 80s?                          15 benefits from workers, right?
16 A No, not early 80s. He's in his 70s. I think he's           16 A No.
17 somewhere around 76.                                         17 Q Didn't it involve preventing the union from having proper
18 Q Now, you testified in the case before you have no          18 elections?
19 personal knowledge about Tommy Gioeli being involved in any 19 A No.
20 homicides, right?                                            20 Q Why don't you tell us then what it involved?
21 A That's correct.                                            21 A My extortion of Local 6A was I went to Ralph Scopo and
22 Q And that's despite the fact that you were in this liaison  22 asked him to hire three people.
23 for Allie Persico according to the 2000 indictment on behalf 23 Q Okay. Those were three people for no-show jobs?
24 of the Colombo family, right?                                24 A No. Guys that needed to go to work.
25 A That is also correct.                                      25 Q So there was no crime then, right; is that your opinion?
                  MARSHA DIAMOND, CSR                                            MARSHA DIAMOND, CSR
                 OFFICIAL COURT REPORTER                                        OFFICIAL COURT REPORTER
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             Maragni - cross / Perlmutter           654                        Maragni - cross / Perlmutter          656
 1 Q And in fact, when you were at meetings with the               1 A I don't think there was a crime. I was going to somebody
 2 government you never said at all that you had any personal      2 that I knew had something to do with the union, there were
 3 knowledge about any homicides involving Tommy Gioeli, right? 3 three fellows that were out of work that worked for that union
 4 A Correct.                                                      4 before, and they needed work, and I asked them if he could put
 5 Q Now, you were talking about contacts that you had with        5 them on.
 6 Mr. Gioeli during your direct testimony, remember that?         6 Q And so you just -- it is your testimony then, that there
 7 A Yes.                                                          7 was no basis for the government to charge you with labor
 8 Q You said there were payments that were made involving a 8 racketeering corruption?
 9 guy named Pate -- Robert Pate?                                  9 A That is exactly correct.
10 A Yes?                                                         10 Q Now, when you were arrested -- you were arrested on
11 Q You had no way to corroborate that, do you?                  11 January 20th, as we discussed, right?
12 A No.                                                          12 A Yes.
13 Q There were also visits of Florida, I think you were          13 Q When you were arrested you appeared before a Magistrate
14 talking about that?                                            14 Judge named Judge Gold, right?
15 A Yes.                                                         15 A Yes.
16 Q Now, in the current case, and when I say the current case 16 Q And he entered an order of detention against you,
17 I mean the case you were arrested on back in January 2011, all 17 correct?
18 right, you were accused at that point of being a capo, captain 18 A Yes.
19 in the Colombo family, right?                                  19 Q You were being held, you weren't out on the street the
20 A Yes.                                                         20 way you are today, right?
21 Q And one of the things that you were charged there with       21 A Yes.
22 what was labor racketeering?                                   22 Q And you wanted to get out of jail?
23 A Yes.                                                         23 A Yes.
24 Q And corruption of a labor union, right?                      24 Q So there was an application made to another Judge, Judge
25 A Yes.                                                         25 Bloom?
                  MARSHA DIAMOND, CSR                                              MARSHA DIAMOND, CSR
                OFFICIAL COURT REPORTER                                           OFFICIAL COURT REPORTER

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 1 A Yes.                                                       1 A Yes.
 2 Q And she granted you bail on the 4th of February 2011,      2 Q So the government wrote -- just to clarify, on
 3 right?                                                       3 March 25th, 2011 asking for your release, right?
 4 A Yes.                                                       4 A Yes.
 5 Q All right. Now, can I have one second? So that was on      5 Q Now, when the government wrote and asked for your release
 6 February 4th, 2011, right?                                   6 on that day, you had never met with the government yet, had
 7 A Yes.                                                       7 you?
 8 Q And she said that you could actually be released,          8 A I have already met with them.
 9 correct?                                                     9 Q Well, when did you first meet with the government?
10 A Yes.                                                      10 A I'm not sure of the exact date.
11 Q And the government, they didn't agree with this, right?   11 Q Isn't it a fact that your first meeting with the
12 A They appealed it.                                         12 government occurred on March 29th, 2011?
13 Q They appealed it to Judge Matsumoto, correct?             13 A I'm not sure about that. I don't think so.
14 A Yes.                                                      14         MR. PERLMUTTER: One second, Your Honor.
15 Q They said that you were a danger to the community, right? 15         THE COURT: Okay.
16 A Yes.                                                      16         (Pause in the proceeding).
17 Q And that you shouldn't be on the street?                  17 Q The fact is that you have a specific recollection of
18 A Yes.                                                      18 meeting with the government prior to their writing on
19 Q And they went for a hearing in front of Judge Matsumoto   19 March 25th of 2011 asking Judge Matsumoto for your release?
20 and that happened on March 4th of 2011, right?              20 A I believe I already entered into -- I already entered
21 A I am not sure of the date.                                21 into -- I made an agreement to cooperate before the government
22        MR. PERLMUTTER: Could I see 3500-RM-19-C.            22 wrote a letter asking the Judge to grant me bail.
23 Q I show you what's been marked as -- I'm sorry --          23         MR. PERLMUTTER: Judge, given our issue with the
24 3500-RM-19-F. Take a look at that. Does that refresh your   24 exhibits, this might be a good time to break. I don't know if
25 recollection as to the date that you were before Judge      25 you want me to keep going.
                 MARSHA DIAMOND, CSR                                             MARSHA DIAMOND, CSR
                OFFICIAL COURT REPORTER                                         OFFICIAL COURT REPORTER
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 1 Matsumoto seeking bail?                                                1        THE COURT: I take it you are not likely to finish
 2 A This says April 7th.                                                 2 within the next 20 minutes?
 3        MR. PERLMUTTER: I am sorry. Excuse me one second.               3        MR. PERLMUTTER: Not at all, Judge. I think the
 4        One second, Your Honor. I apologize.                            4 mechanics would be more smooth in the morning.
 5        THE COURT: All right.                                           5        THE COURT: Okay.
 6        (Pause in the proceeding)
 7 Q The fact is that at some point after February 4th you
 8 sought from Judge Matsumoto to be released, correct?
 9 A Yes.
10 Q And Judge Matsumoto agreed with Judge Bloom and wouldn't
11 release you initially?
12 A Judge Matsumoto, no she went against Judge Bloom.
13        THE COURT: Judge Bloom had ordered release.
14        MR. PERLMUTTER: Judge, I am sorry.
15 Q Judge Bloom had ordered release and Judge Matsumoto said
16 no, you are a danger to the community, you can't be released,
17 right?
18 A Right.
19 Q And then on the 25th of March the government wrote you --
20 I'm sorry -- the government wrote to Judge Matsumoto and asked
21 that you be released, right?
22 A I am not sure of the date. I don't know.
23 Q Well, let me show you what's marked as -- let me show you
24 what's marked as 3500-RM-19-C and you can see if that
25 refreshes your recollection (handing to the witness).
                  MARSHA DIAMOND, CSR
                 OFFICIAL COURT REPORTER

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  1                                 UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF NEW YORK
  2
       -   -   -   -   -   -    -   -   -   -    -    -   -   -    -   -   - X
  3
       UNITED STATES OF AMERICA,                          :       08-CR-240
  4
                           v.                             :       U.S. Courthouse
  5                                                               Brooklyn, New York
       THOMAS GIOELI and                                  :
  6    DINO SARACINO,                                     :
                                                                  March 22, 2012
  7                                 Defendants.           :       9:30 o'clock a.m.

  8    -   -   -   -   -   -    -   -   -   -    -    -   -   -    -   -   - X

  9
                                    TRANSCRIPT OF TRIAL
 10                                 BEFORE THE HONORABLE BRIAN M. COGAN
                                    UNITED STATES DISTRICT JUDGE, and a jury.
 11
       APPEARANCES:
 12
       For the Government:                                LORETTA E. LYNCH
 13                                                       United States Attorney
                                                          By: ELIZABETH GEDDES
 14                                                            CRISTINA POSA
                                                               JAMES GATTA
 15                                                       Assistant U.S. Attorneys
                                                          271 Cadman Plaza East
 16                                                       Brooklyn, New York 11201

 17    For the Defendant Gioeli:                          ADAM PERLMUTTER, ESQ.
                                                          CARL HERMAN, ESQ.
 18                                                       DANIEL McGUINNESS, ESQ.

 19    For the Defendant Saracino:                        SAM BRAVERMAN, ESQ.
                                                          LOUIS FASULO, ESQ.
 20                                                       HEATHER BERGER, ESQ.

 21

 22    Court Reporter:                                    Anthony M. Mancuso
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 23                                                       Brooklyn, New York 11201
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 24
       Proceedings recorded by mechanical stenography, transcript
 25    produced by CAT.



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 1                                                                             1 people are incarcerated before trial; right?
                                                                               2 A   Yes.
                                                                               3 Q   And you were incarcerated there; correct?
                                                                               4 A   Yes, I was.
                                                                               5 Q   Now, you said -- well, when you were there -- when were
 6 REYNOLD                   M A R A G N I,                                    6 you incarcerated there?
 7     called as a witness, having been previously duly                        7 A   January 2011.
 8     sworn, was examined and testified as follows:                           8 Q   You started your incarceration January 2011?
 9          THE COURT: Mr. Perlmutter, you may continue.                       9 A   Yes.
10          MR. PERLMUTTER: Thank you, your Honor.                            10 Q   Then you finished it I think sometime in early April of
11          Good morning, everybody.                                          11 2011; right?
12 CROSS-EXAMINATION (Continued)                                              12 A   Yes.
13 BY MR. PERLMUTTER:                                                         13 Q   You were released pursuant to an agreement that we're
14 Q    Good morning, Mr. Maragni.                                            14 going to get back to that we talked about yesterday?
15 A   Good morning.                                                          15 A   Yes.
16 Q    Mr. Maragni, you testified yesterday that there were                  16 Q   When you were there, Thomas Gioeli was also there; right?
17 times when you would come up to New York, and it was your                  17 A   Yes.
18 testimony that you visited with my client, Thomas Gioeli;                  18 Q   And it was your testimony yesterday that the acting boss
19 right?                                                                     19 of the Colombo Crime Family was incarcerated with you at that
20 A   Yes.                                                                   20 time?
21 Q    Now, you are a friend of Alphonse Persico's?                          21 A   Yes.
22 A   Yes.                                                                   22 Q   And that was Andrew Russo?
23 Q    And he's incarcerated right now; correct?                             23 A   Yes.
24 A   Yes.                                                                   24 Q   And it's your testimony that you engaged in Mafia rituals
25 Q    In fact, he was incarcerated for quite a long time in New             25 in jail involving Andrew Russo?
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 1 York; right?                                                                1 A   Yes.
 2 A   Yes.                                                                    2 Q   Now, yesterday, I was asking you about your release from
 3 Q    And when you would come up and you would have these                    3 jail in April of 2011; remember?
 4 visits that you say you had with Mr. Gioeli, you would also                 4 A   Yes.
 5 visit Mr. Persico; correct?                                                 5 Q   And I said to you, Do you recall that the government
 6 A   Mr. Persico was in jail. I visited him once while he was                6 wrote to Judge Matsumoto on the 25th of March 2011 seeking
 7 incarcerated.                                                               7 your release?
 8 Q    Right. You visited him in jail; right?                                 8 A   I remember you saying that.
 9 A   Yes.                                                                    9 Q   Previously, you hadn't been released, because you were
10 Q    And that was up here in New York; right?                              10 considered dangerous; right?
11 A   Yes.                                                                   11 A   Yes.
12 Q    Now, you testified yesterday that you were involved in                12 Q   A danger to society and a danger to the community; right?
13 some type of induction ceremony; isn't that right?                         13         THE COURT: Mr. Perlmutter, we covered this
14 A   Yes.                                                                   14 yesterday.
15 Q    That was in what year?                                                15         MR. PERLMUTTER: I'm laying a foundation to get back
16 A   2008.                                                                  16 to where I was.
17 Q    Exactly, exactly when was that ceremony?                              17         THE COURT: I understand.
18 A   That was on Palm Sunday.                                               18 Q   The fact is, is that the government, in fact, Ms. Geddes,
19 Q    Now, you also said that when you were at the MDC -- you               19 she wrote to Judge Matsumoto before there ever even had been a
20 were incarcerated at the MDC; right?                                       20 meeting with you seeking to have you released; right?
21 A   Yes.                                                                   21 A   I'm not aware of that.
22 Q    Now, when I use that term the "MDC," that stands for                  22 Q   Well, remember yesterday, you said that you had signed an
23 Metropolitan Detention Center; right?                                      23 agreement? Do you recall that?
24 A   Yes.                                                                   24 A   Yes.
25 Q    And that is a federal facility here in Brooklyn, where                25 Q   And you said that you had signed an agreement at your
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 1 first meeting with the government; right?                                  1          MS. GEDDES: Objection.
 2 A    Yes.                                                                  2          THE COURT: Overruled.
 3 Q    And isn't it a fact -- isn't it a fact that that                      3 A    Yes, I remember seeing that.
 4 agreement -- well, let's be clear.                                         4 Q      You said now that the first time you met with the
 5         MR. PERLMUTTER: If I could have the Elmo, please,                  5 government was on March 29; correct?
 6 Judge?                                                                     6 A    Yes.
 7 Q    Do you remember yesterday, we said that the government                7 Q      So, the government requested your release prior to any
 8 had written Judge Matsumoto on March 25?                                   8 meeting with you; correct?
 9 A    Yes, I remember you saying that.                                      9 A    Yes.
10 Q    Okay. And you said that at your first meeting with the               10 Q      The fact is, is that Judge Matsumoto, she denied the
11 government, you signed an agreement; right?                               11 government's request to release you from jail; isn't that
12 A    Yes.                                                                 12 right, initially?
13 Q    And that was an agreement to obtain your release from                13 A    Initially, Judge Matsumoto left a standing detention
14 jail; right?                                                              14 order with me. I don't know what took place after the
15 A    I believe it was a proffer agreement.                                15 government met with her.
16 Q    You signed a proffer agreement and an agreement to obtain            16 Q      But the fact is, is that after the government's
17 your release from jail; right?                                            17 application on March 25, you weren't released from jail
18 A    I don't remember if that was signed that day.                        18 immediately, were you?
19 Q    Isn't it a fact that the first agreement you signed with             19 A    No, I wasn't.
20 the government, the first proffer agreement you signed with               20 Q      And do you recall, that standing order from Judge
21 the government, was done on the same day that you signed a                21 Matsumoto wanted to know how the government was going to be
22 release agreement with the government, as well?                           22 able to effectively monitor you if you were released?
23 A    It could be possible. I'm not sure.                                  23          MS. GEDDES: Objection.
24 Q    You don't remember?                                                  24          THE COURT: Overruled.
25 A    I don't remember.                                                    25 A    Yes.
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 1         MR. PERLMUTTER: Well, if I can approach the                        1 Q      In fact, that became a problem with you, didn't it, being
 2 witness, Judge?                                                            2 able to effectively monitor you while you were released;
 3         THE COURT: You may.                                                3 right?
 4 Q    I'm showing the witness 3500-RM-8 and 9?                              4 A    Yes.
 5         (Pause.)                                                           5 Q      And Judge Matsumoto also wanted to know who was going to
 6 Q    Does that refresh your recollection that at your first                6 monitor you; right?
 7 meeting -- that your first meeting with the government was on              7 A    Yes.
 8 March 29, 2011?                                                            8 Q      And the government said Scott Curtis?
 9 A    Yes.                                                                  9 A    Well, the government said the FBI, and I had to secure a
10 Q    So, that was your first meeting; right?                              10 security company.
11 A    Yes.                                                                 11 Q      Isn't it a fact that the government said that in
12 Q    I'm sorry?                                                           12 particular it would be Scott Curtis?
13 A    Yes.                                                                 13 A    I don't remember that, sir.
14 Q    So, the fact is, is that without ever meeting you, the               14          MR. PERLMUTTER: One second, your Honor.
15 government wrote to the Court and asked for your release, and             15          (Pause.)
16 then they met you on March 29, 2011 for the first time?                   16 Q      I'm showing you a document that's been marked as
17         MS. GEDDES: Objection, the compound nature.                       17 3500-RM-19-E, and I'm referring you in particular to the
18         THE COURT: Sustained.                                             18 section of who will handle the defendant?
19         Rephrase it, please.                                              19          Does that refresh your recollection that the
20 Q    The government wrote to the Court and asked for your                 20 government said that Scott Curtis would be the one handling
21 release on March 25?                                                      21 you.
22 A    If that's what you are saying, yes.                                  22 A    I know what it says on this paper, but that's not what I
23 Q    It's not what I am just saying. Do you remember seeing               23 heard. I never heard of this. I never heard of this.
24 the letter yesterday to Judge Matsumoto asking for your                   24 Q      The fact is, it was Scott Curtis that was handling you,
25 release dated March 25, 2011?                                             25 wasn't it?
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 1 A    He was the arresting agent.                                           1 Q    We just have to trust you and take your word for it?
 2 Q    And he was your handling agent while you were out?                    2 A    Yes.
 3 A    And he was my handling agent; that's correct.                         3 Q    The fact is, when you were doing all that, you weren't
 4 Q    Let's talk about that handling. You signed an agreement               4 under a cooperation agreement, were you?
 5 with the government to be released; right?                                 5 A    No, I wasn't.
 6 A    Yes.                                                                  6 Q    Now, you started cooperating, and you did several things.
 7 Q    While you were released, it was discovered that you                   7 You attended meetings with the government; right?
 8 continued loan-sharking -- right?                                          8 A    Yes.
 9 A    Yes.                                                                  9 Q    What are those meetings called?
10 Q     -- and revealed to people that you were wearing a wire              10 A    Proffer sessions.
11 while you were released; right?                                           11 Q    Proffer sessions; right?
12 A    No.                                                                  12 A    Correct.
13 Q    We'll get back to that.                                              13 Q    Can you spell "proffer" for us?
14        But one of the conditions of your release was that                 14 A    P R O --
15 you couldn't reveal to any third party that you were                      15         MS. GEDDES: Objection.
16 cooperating; right.                                                       16         THE COURT: Sustained.
17 A    Correct.                                                             17 Q    It's P R O F F E R; right?
18 Q    Now, you got confronted about the fact that you were                 18 A    Correct.
19 found to be collecting loan-sharking proceeds; right?                     19         MR. PERLMUTTER: Just to educate the jury, because
20 A    Yes.                                                                 20 it's a term we use that is not as common.
21 Q    And you said to the government, Well, I got 5500 from a              21         THE COURT: So, you spelled it, Mr. Perlmutter.
22 fellow Cinnante; is that it?                                              22 Q    Proffer session, where you proffer information to the
23 A    Yes.                                                                 23 government; right?
24 Q    When you met him in Staten Island; right?                            24 A    Correct.
25 A    Yes.                                                                 25 Q    You hope the government will find your information
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 1 Q    And Curtis, he let you go down to Florida and meet with               1 valuable, so they will give you a cooperation agreement?
 2 this guy; right?                                                           2 A    Correct.
 3 A    Yes.                                                                  3 Q    The first proffer session that we talked about, that was
 4 Q    And you collected 15,000 from this guy when you were down             4 on March 29; right?
 5 in Florida; right?                                                         5 A    Yes.
 6 A    Yes.                                                                  6 Q    Then you went to a second proffer session on April 8?
 7 Q    And there was another guy named DeSantis in Hollywood?                7 A    I don't know the exact date of the second proffer
 8 A    Yes.                                                                  8 session.
 9 Q    And you got 4,000 from him; right?                                    9 Q    Okay. Let's work through it. Showing you what's marked
10 A    Yes. But that was at a different time. That was not                  10 as 3500-RM-10. Does that refresh your recollection as to the
11 down in Florida.                                                          11 date of your next proffer session?
12 Q    All right. But that's why you were out being handled by              12 A    Yes.
13 Agent Curtis; right?                                                      13 Q    So, that's April 8?
14 A    Right.                                                               14 A    Yes.
15 Q    That money that you got, you never turned it over to the             15 Q    Showing you 3500-RM-11 -- I'm sorry.
16 FBI; right?                                                               16         Let me set it up.
17 A    No.                                                                  17         MR. PERLMUTTER: I apologize, your Honor.
18 Q    In fact, Agent Curtis knew that at least some of it you              18 Q    Was your next session on April 18, 2011?
19 collected and he didn't require you to turn it over; right?               19 A    Probably. I'm not sure of the date.
20 A    He didn't know that I collected that money.                          20 Q    Let me show you 3500-RM-11. Does that refresh your
21 Q    That's what you say; right?                                          21 recollection that April 18 was the date of your next proffer
22 A    Yes.                                                                 22 session?
23 Q    And we don't really know how much money you collected,               23 A    Yes.
24 only what you say you collected; right?                                   24 Q    Was April 28 the date of the next proffer session after
25 A    Correct.                                                             25 that?
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 1 A    I'm not sure.                                                       1 Q    You had yet more meetings with the government; right?
 2 Q    Showing you 3500-RM-12. Does that refresh your                      2 A   Yes.
 3 recollection as to the next proffer session?                             3 Q    Your next proffer session was on November 3 -- I'm
 4 A    Yes.                                                                4 sorry -- November 2, 2011?
 5 Q    Was the next proffer session you had on May 10, 2011?               5 A   It's possible. I don't recall the date.
 6 A    Not sure of the date.                                               6 Q    I understand.
 7 Q    Showing you 3500-RM-13. Does that refresh your                      7 A   I'm not sure of the dates.
 8 recollection?                                                            8 Q    Showing you 3500-RM-17. Is that your next meeting with
 9 A    Yes.                                                                9 the government?
10 Q    Showing you -- was your next proffer session June 30,              10 A   Yes.
11 2011?                                                                   11 Q    Then your next meeting was November 21 of 2011?
12 A    I'm not sure.                                                      12 A   Possible. I'm not sure.
13 Q    Showing you 3500-RM-14. Does that refresh your                     13 Q    Showing you 3500-RM-18. See if that refreshes your
14 recollection?                                                           14 recollection.
15 A    Yes.                                                               15 A   Yes.
16 Q    Thank you?                                                         16 Q    Then your next meeting was on December 2, 2011?
17         So, you were there on the 8th. You were there on                17 A   I'm not sure of the date.
18 the 18th. You were there on the 28th. You were there on the             18 Q    Showing you 3500-RM-34.
19 10th of May. You were there on the 20th of June.                        19 A   Yes.
20         You had six proffer sessions between March 29 and               20 Q    And you still didn't have a cooperation agreement from
21 June 20; correct.                                                       21 the government; right?
22 A    I believe it's seven.                                              22 A   Correct.
23 Q    Well, this was your first proffer session, was on the              23 Q    So, you were there on the 2nd --
24 29th. One, two, three, four, five, six?                                 24          MS. GEDDES: Objection, your Honor.
25 A    Correct.                                                           25          THE COURT: Mr. Perlmutter, can we pick up this up
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 1 Q    And just to be clear: As we said yesterday, despite                 1 somehow?
 2 those proffer sessions, on August 1, the government made you             2          MR. PERLMUTTER: I'm working on it, Judge.
 3 plead guilty without a cooperation agreement; correct?                   3 Q    The 21st and the 2nd of December?
 4 A    Yes.                                                                4          Now, in addition to attending these meetings, you
 5 Q    And at that point -- I will get back to that in a                   5 also allowed the government to listen to your telephone calls;
 6 second. Actually, let me get back to that now. Hang on a                 6 right.
 7 second?                                                                  7 A   Correct.
 8         (Pause.)                                                         8 Q    And you consented to applications so that your calls
 9 Q    At that point, you attended even more proffer sessions              9 could be monitored; right?
10 with the government; right?                                             10 A   Yes.
11 A    Yes.                                                               11 Q    And you started doing that from the get-go; right,
12 Q    Do you recall that your next proffer session was on                12 basically?
13 September 6, 2011?                                                      13 A   Yes.
14 A    Possible. I'm not sure of the date.                                14 Q    And in addition, you wore a wire?
15 Q    Showing you 3500-RM-15.                                            15 A   Yes.
16 A    Yes.                                                               16 Q    And you were recorded constantly on that wire; correct?
17 Q    And the next meeting was on September 13, 2011?                    17 A   Yes.
18 A    I'm not sure of the date, again.                                   18 Q    Not every day, but several times a week?
19 Q    Showing you 3500-RM-16.                                            19 A   On an average of twice a week.
20 A    Yes.                                                               20 Q    Now, do you recall that at one point while you were
21 Q    And you still didn't have a cooperation agreement from             21 wearing that wire, Agent Curtis instructed that you should say
22 the government; right?                                                  22 nothing that could corroborate any of your conversations?
23 A    That's correct.                                                    23 A   I don't recall that.
24 Q    So, you were there on the 6th and on the 13th; right?              24          MR. PERLMUTTER: One second, your Honor.
25 A    Yes.                                                               25          (Pause.)
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 1        MR. PERLMUTTER: If we could set up the witness to                    1 somebody about a loan-sharking payment, so that it wouldn't
 2 hear something? I would like to have him listen to it and see               2 get picked up on the wire; right?
 3 if that refreshes his recollection.                                         3 A    Correct.
 4        THE COURT: We'll do the best we can.                                 4 Q    And when I asked you before whether you disclosed your
 5        (Pause.)                                                             5 activities for the government to any third parties, the fact
 6        MR. PERLMUTTER: We're going to come back to that.                    6 is that you did, didn't you?
 7 I'll just keep moving, Judge.                                               7 A    No, I didn't.
 8        THE COURT: Okay.                                                     8 Q    Well, you were passing notes to the person, so that you
 9 Q    Do you recall at some point in May expressing frustration              9 wouldn't be overheard on your wire; correct?
10 because the government wasn't happy with the information that              10 A    That's correct.
11 you were giving them?                                                      11 Q    And we heard conversations yesterday with Vincent Manzo,
12 A    I don't recall it.                                                    12 and you did the same thing with him, as well, you passed him
13 Q    Do you recall telling somebody, So, what I'm doing right              13 notes to manipulate your conversation with him, didn't you?
14 now is all bullshit, I'm spinning my wheels?                               14 A    No, I didn't.
15 A    I might have said that. I'm not sure.                                 15 Q    We'll get back to that?
16 Q    You thought they were pretty happy with everything,                   16        Now, you said that you signed papers with the
17 meaning the government?                                                    17 government, so that they could monitor your telephone calls;
18 A    Yes.                                                                  18 correct.
19 Q    The feedback I was getting was, they were happy with what             19 A    Yes.
20 I was doing, and they were happy with what I was getting them,             20 Q    And the fact is, is that you worked out a system so that
21 and now I'm hearing they are not?                                          21 the government couldn't monitor all your telephone calls,
22        MS. GEDDES: Objection.                                              22 didn't you?
23        THE COURT: Mr. Perlmutter, what's the purpose?                      23 A    I don't know what that system would be.
24 Q    Do you recall that the expressions from the government                24 Q    Didn't you get a cell phone, to have discussions that the
25 was that the information you were giving them was no good?                 25 government didn't know about?
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                 Maragni - cross - Perlmutter       697                                        Maragni - cross - Perlmutter         699
 1 A    I don't remember that -- thinking that the information                 1 A    I got a cell phone to have contact with my family.
 2 that I was giving them -- that the government thought that                  2 Q    Well, it wasn't just with your family, it was with people
 3 the information I was giving them was no good.                              3 about collecting loan-sharking obligations, wasn't it?
 4 Q    You weren't getting a cooperation agreement?                           4 A    It was conversations with my business partner.
 5 A    Not that point, no.                                                    5 Q    Who you were using to collect loan-sharking obligations?
 6 Q    Not for a long time?                                                   6 A    He was doing that, but also we had a meat business
 7 A    Not for a long time.                                                   7 together, also.
 8 Q    There was in May of 2011; right?                                       8 Q    You just said two minutes ago that the only reason why
 9 A    Right.                                                                 9 you were using that cell phone was to have conversations with
10 Q    And the fact is, the reason why you weren't getting any               10 your family; so, that wasn't true; right?
11 information is because people you were dealing with on the                 11 A    It's not a yes-or-no answer.
12 outside, they thought you were wearing a wire; right?                      12 Q    It is a yes-or-no answer. Is that true or not?
13 A    At some point, they suspected, yes.                                   13        MS. GEDDES: Objection.
14 Q    Because you had been locked up for so long, and then                  14        THE COURT: Sustained.
15 suddenly you were released and out on the street; right?                   15 Q    Are you related to your business partner?
16 A    Yes.                                                                  16 A    No.
17 Q    And a lot of people, they wouldn't speak to you anymore,              17 Q    So now, we have with your family and with your business
18 would they?                                                                18 partner collecting loan-sharking proceeds for you, and you are
19 A    That's correct.                                                       19 telling us there was nobody else?
20 Q    Now, at one point, from what we know, you were found                  20 A    There came a point that one of the phones that were being
21 engaging -- at several points, you were found engaging in                  21 recorded, the system was down, and I was using my phone to
22 techniques to manipulate what was caught on your wire;                     22 make the phone calls because neither phone was being recorded,
23 correct?                                                                   23 anyway.
24 A    Yes.                                                                  24 Q    The fact is, you know that it's easy to buy a prepaid
25 Q    And, for example, you were found to be passing notes to               25 cell phone and use that, because it can't be traced, and
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                                                                    Page 29                                                                        Page 31
               Maragni - cross - Perlmutter              700                                   Maragni - cross - Perlmutter         702
 1 that's exactly what you were doing?                                         1        (Pause.)
 2 A   I never had a prepaid cell phone.                                       2 A    This is the 17th of May.
 3 Q    In fact, you had conversations with Vincent Manzo on that              3        MR. PERLMUTTER: One second, your Honor.
 4 phone, so that you could set up these recordings that the                   4 Q    All right. I'm sorry. On May 12, the device was found
 5 government has put in; right?                                               5 not to be working correctly; is that right?
 6 A   I had conversations with Vincent Manzo on the phones that               6 A    Yes. It says after three hours and twenty-two minutes,
 7 I was given.                                                                7 it shut down.
 8 Q    And other conversations, as well; right?                               8 Q    And then you had a problem again with the unit on May 23
 9 A   I had conversations with him in person.                                 9 of 2011? If you look at 126-A, at page 25?
10 Q    In fact, you had conversations with him that you arranged             10        (Pause.)
11 not to have recorded?                                                      11 A    25-A is the 13th of May.
12 A   That's not true.                                                       12        MR. PERLMUTTER: Judge, I'll move on briefly.
13 Q    Let's ask about the recording device that you were using.             13        THE COURT: Please.
14 A   Okay.                                                                  14        MR. PERLMUTTER: Yes.
15 Q    Curtis gave you a recording device; right?                            15        Could you check that date?
16        MS. GEDDES: Objection.                                              16        MR. PERLMUTTER: Hang on one second. I think the
17        THE COURT: Overruled.                                               17 government found it.
18 A   I got different recording devices through the months.                  18 Q    So, on May 13, you were recorded, and your device was not
19 Q    Okay. They were given to you by Curtis?                               19 working; right? Isn't that right?
20 A   And other agents.                                                      20 A    Yes.
21 Q    And for some reason, the recording devices you had, they              21 Q    Let me ask you about that day, because on that day, the
22 kept going out of service, didn't they?                                    22 FBI did an inspection of this recording device that you were
23 A   It was a watch that was malfunctioning.                                23 using; right?
24 Q    Right. Okay. Well, let's see. On the 28th of April,                   24 A    They might have. I'm not sure. I don't know.
25 your recording device, it went out of service?                             25 Q    Well, the fact is, is that device was found to have no
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                                                                    Page 30                                                                        Page 32
               Maragni - cross - Perlmutter              701                                   Maragni - cross - Perlmutter         703
 1 A   I'm not sure. I'm not sure when it was.                                 1 damage to it?
 2        MR. PERLMUTTER: Can I see 126-A and B, please?                       2 A    Okay.
 3        Judge, I think it will be easier if I leave this                     3 Q    Isn't that right?
 4 with him, and he can reference it.                                          4 A    Yes.
 5        THE COURT: Okay.                                                     5 Q    And on June 21 of 2011, the same thing happened; your
 6 Q    I'm showing you what is marked 3500-RM-126-A and 126-B.                6 recordings didn't get recorded, your conversations didn't get
 7 They are rather lengthy. There's a blue sheet separating the                7 recorded?
 8 A and B documents, and I'm going to flip back and forth                     8 A    I don't know if all the conversations didn't get
 9 between them?                                                               9 recorded. There were times that the recording device ran out
10        If the witness would look at 3500-RM-126-B, at two.                 10 of time.
11        THE COURT: At page two?                                             11 Q    I'm asking you about June 21 of 2011.
12        MR. PERLMUTTER: Yes.                                                12 A    I don't recall.
13 Q    Does that refresh your recollection that on the 28th of               13 Q    If you look at 3500-RM-126-B, at thirty.
14 April, your recording device malfunctioned?                                14 A    Yes.
15 A   This page is April 19.                                                 15 Q    Your device didn't work that day?
16 Q    Let me make sure. I think you are on the first document,              16 A    That's correct. It shut down.
17 not the second document. You are looking at the A document,                17 Q    Isn't it a fact that the device was inspected and it
18 and the B document -- hang on a second.                                    18 showed there was no damage to it?
19        Here is the B document. Page two. Does that                         19 A    Yes.
20 refresh your recollection that the recording device didn't                 20 Q    It just didn't shut down?
21 work that day.                                                             21 A    Well, it could have been turned off, because if it was in
22 A   Yes.                                                                   22 my pocket or somewhere else on my body, I could have hit it
23 Q    And that happened again to you on May 12 of 2011; right?              23 and turned it off.
24 A   I'm not sure of the date.                                              24 Q    There was a way to turn off that recording device while
25 Q    If you would refer to 126-B, at ten?                                  25 you had it?
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                Maragni - cross - Perlmutter          704                                       Maragni - cross - Perlmutter            706
 1 A    There was a way to turn off the device, but unless you                 1 Q      But your machine kept having problems, according to what
 2 pressed a certain button, you couldn't turn it off. If it was               2 you say?
 3 located somewhere that there were other things going on in the              3 A      It had problems on and off. It malfunctioned on and off,
 4 same vicinity with it and touched up against it, it might have              4 yes.
 5 turned it off.                                                              5 Q      Do you remember that on August 30 of 2011, the machine
 6 Q    The fact is, you knew how to turn off that recording                   6 shut down and there was no explanation, there was no
 7 device, didn't you?                                                         7 explanation for why it shut down?
 8 A    Yes.                                                                   8 A      I remember something like that, but I don't remember the
 9 Q    In fact, there were times when you did turn off that                   9 exact date.
10 recording device so that the FBI couldn't get a recording of               10 Q      Do you remember on September 27, that the device shut
11 your conversation, didn't you?                                             11 off, but there was no damage to the device?
12 A    I only turned off the recording device in between                     12 A      Possible.
13 appointments.                                                              13 Q      In fact, on that day, you were meeting with your partner
14 Q    You turned it off when you were collecting loan-sharking              14 about collecting loan-sharking proceeds?
15 proceeds, didn't you?                                                      15 A      It's possible. But I had the device on. If I was
16 A    I didn't turn it off. I passed notes.                                 16 meeting with my partner, whether I was meeting with him or
17 Q    So, you did pass notes?                                               17 not, the device was on. The device was somewhere that it
18 A    Yes, I did. I said I did.                                             18 could have got turned off, if it leaned up against something
19 Q    After all these recordings that you made and all these                19 and that's what probably happened.
20 meetings that you had from the 29th of March until August 1,               20 Q      The fact is, on September 27, while you were meeting with
21 the government didn't give you a cooperation agreement; right?             21 your partner, the device wasn't turned on?
22 A    They eventually did.                                                  22 A      It wasn't turned on?
23 Q    But they didn't by August 1? That was my question.                    23 Q      There were no recordings made?
24 A    No, they didn't.                                                      24 A      Okay. It was turned on. It probably went off, but it
25 Q    That was a problem for you once you took a plea on August             25 was turned on.
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                                                                    Page 34                                                                             Page 36
                Maragni - cross - Perlmutter          705                                       Maragni - cross - Perlmutter            707
 1 1, wasn't it?                                                               1 Q      Because you turned it off?
 2 A    Sure.                                                                  2 A      The device could have turned off. If it was on a part of
 3 Q    Because you had pled guilty to racketeering?                           3 my body that something else was touching it, it could have
 4 A    Yes.                                                                   4 turned it off.
 5 Q    Money laundering?                                                      5 Q      And it wouldn't turn off because you turned it off;
 6 A    Yes.                                                                   6 right?
 7 Q    Extortion?                                                             7 A      If I wanted to turn it off, yes, I could have turned it
 8 A    Yes.                                                                   8 off.
 9 Q    Involving violence and threats of violence; right?                     9 Q      Then again, on -- well, on October 5, again, the unit
10 A    Yes.                                                                  10 mysteriously wasn't working?
11 Q    Loan-sharking?                                                        11 A      I don't know if it was October 5 or what the date was.
12 A    Yes.                                                                  12 Q      Refer to 126-B, at 78.
13 Q    Wire fraud?                                                           13 A      This is the 16th -- the 6th of October?
14 A    Yes.                                                                  14 Q      Yes.
15 Q    Bribery?                                                              15 A      I wasn't aware that the device turned off.
16 A    I don't know if I pled guilty to bribery.                             16 Q      The device didn't work -- according to you, the device
17 Q    All right. You certainly pled --                                      17 turned off that day, but you weren't aware of it?
18        THE COURT: Mr. Perlmutter, I may be wrong, but I                    18 A      I wasn't aware of it.
19 thought you had previously gone through the --                             19 Q      But the device it had no signs of damage or any problems
20        MR. PERLMUTTER: I'm going to move on right now,                     20 with it; right?
21 your Honor.                                                                21 A      Yes.
22        THE COURT: Thank you.                                               22 Q      And on that day, there were no recordings made?
23 Q    Then you kept trying to record conversations for the                  23 A      I don't know. I'm not sure.
24 government, didn't you?                                                    24 Q      In fact, there were no recordings made?
25 A    Yes.                                                                  25          Why don't you look at the document.
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                                                                    Page 37                                                                        Page 39
                 Maragni - cross - Perlmutter             708                                  Maragni - cross - Perlmutter          710
 1          MS. GEDDES: Objection.                                             1 Q      You did it for about twenty-five minutes with him at one
 2          THE COURT: Sustained.                                              2 point, didn't you --
 3 Q     Well, can you look at the document and see if it                      3 A   I don't recall that.
 4 refreshes your recollection that no recordings were made that               4 Q      -- right in the middle of all the conversations that the
 5 day?                                                                        5 government tried to put in yesterday, didn't you?
 6 A     I'm reading the document now.                                         6 A   I don't recall that at all.
 7 Q     Thank you?                                                            7 Q      I'll get back to that?
 8          (Pause.)                                                           8          Now, yesterday, I asked you about Mr. Manzo; right?
 9 A     It doesn't say if it was recording or not.                            9 I asked you about his age.
10 Q     Are you aware of any recordings made of that day?                    10 A   Yes.
11 A     I was under the assumption that there was a recording                11 Q      And you said you thought he was in his seventies,
12 made that day.                                                             12 mid-seventies?
13 Q     But there were no recordings made that day, were there?              13 A   Yes.
14 A     No.                                                                  14 Q      In fact, he's eighty years old, isn't he?
15 Q     And on that day, you met with Vincent Manzo, didn't you?             15          MS. GEDDES: Objection.
16 A     Yes, I did.                                                          16          THE COURT: Overruled.
17 Q     That was the person that you were involved in these                  17 A   I don't know. I don't know his exact age. I thought him
18 discussions with, that we played to the jury yesterday; right?             18 to be in his mid-seventies.
19 A     Yes.                                                                 19 Q      Showing you what's marked as Defendants' N, as in Nancy.
20 Q     But we don't know really what was said during that                   20          MS. GEDDES: Objection.
21 meeting, only what you say was said; right?                                21          THE COURT: Are you going to refresh him as to
22 A     Yes.                                                                 22 whether he's seventy-six or eighty?
23 Q     Because your recording device didn't go on that day, did             23          MR. PERLMUTTER: Yes, I am.
24 it?                                                                        24          THE COURT: Sustained.
25          THE COURT: Mr. Perlmutter, it's the dead-horse                    25 Q      In fact, he's eighty years old, isn't he?
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                                                                    Page 38                                                                        Page 40
                 Maragni - cross - Perlmutter             709                                  Maragni - cross - Perlmutter          711
 1 rule.                                                                       1          MS. GEDDES: Objection.
 2          MR. PERLMUTTER: I'll move on.                                      2          THE COURT: Sustained.
 3 Q     Now, you developed other techniques to evade any                      3 Q      Now, Vincent Manzo, he came to you because he wanted to
 4 recording on that device, didn't you?                                       4 clear his son's debt; right?
 5 A     I'm not sure what you mean.                                           5 A   He came to me, yeah. He needed to clear his son's debt,
 6 Q     Well, didn't you develop a technique where you would                  6 yes.
 7 leave the device and walk away from it and have conversations?              7 Q      His son had a $50,000 loan-sharking debt to the Gambinos?
 8 A     I had the device with me or in a part of my clothing.                 8 A   He had a $50,000 gambling debt.
 9 Q     At all times?                                                         9 Q      And you spoke to him about it several times, didn't you?
10 A     Yes.                                                                 10 A   Yes.
11 Q     Isn't it a fact that on June 2, you left it in the car               11 Q      Including one of the times when your recording device
12 and then you walked away to have a conversation with somebody              12 wasn't on; right?
13 named Billy for twenty-five minutes?                                       13 A   Probably. It could have been.
14 A     I don't know who "Billy" is.                                         14 Q      Now, do you remember telling him at one point that you
15 Q     How about on June 23, you left it in the car and had a               15 had a way to not only get him out of that objection, but do
16 fifteen-minute conversation with someone?                                  16 even better than that? Do you remember telling him that?
17 A     I don't recall.                                                      17 A   Yes.
18 Q     And on June 12, you did that for forty-five minutes?                 18 Q      And he told you that he would do whatever you told him to
19 A     I don't recall that, either.                                         19 do; right?
20 Q     And on October 19, you did that for seventeen minutes?               20 A   Yes.
21 A     I'm not sure. I don't recall doing it.                               21 Q      Now, on November 11 of 2011, you learned that Vincent
22 Q     And on June 2, you did that for twenty-five minutes?                 22 Manzo's son had been subpoenaed; right?
23 A     I don't remember that, no.                                           23 A   Yes.
24 Q     You did that with Mr. Manzo, didn't you?                             24 Q      By Curtis; right?
25 A     No.                                                                  25 A   Yes.
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                 Maragni - cross - Perlmutter          712                                     Maragni - cross - Perlmutter             714
 1 Q     And yesterday, you referred -- you said you learned that               1 A    Yes.
 2 from a friend; right?                                                        2 Q    And the reason why there are long pauses is because you
 3 A     Yes.                                                                   3 were passing notes to him during those pauses; isn't that
 4 Q     That friend was Curtis, wasn't it?                                     4 right?
 5 A     No.                                                                    5 A    That's not true.
 6 Q     The fact is that you spoke with Curtis before Manzo, Jr.               6 Q    Well, do you remember yesterday, on page four, line 17
 7 was subpoenaed that he was going to be subpoenaed?                           7 -- I'm sorry -- line 19, between 17 and 19, I believe, maybe
 8 A     I spoke with Agent Curtis mostly every day.                            8 on 19, there was a long pause, and you were asked about that
 9 Q     And one of the things you spoke about was that Vincent                 9 from the government; do you remember that?
10 Manzo, Jr. was going to get subpoenaed?                                     10 A    Yes.
11 A     I recall being told that he might be subpoenaed.                      11 Q    And the government said that -- you said that the reason
12 Q     Agent Curtis told that you; right?                                    12 for that pause is that there was a hand gesture?
13 A     Yes.                                                                  13 A    Yes.
14 Q     And he told you why he was going to subpoena him, didn't              14 Q    Do you recall that?
15 he?                                                                         15 A    Yes, I do.
16 A     The subpoena was supposed to be for records and photo                 16 Q    That's because there's some rustling on the recording
17 updates.                                                                    17 device; correct?
18 Q     He also told you that he was going to talk to Manzo about             18 A    Well, we were outside.
19 William Cutolo; right?                                                      19 Q    That's not what you said yesterday; you said there was
20 A     No.                                                                   20 rustling on the recording device because you were making the
21 Q     Now, Vincent Manzo, Sr., the father, he's never been                  21 sign of a gun?
22 subpoenaed, has he?                                                         22 A    I was making the sign of a gun and mouthing the words to
23 A     Not that I know of.                                                   23 Vincent Manzo.
24 Q     And he's never been charged with anything related to                  24 Q    You were --
25 Cutolo's death; right?                                                      25 A    Did you shoot him?
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                                                                     Page 42                                                                        Page 44
                 Maragni - cross - Perlmutter          713                                     Maragni - cross - Perlmutter             715
 1          MS. GEDDES: Objection.                                              1 Q    The fact is, is that you never mentioned that to the
 2          THE COURT: Overruled.                                               2 government before, did you?
 3 A     Not that I know of.                                                    3 A    Yes, I did.
 4 Q     Now, I want to turn back to the conversations that you                 4 Q    I'm going to show you what is marked as 3500-RM-199 and
 5 had that were put into evidence yesterday, and ask you some                  5 199-X?
 6 questions about them?                                                        6          Do you see 199 and 199-X.
 7          Do you recall where Manzo, Sr. said, "Dino is the                   7 A    Yes.
 8 main guy, though"? I'm looking at Conversation 1 at page two                 8 Q    Does that refresh your recollection that you never told
 9 at line 17.                                                                  9 the government about using your hand to make a gun gesture?
10 A     I don't have that in front of me.                                     10 A    When I was asked about the pause, where it says it's
11 Q     I'm going to show you the conversation?                               11 unaudible, I told them what I did.
12          Conversation 1, page two, line 17.                                 12 Q    That's what you say now; right?
13          Do you see that.                                                   13 A    That's what I said before, also.
14 A     Yes, I do.                                                            14 Q    Are you aware of whether that's recorded anywhere?
15 Q     You were told that Dino was the main guy involved in what             15 A    I don't know. I don't know if it's been recorded.
16 was going on; right?                                                        16 Q    Now, I want to refer you to the third call. In
17 A     Yes.                                                                  17 particular, look at line 16 to line 27?
18 Q     And that's Dino Calabro; right?                                       18 A    What page?
19 A     That's what I understood it to be.                                    19 Q    Page two. The fact is, is that Mr. Manzo, he never told
20 Q     Now --                                                                20 you that Tommy Gioeli was in Brooklyn when this incident first
21          MR. PERLMUTTER: Can I have 502-T, please?                          21 started, did he?
22          I'll withdraw that. I'll withdraw that.                            22 A    All he said was Tommy was there.
23 Q     There's several times in your conversations with                      23 Q    Okay. Well, you said, at line 16, "Was Tommy there or
24 Mr. Manzo that day where there are long pauses; isn't that                  24 not?," and the answer was, "Tommy was there."
25 right?                                                                      25          And then you asked, "Tommy was there? I thought
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                Maragni - cross - Perlmutter      716                                     Maragni - cross - Perlmutter          718
 1 Tommy was at the bowling alley".                                          1 BY MR. PERLMUTTER:
 2 A   I'm on a different page than you.                                     2 Q   And then you said, You met him there, all right, meaning
 3 Q    Call 3, page two.                                                    3 that he was encountered on the bowling alley in Long Island?
 4        THE COURT: Call 3, page two.                                       4 A   Yes.
 5        MR. PERLMUTTER: The third tab, page two.                           5 Q   And then you related to Mr. Manzo, who was in Brooklyn,
 6 A   Okay. What line are we on now?                                        6 and you said, Okay, so we had Dino, Little Dino, Big Dino,
 7 Q    Lines 16 and following.                                              7 Little Dino and Joey Caves.
 8 A   Okay.                                                                 8       And he said, Right, they put him in the car.
 9 Q    You asked "Was Tommy there or not there?."                           9       So, in fact, Mr. Gioeli, he was never in Brooklyn
10 A   I'm on -- hold on.                                                   10 when this happened, right?
11        THE COURT: It's the third tab.                                    11 A   I don't know.
12        THE WITNESS: I have it.                                           12 Q   But Mr. Manzo didn't tell he was in Brooklyn when this
13 A   Yes, I am there.                                                     13 happened, right?
14 Q    That was immediately following the discussion about the             14 A   No.
15 house; right, Big Dino, Little Dino's house?                             15 Q   In fact, he said repeatedly that he had driven by himself
16 A   Right.                                                               16 out to Long Island?
17 Q    And Manzo said Tommy was there; right?                              17 A   Yes.
18 A   Yes.                                                                 18       MR. PERLMUTTER: Hang on one second.
19 Q    And then you said "Tommy was there? I thought Tommy was             19 Q   Now, just prior to that meeting that you had with Vincent
20 at the bowling alley" -- do you see that?                                20 Manzo on December eighth, you had had a previous meeting with
21 A   Yes.                                                                 21 him where you took the occasion to walk away with him for
22 Q    -- in fact, because your understanding was that Tommy               22 about 25 minutes so that wouldn't get caught in a recording
23 Gioeli was not in Brooklyn, but may have been at a bowling               23 device, right?
24 alley out on Long Island; right?                                         24 A   No, that's not true.
25 A   I thought that Tommy was at a bowling alley in Long                  25 Q   One second.
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                Maragni - cross - Perlmutter      717                                              Side Bar              719
 1 Island, yes.                                                              1       MR. PERLMUTTER: Judge, can I have a moment to
 2 Q    And Manzo said, "We met him there"; right?                           2 confer with Mr. Herman?
 3 A   Yes.                                                                  3       THE COURT: Sure.
 4        (Continued on next page.)                                          4       MR. PERLMUTTER: Thank you.
 5                                                                           5       (Pause.)
 6                                                                           6       THE COURT: How are you doing, ladies and gentlemen?
 7                                                                           7 Are you all with us here?
 8                                                                           8       THE JUROR: Okay.
 9                                                                           9       MR. PERLMUTTER: Judge, can we approach for a
10                                                                          10 second?
11                                                                          11       THE COURT: Okay.
12                                                                          12       (Side bar conference.)
13                                                                          13
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        ANTHONY M. MANCUSO, CSR OFFICIAL COURT REPORTER

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                                                720                                           Maragni - cross - Perlmutter             722
                                                                               1         THE COURT: Yes.
                                                                               2         MR. McGUINNESS: May I approach, Judge?
                                                                               3         THE COURT: You may.
                                                                               4         MR. PERLMUTTER: And, Judge, I'm going to mark for
                                                                               5 identification the translation and give it to the witness as
                                                                               6 well.
                                                                               7         THE COURT: Okay.
                                                                               8         MR. PERLMUTTER: And that will be marked as
                                                                               9 Defendants Exhibit I.
                                                                              10         (Pause.)
                                                                              11         THE COURT: Mr. Perlmutter, I think we're ready.
                                                                              12 BY MR. PERLMUTTER:
                                                                              13 Q    Does that refresh your recollection that Agent Curtis
                                                                              14 told you not to speak with anyone about corroboration when you
                                                                              15 had your recording device on?
                                                                              16 A    Yes.
                                                                              17 Q    He did say it to you, didn't he?
                                                                              18 A    Yes, but it wasn't in the context that I thought it was.
                                                                              19 Q    Did he say that to you, sir?
                                                                              20 A    Yes.
                                                                              21         MR. PERLMUTTER: Judge, I have no more questions.
                                                                              22         THE COURT: All right.
                                                                              23         Anything?
                                                                              24         MR. BRAVERMAN: I do have a couple of questions.
                                                                              25         THE COURT: Go ahead.
                                                                                            CMH       OCR    RMR     CRR        FCRR

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                Maragni - cross - Perlmutter          721                                         Maragni - cross - Braverman           723
 1 BY MR. PERLMUTTER: (Continuing)                                             1         MR. BRAVERMAN: Thank you.
 2 Q    Mr. Maragni, do you remember speaking with, having a wire              2 CROSS EXAMINATION
 3 on May 17th of 2011?                                                        3 BY MR. BRAVERMAN:
 4 A    Yes.                                                                   4 Q    Good morning, Mr. Maragni.
 5 Q    And during that wire, you had a conversation with Scott                5 A    Good morning.
 6 Curtis, right?                                                              6 Q    Still is.
 7 A    I don't recall the discussion.                                         7 A    Yes.
 8 Q    Do you remember at any point Scott Curtis telling you                  8 Q    I'd like to ask you a couple of questions about your
 9 don't say anything on the wire that may --                                  9 testimony.
10         MS. GEDDES: Objection.                                             10         My name is Sam Braverman. I represent Dino
11         THE COURT: Overruled.                                              11 Saracino.
12 Q    -- that may be corroboration, do you remember him saying              12 A    Okay.
13 that?                                                                      13 Q    Did you have any personal business with Mr. Saracino
14 A    No, I don't recall that.                                              14 before?
15         MR. PERLMUTTER: Judge, at this time, I'd like to                   15 A    No.
16 admit Exhibit H.                                                           16 Q    You have no personal knowledge about him based on your
17         THE COURT: You want to admit it?                                   17 own eyes, ears, nose, smell, taste?
18         MR. PERLMUTTER: Yes, I would, because I'd like to                  18 A    No.
19 play it for the jury.                                                      19 Q    Okay. So I'm going to ask you a bunch of questions. At
20         MS. GEDDES: Objection.                                             20 any time I phrase a question for you, you don't understand it,
21         MR. PERLMUTTER: What I'd like to do, Judge, is let                 21 just tell me. I'll rephrase.
22 me mark it as Defendants H, let me play it for the witness and             22 A    Okay.
23 see if it refreshes his recollection.                                      23 Q    You had, as we heard earlier today, a lot of
24         THE COURT: Right. That you may do.                                 24 conversations with the government either in a proffer session
25         MR. PERLMUTTER: This is going to go to the witness.                25 with an Assistant United States Attorney or in a meeting with
            CMH       OCR     RMR        CRR   FCRR                                         CMH       OCR    RMR     CRR        FCRR

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                Maragni - cross - Braverman            724                                     Maragni - cross - Braverman                 726
 1 or telephone call with one of the law enforcement agents.                   1 A Yes.
 2 A    That's correct.                                                        2 Q Okay. Now, to start again from the beginning, I'm going
 3 Q    And you are familiar with the obligation that you had to               3 to cover a couple of topics that have been covered, but
 4 always be honest with the government when you speak to them,                4 hopefully we'll clarify a couple of points here.
 5 correct?                                                                    5         As we've heard, when you got arrested, you were
 6 A    Correct.                                                               6 detained without bail, right?
 7 Q    I'm sure they told you many times if you lie to them even              7 A Correct.
 8 once, it's a separate crime?                                                8 Q On two grounds, that being danger to the community and
 9 A    Yes.                                                                   9 risk of flight, right?
10 Q    And they also told you that if you lie to them, it would              10 A I think it was just danger to the community. I don't
11 be a way that they could breach your plea agreement and                    11 think it was ever risk of flight.
12 cooperation agreement but you could not get your plea back and             12 Q Okay. At some point, you make an application for bail
13 still be stuck with being guilty?                                          13 before the Magistrate Judge.
14 A    That's correct.                                                       14 A Yes.
15 Q    And you wouldn't get your 5K letter either, right?                    15 Q And that Magistrate Judge grants you bail?
16 A    Yes.                                                                  16 A Yes.
17 Q    In terms of your plea, one of things I believe that they              17 Q And the District Judge Matsumoto rejected that and kept
18 went over earlier, I think, today was that you had, one count              18 you detained, correct?
19 has a mandatory maximum sentence of 40 years.                              19 A Correct.
20 A    That's correct.                                                       20 Q And then there was a period of time where there was
21 Q    And all of the other ones have the mandatory maximum                  21 letters to the Judge, conversations between you and your
22 sentence of 20 years?                                                      22 lawyer, lawyer and the government, ultimately Matsumoto
23 A    Yes.                                                                  23 changed the bail?
24 Q    Ironically, the one that has the maximum sentence of 40               24 A Correct.
25 years is that marijuana case, right?                                       25 Q During that time period, you were at the MDC, right?
              CMH      OCR    RMR      CRR    FCRR                                         CMH OCR RMR CRR FCRR
                                                                    Page 54                                                                       Page 56
                Maragni - cross - Braverman            725                                    Maragni - cross - Braverman           727
 1 A    Yes, that's right.                                                     1 A   Yes.
 2 Q    Seemingly the least significant of all the other things                2 Q    And during that time period, you learned that the people
 3 that you pled guilty to?                                                    3 who were at that point giving information about you were Tommy
 4 A    Yes.                                                                   4 McLaughlin and Peter Rizzo?
 5 Q    That one also has a mandatory minimum sentence of five                 5 A   I knew that the morning I was arrested.
 6 years?                                                                      6 Q    The morning you were arrested?
 7 A    That's true.                                                           7 A   Yes.
 8 Q    None of the others have a minimum sentence?                            8 Q    Who told you that?
 9 A    No.                                                                    9 A   I was notified that by the FBI.
10 Q    And so if you don't get this 5K letter at the end of the              10 Q    And who was the FBI agent who actually -- was
11 whole day, not today but at the end of your period of work,                11 Agent Curtis at your arrest?
12 then the Judge has no ability to go below that five years,                 12 A   Yes, he was.
13 correct?                                                                   13 Q    Was he the one who told you that they're the ones?
14 A    That's what I was made to understand, yes.                            14 A   Yes.
15 Q    Right. And the only person who can give the Judge that                15 Q    Okay. And you know that you had committed a variety of
16 kind of permission to go below that statutory minimum sentence             16 different crimes with either Mr. McLaughlin or Mr. Rizzo?
17 is the government in their 5K letter, correct?                             17 A   Yes.
18 A    Well, I don't know about permission. I know they can                  18 Q    So they could testify based on personal knowledge about
19 give a recommendation that could allow the five year minimum               19 you?
20 sentence.                                                                  20 A   Yes.
21 Q    Did you ever hear from the government or any other source             21 Q    And so one of the things -- how long was it after that --
22 that without the 5K letter, you would not be allowed to get                22 on that moment of your arrest you learned right away that
23 less than a statutory minimum sentence?                                    23 people you had committed crimes with were testifying against
24 A    Yes.                                                                  24 you, how long after that did you decide you would try and
25 Q    You heard that?                                                       25 cooperate?
              CMH      OCR    RMR      CRR    FCRR                                       CMH      OCR      RMR     CRR      FCRR

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                                                                    Page 57                                                            Page 59
               Maragni - cross - Braverman         728                          Maragni - cross - Braverman              730
 1 A A couple of months after that.                             1 personal knowledge of your criminal activity, you knew you
 2 Q A couple of months?                                        2 were sunk?
 3 A Yes.                                                       3 A Yes.
 4 Q Okay. And when were you arrested?                          4 Q So how would you rate your level of interest in trying to
 5 A The 20th of January.                                       5 be a cooperator? Was it pretty --
 6 Q Of 2011?                                                   6 A Pretty high.
 7 A Yes.                                                       7 Q Pretty high, right?
 8 Q And when you -- when you had your bail hearing, the        8 A Yeah.
 9 second one where Matsumoto rejected the lower court Judge's 9 Q So you were calling Agent Curtis on a somewhat regular
10 decision to release you, did you have a conversation with   10 basis at this point trying to get his interest in taking you
11 Agent Curtis about that bail application?                   11 on as a cooperator?
12 A Yes.                                                      12 A I believe he was only called once.
13 Q You called him on the telephone?                          13 Q Only once? Could it have been at least twice in those
14 A Someone called him on the telephone.                      14 two days?
15 Q Okay. Did you -- but did you speak with him personally?   15 A It could have been. I'm not sure.
16 A I spoke with him after the bail denial.                   16 Q But either way, you were very interested in trying to get
17 Q After the bail denial?                                    17 this?
18 A Yes.                                                      18 A Yes.
19 Q Was that about 7:51 in the evening on March the 4th?      19 Q Did you say anything to him like, I could really help you
20 A Somewhere around that. I'm not sure of the time.          20 out, I'll work really hard, words to that effect?
21 Q Okay. And did you call him directly from your, from the   21 A To that effect.
22 MDC or did you call him through a third party?              22 Q Was he immediately interested now that you were arrested
23 A I called him through a third party.                       23 or was he a little distant?
24 Q Okay. And who was that third party that you called?       24 A He was interested.
25 A It was a friend of mine.                                  25 Q He was interested.
          CMH OCR RMR CRR FCRR                                              CMH OCR RMR CRR FCRR

                                                                    Page 58                                                            Page 60
                Maragni - cross - Braverman          729                                     Maragni - cross - Braverman             731
 1 Q    All right. Do you remember the person's name?                          1        Did you tell him -- when was the first time you told
 2 A   Karen Urso.                                                             2 Agent Curtis a particular piece of information about the case,
 3 Q    And when you did that, how did you have Agent Curtis's                 3 for instance, in a cooperative nature?
 4 telephone number?                                                           4 A I don't remember.
 5 A   I was given his number. I believe it was either by my                   5 Q Was it while you were still in prison?
 6 attorney or by Agent Curtis himself.                                        6 A I don't believe so. I think it was after I was out.
 7 Q    But Agent Curtis had given you that number at the time of              7 Q When you got out, as we've heard earlier, the government
 8 your arrest?                                                                8 had essentially consented to your bail package?
 9 A   I believe I had Agent Curtis's number before I was                      9 A Right.
10 arrested.                                                                  10 Q And still it was a big bail package, right?
11 Q    Before you were arrested?                                             11 A Yes, it was.
12 A   Yes.                                                                   12 Q It was what, like half a million dollar bond?
13 Q    He had given it to you before you got arrested?                       13 A Two and a half million.
14 A   Yes, he had given me the number. He came to the house                  14 Q Two and a half million dollar bond. And you posted
15 and spoke to me and asked me to cooperate and I refused and he             15 properties for those?
16 left his card with me so I had his number.                                 16 A Yes.
17 Q    And you had another conversation with Agent Curtis, is it             17 Q Whose properties were posted?
18 fair to say, the day before March 3, 2011 also about the idea              18 A Friends.
19 of whether or not the government would accept your offer to                19 Q Do you remember their names?
20 cooperate?                                                                 20 A Yes. Frank Donofrio, Karen Urso, Louis Rutigliano and my
21 A   Yes.                                                                   21 personal house in Florida.
22 Q    And at that point, you knew you were not going to get out             22 Q One of the things that you had picked up earlier in your
23 because Matsumoto was going to deny your bail, right?                      23 career, you had prior felony convictions, correct?
24 A   Right.                                                                 24 A Yes.
25 Q    And you knew that people were about to testify based on               25 Q And in this particular case, one of the things you
           CMH      OCR    RMR      CRR       FCRR                                        CMH OCR RMR CRR FCRR

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                                                                    Page 61                                                                         Page 63
                 Maragni - cross - Braverman          732                                        Maragni - cross - Braverman           734
 1 ultimately agreed to as well was a $500,000 forfeiture, is                  1 Q      And what year was that about?
 2 that right?                                                                 2 A      That ended in 1998.
 3 A   Yes.                                                                    3 Q      And when you were done with that, how much money had you
 4 Q    That's part of this instant case that you're working on                4 squirreled away at that point from your legitimate business
 5 now?                                                                        5 interest?
 6 A   Yes.                                                                    6 A      I'm not sure.
 7 Q    Have you paid a dime towards that forfeiture yet?                      7 Q      But a lot less than let's say $300,000?
 8 A   No.                                                                     8 A      Yes.
 9 Q    One of the -- was one of the conditions of your release                9 Q      So is it fair to say that some of the money, if not
10 that you would ultimately start paying down on that forfeiture             10 almost all of the money that was paying for your private
11 by August of last year?                                                    11 security force to keep you from getting into trouble was paid
12 A   I don't believe so, no.                                                12 for with your illegal gains from your criminal activity?
13 Q    One of the things of your conditions of being released                13 A      That would be true.
14 was that you had to pay for your own security?                             14 Q      And yet you've not paid anything on the forfeiture yet at
15 A   Yes.                                                                   15 all?
16 Q    Some, I guess, former law enforcement who were charged                16 A      No.
17 with making sure you didn't run?                                           17 Q      We heard a lot of discussion this morning about a tape,
18 A   Right.                                                                 18 the recording devices?
19 Q    That was one of Judge Matsumoto's concerns?                           19 A      Right.
20 A   I don't think they were worried about me running. It was               20 Q      You had two or three different types during your time
21 because she deemed me a danger to the community that they had              21 period, correct?
22 to have the security force outside my house.                               22 A      Yes. Maybe more.
23 Q    So despite what the government said in terms of                       23 Q      Maybe more? How many would you say, four, five, six?
24 consenting to your release, Judge Matsumoto was still really               24 A      Maybe four.
25 concerned?                                                                 25 Q      Okay. And each one was different -- we're not going to
             CMH     OCR     RMR     CRR       FCRR                                           CMH    OCR      RMR     CRR      FCRR

                                                                    Page 62                                                                         Page 64
                Maragni - cross - Braverman         733                                          Maragni - cross - Braverman           735
 1 A She wanted another layer of protection, yes.                              1 go into the specifics of it, but each one was different
 2 Q And how much did that cost a month?                                       2 designed to look like an ordinary object that a person might
 3 A It varied.                                                                3 carry around?
 4 Q It was about $33,000 a month?                                             4 A      Right.
 5 A Yes, approximately.                                                       5 Q      So you don't alert somebody you are potentially trying to
 6 Q Now, so -- and are you still paying for such security?                    6 record?
 7 A No.                                                                       7 A      Yes.
 8 Q Now you're in a different security program?                               8 Q      And whichever these devices were, you were always
 9 A Yes.                                                                      9 personally aware of what you were carrying around that day was
10 Q Okay. How many months did you pay for that personal                      10 a recording device?
11 security program?                                                          11 A      Yes.
12 A Approximately 10.                                                        12 Q      Now times -- let me ask you this.
13 Q So that would be about 3 hundred plus thousand dollars?                  13          One of the things you learned early on in the case
14 A Well, it wasn't always $33,000 a month, but I'm, I don't                 14 about Mr. McLaughlin was he was able to turn his tape on and
15 know the total, no.                                                        15 off from time to time?
16 Q But it's a big number like that?                                         16 A      Yes.
17 A Yes.                                                                     17 Q      And your understanding of that was that allowed him some
18 Q You had described for us a series of jobs that you've had                18 control over his, what was recorded and passed on to the
19 in different places, some of which were lawful employments,                19 government?
20 some of which were, let's say, generously less than lawful                 20 A      Yes.
21 employment, some might be a mix. Fair to say?                              21 Q      And you, in fact, took advantage of that as well but
22 A Yes.                                                                     22 sometimes, as I think you said yesterday, you may have wanted
23 Q What was the last hundred percent straight, square job                   23 to protect somebody you were talking to?
24 you had?                                                                   24 A      That's correct.
25 A When I was in the motorcycle shop, motorcycle business.                  25 Q      And there were a variety of different ways, whether you
            CMH OCR RMR CRR FCRR                                                              CMH    OCR      RMR     CRR      FCRR

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                 Maragni - cross - Braverman            736                                  Maragni - cross - Braverman              738
 1 turned on -- turned off the machine or left it in the car or                1 Q    So you had to be a chameleon in this case?
 2 went to a place with a lot of background noise, there were                  2 A   You have to be a chameleon every day.
 3 ways of making sure that the tape didn't properly record some               3 Q    One of the things that you were ordered to do when you
 4 conversations?                                                              4 were released by the Judge and when you had your agreement
 5 A    Correct.                                                               5 with the government, even just the proffer, the proactive
 6 Q    And that happened fairly regularly?                                    6 proffer, were essentially three conditions, right?
 7 A    Well, I won't say regularly but it happened.                           7 A   Yes.
 8 Q    Can you tell this jury now who were the people that you                8 Q    The three conditions you listed yesterday were no
 9 were trying to protect?                                                     9 association with criminals, stay out of trouble, no new
10 A    I was trying to protect Dennis Cinnante.                              10 crimes, and get a real job?
11 Q    And who else?                                                         11 A   That was after my Florida case.
12 A    I was trying to protect family members.                               12 Q    After your Florida case?
13 Q    Your own blood relatives?                                             13 A   Yes.
14 A    My own, yes.                                                          14 Q    Okay. Did you do any of those three?
15 Q    Even if they may have had some knowledge of your criminal             15 A   Well, I got a real job, but I associated with criminals.
16 activity, you were still trying to do the right thing by them?             16 Q    And committed more crimes?
17 A    Yes.                                                                  17 A   And committed more crimes, yes.
18 Q    But the other nostra amigos that you tried to protect,                18 Q    And then when you made your agreement with the government
19 you were trying to protect them because you didn't want them               19 about proactive cooperation before the cooperation agreement
20 to get arrested for being near you?                                        20 -- by "proactive cooperation," I mean that you are going out
21 A    Correct.                                                              21 making recordings before you get the actual signed document
22 Q    And you knew that if you had conversations with them                  22 cooperation agreement, right?
23 about what you knew about them, they would make admissions and             23 A   That's correct.
24 then Agent Curtis would get that information?                              24 Q    That's what your -- so it's like a five-step process.
25 A    I'm not sure. I'm not sure what you're saying.                        25 The first one is the proffer agreement, right?
            CMH      OCR     RMR      CRR      FCRR                                      CMH      OCR      RMR      CRR     FCRR

                                                                    Page 66                                                                         Page 68
                 Maragni - cross - Braverman            737                                   Maragni - cross - Braverman           739
 1 Q    Sure. Some of these people that you were trying to                     1 A Uh-huh.
 2 protect, not just your immediate family but your other family,              2 Q Where you go in there and you say we talked today about
 3 when you were trying to protect them, it was because you knew               3 what they want to know?
 4 if you had a conversation with them and you talked about                    4 A Yes.
 5 business, Cosa Nostra business, they would say things that                  5 Q But it's not a cooperation agreement?
 6 would get them in trouble with the feds?                                    6 A Right.
 7 A    Yes, that was one person.                                              7 Q But the next step is you go get a cooperation agreement
 8 Q    The rest of the people, you had no worries about getting               8 of sorts that says I'm going to cooperate and if that works,
 9 in trouble?                                                                 9 I'm going to get my 5K down the road?
10 A    The rest of the people I was recording.                               10 A Yes.
11 Q    Because you wanted to get them in trouble?                            11 Q And then I have my plea agreement where I actually agree
12 A    Well, we were talking about business and we were -- we                12 to what crimes I'm going to admit to and then I go in front of
13 had to -- I had to keep it as natural as possible.                         13 the judge and I enter those pleas of guilty?
14 Q    You had to blend in?                                                  14 A Correct.
15 A    Exactly.                                                              15 Q And then after that, then the government has their 5K
16 Q    When you were arrested back in your Florida case back in              16 letter at the end of your cooperation?
17 the early 2000s --                                                         17 A Yes.
18 A    Yes.                                                                  18 Q And then after that, the judge makes a sentence?
19 Q    -- do you recall that case? Did you have a chance to                  19 A Correct.
20 hear some of the wiretaps that were from that case?                        20 Q When you were in that proffer agreement stage, that first
21 A    Yes.                                                                  21 stage, one of the things I'm sure you were told by the
22 Q    Did you hear yourself saying the line, In this life --                22 government and by law enforcement is no crimes on your own,
23 you speaking, In this life, we live every day, if you ain't a              23 right?
24 chameleon, if you can't change, you're finished?                           24 A Yes.
25 A    Yes.                                                                  25 Q Don't go out there and commit crimes without getting our
            CMH      OCR     RMR      CRR      FCRR                                       CMH OCR RMR CRR FCRR

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               Maragni - cross - Braverman              740                             Maragni - cross - Braverman             742
 1 permission first to go commit these crimes?                           1 Q     Now, at some point during your proffering or your
 2 A They wanted to be aware of everything I was doing, yes.             2 cooperation, you were asked by the government whether or not
 3 Q Right. And you gave them some information but withheld              3 you had ever conspired with anybody to kill him, correct?
 4 some information?                                                     4 A     Yes.
 5 A That's correct.                                                     5 Q     When was that that they asked you that?
 6 Q One of the things was, that you withheld was about the              6 A     A few weeks back.
 7 money?                                                                7 Q     Sometime in the beginning of this year?
 8 A Yes.                                                                8 A     Yes.
 9 Q Because you still need money to live?                               9 Q     And you understood that the basis of their information
10 A That's correct.                                                    10 was some other cooperator?
11 Q And you had developed a standard of living; you didn't             11 A     I -- yes. Yes. Correct.
12 want to live on the McDonald's salary?                               12 Q     Somebody else had told them?
13 A Correct.                                                           13 A     Yes.
14 Q Right. You've got a nice jacket on, nice haircut, the              14 Q     Somebody else in a situation similar to yours had told
15 things you get used to after living the life for a couple of         15 them that you had committed a serious offense?
16 years, right?                                                        16          MS. GEDDES: Objection.
17 A Yes.                                                               17          MR. BRAVERMAN: Just his understanding. I'm not
18 Q Like, for instance, when you got sent, when you were               18 asking the truth. I'm just asking his understanding.
19 ordered to go to Fort Hood, you had lived in the, you know the       19          THE COURT: If you have an understanding, you can
20 expression, you had lived in country during the battle. To go        20 give it.
21 out there to Fort Hood to play games was kind of below your          21 A     Yes.
22 rank?                                                                22 Q     And you told them that's totally not true, right?
23 A I thought so.                                                      23 A     Yes.
24 Q And so you went AWOL?                                              24 Q     That you never had anything to do with it?
25 A Yeah.                                                              25 A     I told them I never had any intentions of killing Jerry
           CMH OCR RMR CRR FCRR                                                       CMH    OCR      RMR      CRR     FCRR

                                                              Page 70                                                                       Page 72
               Maragni - cross - Braverman              741                             Maragni - cross - Braverman             743
 1 Q   It was your decision, just I'm not doing that?                    1 Clemenza.
 2 A   Yes.                                                              2 Q     Did you tell them that you had any involvement in any
 3 Q   And when you got ordered to come back -- did you get any          3 way?
 4 break time for that by the way?                                       4 A     Yes.
 5 A   What do you mean break time?                                      5 Q     And what did you tell them?
 6 Q   Break time.                                                       6 A     I told them that we were to meet with Jerry Clemenza.
 7 A   No.                                                               7 Q     Okay. To do what?
 8 Q   AWOL during war time you didn't get any --                        8 A     There was to be a conversation with Jerry Clemenza.
 9 A   No.                                                               9 Q     A conversation that I might use in my world might be
10 Q   For either of the AWOLs?                                         10 different from a conversation you might use in the business
11 A   Nope.                                                            11 world.
12 Q   Let's talk about Mr. Clemenza for a second.                      12          THE COURT: You mean what do you mean by
13       Now, I think you were asked yesterday questions                13 conversation?
14 about Jerry Clemenza. You identified him as Jerry Green Eyes?        14 Q     I mean what do you mean by conversation?
15 A   Yes.                                                             15 A     There was supposed to be a conversation between Jerry
16 Q   And you know him?                                                16 Clemenza and someone.
17 A   Never met him.                                                   17 Q     And what was the nature of that conversation supposed to
18 Q   Never met him?                                                   18 be?
19 A   No.                                                              19 A     I, I guess it was a business conversation.
20 Q   And do you know of him?                                          20 Q     Would you say --
21 A   Yes.                                                             21 A     -- to hash out, or to hash out a problem. I don't know.
22 Q   Who do you know him to be?                                       22 Q     Would you say, Hey, you're dead or else?
23 A   He's an inducted member of the Colombo family.                   23 A     No. I knew nothing of any debt that Jerry Clemenza owed.
24 Q   Do you know what crew he worked on?                              24 Q     But straighten out your situation meaning what?
25 A   No.                                                              25 A     Meaning it could have been a personal problem between two
             CMH     OCR   RMR       CRR     FCRR                                     CMH    OCR      RMR      CRR     FCRR

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               Maragni - cross - Braverman              744                                     Maragni - cross - Braverman                 746
 1 people that they were trying to straighten out.                            1 fair to say?
 2       I didn't know anything about any debt or any money                   2 A He wasn't hurt that bad.
 3 or anything like that. I didn't think that was the root of                 3 Q To you.
 4 any problem there.                                                         4         You seen worse, right?
 5 Q Let me ask you this. You talked yesterday about an event                 5 A Yes.
 6 where you had hit somebody with a baseball bat?                            6 Q But he didn't go to the hospital. Is it fair to say he
 7 A That's correct.                                                          7 was aware of your position within organized crime?
 8 Q When was that approximately?                                             8 A He was aware who I was. I don't know if he was aware of
 9 A 1982.                                                                    9 any positions. He was aware of -- he was from the
10 Q It was a long time -- 30 years ago?                                     10 neighborhood that I was from and he knew me from the
11 A Yes.                                                                    11 neighborhood.
12 Q You were a young kid at the time?                                       12 Q And you were man of serious intentions?
13 A I was a young man.                                                      13 A Well, I was -- when you hit a guy with a bat, you
14 Q Younger.                                                                14 probably have some serious intentions.
15       So you hit him in the head with a baseball bat.                     15 Q I agree.
16 What was the reason why you hit him in the head with a                    16         You described yourself yesterday, one of the things
17 baseball bat?                                                             17 is you were a tough guy?
18 A He stole, he burglarized a friend of mine's family's                    18 A I was a tough kid, yes.
19 home.                                                                     19 Q But regarding the Clemenza situation, you said that there
20 Q Was it a light tap to the head or was it a full cut?                    20 was originally a plan that somebody was going to talk to this
21 A Well, it was --                                                         21 guy about whatever the situation was?
22       MS. GEDDES: Objection.                                              22 A Yes.
23       THE COURT: Overruled.                                               23 Q And you were aware of that plan beforehand?
24 Q You can answer.                                                         24 A Yes.
25 A It was more of a medium.                                                25 Q And who did you hear that from?
           CMH OCR RMR CRR FCRR                                                          CMH OCR RMR CRR FCRR
                                                                   Page 74                                                                         Page 76
                Maragni - cross - Braverman             745                                   Maragni - cross - Braverman          747
 1 Q    Medium, like a double?                                                1 A   Who did I hear what from?
 2 A    Yes.                                                                  2 Q      That there was a plan to go have a conversation with this
 3 Q    Okay. And how many times did you hit him with the bat?                3 guy.
 4 A    Once.                                                                 4 A   My friend Allie.
 5 Q    Did he go down?                                                       5 Q      And that would be Allie Persico?
 6 A    No.                                                                   6 A   Yes.
 7 Q    Stood there?                                                          7 Q      Okay. You were also, I assume, questioned about whether
 8 A    Well, he backed up.                                                   8 or not you ever possessed a gun in furtherance of this
 9 Q    A couple of steps right?                                              9 conversation?
10 A    Yeah.                                                                10 A   Yes.
11 Q    I mean, you're a big guy now. Back in the day, you were              11 Q      And you denied any gun, is that correct?
12 probably pretty fit.                                                      12 A   No.
13 A    Back in the day, I was a lot thinner.                                13 Q      Did you tell him you had a gun?
14 Q    So was I.                                                            14 A   Yes.
15 A    Yeah.                                                                15 Q      And when you told him that you had a gun, what kind of
16 Q    But anyway, so you take the double cut at this guy and               16 gun did you have?
17 then you said he didn't go to the hospital, right?                        17 A   That was a .38.
18 A    No, he didn't.                                                       18 Q      And where did you get that gun?
19 Q    Did he know who you were? I mean, had you guys spoken                19 A   I got it from Allie.
20 before?                                                                   20 Q      Now, you are aware of the statute about a felon in
21 A    He knew me.                                                          21 possession of a firearm?
22 Q    And he knew that you were involved in La Cosa Nostra?                22 A   Yes, I am.
23 A    Yes.                                                                 23 Q      What did you understand that to mean?
24 Q    So his not going to the hospital is not necessarily a                24 A   Possession, a felon is not supposed to have a firearm.
25 reflection of his injuries, but perhaps he knew who you were,             25 Q      And so -- and you are a felon?
              CMH   OCR       RMR    CRR        FCRR                                      CMH     OCR      RMR     CRR      FCRR

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                                                                   Page 77                                                            Page 79
                 Maragni - cross - Braverman          748                                    Maragni - cross - Braverman           750
 1 A    Yes, I am.                                                            1 Q And did you ultimately plead guilty at or about the same
 2 Q    Several times out of the federal courts or state courts               2 time those charges were made?
 3 in Florida?                                                                3 A Afterward, yes.
 4 A    Yes, twice.                                                           4 Q So it was part of the, whatever deal, plea agreement you
 5 Q    Twice. And so just merely possessing that firearm would               5 made in that five-step process we talked about before?
 6 be another federal crime, correct?                                         6 A Correct.
 7 A    Yes.                                                                  7 Q You had said, by the way, about, I asked you before about
 8 Q    For which you would have to go to prison?                             8 Dino, he had any personal knowledge. By Dino, I know it's not
 9 A    Correct.                                                              9 confusing to you, it's not confusing to me, but I want to be
10 Q    All right. Did you plead guilty to that charge?                      10 clear for the jury.
11 A    I never was charged.                                                 11        There are two Dino's in this world that we are aware
12 Q    You never pled guilty being a felon in possession of a               12 of that are relevant, correct?
13 gun?                                                                      13 A Yes.
14 A    No.                                                                  14 Q And they are Dino Saracino who is my guy over there?
15 Q    Despite the fact that the government knows that you are a            15 A Yes.
16 felon in possession of a gun because you told them?                       16 Q And Dino Calabro was your guy, was their guy?
17 A    I told them, yes.                                                    17 A He was never my guy. I don't know him.
18 Q    Yesterday one of the things that was brought up was about            18 Q Don't know him?
19 whether or not you tried to extort a union by getting them to             19 A No.
20 accept some people for work?                                              20 Q But in the conversations you talked about with tapes,
21 A    Yes.                                                                 21 when you were saying Dino told them, we're always talking
22 Q    And you described yesterday that it was just three guys              22 about Dino Calabro, right?
23 looking for a job, right?                                                 23 A Yes.
24 A    Correct.                                                             24 Q So when you said that you met with Dino at the MDC?
25 Q    And they were goodfellas or just really squares?                     25 A Yes.
              CMH     OCR      RMR   CRR       FCRR                                      CMH OCR RMR CRR FCRR
                                                                   Page 78                                                            Page 80
              Maragni - cross - Braverman          749                                     Maragni - cross - Braverman             751
 1 A They were people that we knew, friends of ours.                          1 Q Did you ever tell the FBI that you met this Dino at the
 2 Q Friends of ours?                                                         2 MDC?
 3 A Yes.                                                                     3 A Yes.
 4 Q By friends of ours, nostra amigos?                                       4 Q And you say in questions yesterday, I believe, was
 5 A No. No.                                                                  5 whether or not you were formally introduced to him?
 6 Q Not that close?                                                          6 A Yes.
 7 A No.                                                                      7 Q We've heard formerly introduced or officially introduced
 8 Q But friends?                                                             8 as a hand-holding ceremony?
 9 A Yes.                                                                     9 A Yes.
10 Q Like I might use the word "friends"?                                    10 Q Now, this was on the elevator at the MDC?
11 A Yes.                                                                    11 A Yes.
12 Q And but yet, you were charged with extorting the union?                 12 Q Going from the visiting area to the eighth floor?
13 A Yes, I was.                                                             13 A I believe it was on the visiting area at Dino's floor. I
14 Q And what was it claimed that you actually did?                          14 don't remember if he was on the sixth floor at the time.
15 A It say I exploited the union.                                           15 Q Sixth floor or eighth floor, either way?
16 Q By doing what, not by asking three guys to get a job?                   16 A Yes.
17 A I don't know, what they meant behind the charge.                        17 Q When you walk into the MDC area, there's two elevators,
18 Q You never read a complaint?                                             18 past the second sally port, two elevators that go upstairs to
19 A I read it. I read it briefly.                                           19 the inmate area, correct?
20 Q What's your best recollection of what they said to you?                 20 A Yes.
21 A I don't know but ultimately, all the charges were                       21 Q There's a video camera there, right?
22 dropped.                                                                  22 A Uh-huh.
23 Q As part of a deal?                                                      23 Q Yes?
24 A No. I don't know what it was part of, but the concession                24 A Yes.
25 was made on that charge.                                                  25 Q And there's officers who escort people up and down?
         CMH OCR RMR CRR FCRR                                                           CMH OCR RMR CRR FCRR

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                Maragni - cross - Braverman            752                                   Maragni - cross - Braverman                754
 1 A    Yes.                                                                  1 to other members of the family?
 2 Q    So was the officer invited also to hold hands at this                 2 A   Yes.
 3 ceremony?                                                                  3 Q    Did he ultimately suggest to you directly or indirectly
 4 A    The officer -- I don't believe the officer was on the                 4 that you become a made member?
 5 elevator when we did it.                                                   5 A   No.
 6 Q    All right. Now how long have you known Allie Persico?                 6 Q    No? But you knew his family?
 7 A    I know him quite a few years. I know Allie 30 years.                  7 A   Yes.
 8 Q    So he's -- and you know he was charged with extremely                 8 Q    You knew him.
 9 serious crimes, correct?                                                   9         One of the things -- let me do a little quick
10 A    Yes.                                                                 10 summation here of these things.
11 Q    And you know that now because Dino was charged with                  11         When you pled guilty to the crimes, the credit card
12 extremely serious crimes, correct?                                        12 fraud case, what was your total sentence there?
13 A    Yes, I do.                                                           13 A   Five years.
14 Q    And you were at least charged with crimes, even though               14 Q    And how much of that did you do?
15 you weren't charged with the murder, you were charged with                15 A   I did -- I got what they called a note of action from the
16 serious offenses?                                                         16 parole board. Back in what they called old, old law, when you
17 A    Yes.                                                                 17 were sentenced to a term of incarceration, it was either
18 Q    So it's your testimony that three guys charged with                  18 one-third or two-thirds of the time you had to do.
19 murders were allowed to just travel on their own up and down              19         I was a first offender so the parole board came back
20 this elevator?                                                            20 with a notice of action and that meant do one-third of the
21 A    We weren't traveling on their own. When the elevator                 21 time.
22 stops, the officer would get out of the elevator and look to              22 Q    So that's 20 months out of a 60 month sentence?
23 see if anybody was through a door and then had to come back on            23 A   Yes, and you did the rest on parole.
24 to the elevator.                                                          24 Q    And then in your RICO conviction, how much time were you
25 Q    But there's a video camera there, right?                             25 sentenced to?
            CMH       OCR     RMR       CRR   FCRR                                        CMH     OCR      RMR      CRR     FCRR

                                                                   Page 82                                                                          Page 84
                Maragni - cross - Braverman            753                                Maragni - cross - Braverman            755
 1 A    Yes.                                                                  1 A 24 months.
 2        MR. BRAVERMAN: I call upon the government to                        2 Q And were you set back 85 percent?
 3 produce such a video if it exists.                                         3 A Probably 85 percent, yes.
 4 BY MR. BRAVERMAN:                                                          4 Q So at 24, you did about 20.
 5 Q    Back to the Army for a second, I -- in reviewing your                 5 A 20.
 6 notes, when you were in the Army in Viet Nam, were you in the              6 Q So twice, you've done about 20?
 7 military police?                                                           7 A Plus a three-year supervised release.
 8 A    Yes, I was.                                                           8 Q We'll get to that in a second. So twice you did about 20
 9 Q    Ironic, isn't it?                                                     9 months?
10 A    Yes. I was attached to the military police, yes.                     10 A Yes.
11 Q    When you got made into the family, did you alert them                11 Q And in this case, you did about two months?
12 that you were formerly a cop?                                             12 A About two months, yes.
13 A    They knew that. I wasn't a cop. I was attached to a                  13 Q Right? And in each of the other cases, I assume there
14 military police unit.                                                     14 was some suggestion to you that you might cooperate?
15 Q    What was your job with the military police?                          15 A They asked for help.
16 A    I was to escort convoys through the Hai Van Pass to Hue.             16 Q Right. Cooperate?
17 Q    Gerry Lang. Tell us who Gerry Lang was?                              17 A Yeah.
18 A    Gerry Langella.                                                      18 Q To use their language?
19 Q    Who was he?                                                          19 A Yes.
20 A    Gerry Langella was a friend of mine and a member of the              20 Q And both times, you said not a problem, not going to do
21 Colombo crime family.                                                     21 it?
22 Q    And was he the one who ultimately was an early mentor for            22 A Right.
23 you?                                                                      23 Q In this case, you said not a problem, I will do it?
24 A    Yes.                                                                 24 A Yes.
25 Q    And he was the one who introduced you -- did he introduce            25 Q After just two months?
            CMH       OCR     RMR       CRR   FCRR                                    CMH OCR RMR CRR FCRR

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              Maragni - cross - Braverman         756                                Maragni - cross - Braverman            758
 1 A Yes.                                                          1 A       Yes.
 2 Q Because you were certain this was not going to be some        2 Q       You were still associated with Allie Persico at this
 3 20-month bid?                                                   3 time?
 4 A Well, there was a whole bunch of circumstances that, that     4 A       Up until his arrest.
 5 caused me to do that.                                           5 Q       Up until his arrest. And that was when?
 6 Q A health issue?                                               6 A       I believe it was -- he was arrested in '98.
 7 A Somewhat.                                                     7 Q       And were these crew, were these other associated members,
 8 Q Had some family issues?                                       8 associated people or were they members?
 9 A Somewhat.                                                     9 A       They were associates.
10 Q And you knew you were sunk as the Titanic was?               10 Q       They were all associates. And did you kick up money from
11 A Well, I don't know what sunk means, but was I going to go    11 that endeavor?
12 to jail? Yes.                                                  12 A       No, I didn't.
13 Q Yes. You mentioned Club Sevilla before?                      13 Q       Did you collect money?
14 A Yes.                                                         14 A       Yes.
15 Q That was a legit business?                                   15 Q       How much did you collect?
16 A Yes.                                                         16 A       Approximately 100,000 maybe, 80,000.
17 Q Who were your partners in that?                              17 Q       And that all got kicked up to Allie Persico?
18 A I wasn't partners. I worked there.                           18 A       It was -- whatever I collected was given to him.
19 Q You just worked there?                                       19 Q       And even after he went to prison, you still continued
20 A Yes.                                                         20 to --
21 Q What did you do for them?                                    21 A       No.
22 A I was a marketing director.                                  22 Q       -- collect? You stopped?
23 Q How long was that?                                           23 A       I collected but I gave the money to other people.
24 A Approximately maybe a year, year and half.                   24 Q       And then 2000, you had your RICO case?
25 Q Had you already been inducted at that point or was it        25 A       Yes.
            CMH OCR RMR CRR FCRR                                                   CMH       OCR    RMR    CRR     FCRR

                                                        Page 86                                                                           Page 88
              Maragni - cross - Braverman         757                                Maragni - cross - Braverman            759
 1 pre?                                                         1 Q And this is when you first really learned about RICO, the
 2 A No, it was pre.                                            2 breadth of RICO?
 3 Q It was a long time ago?                                    3 A Yes.
 4 A Yes.                                                       4 Q You had a pretty broad first exposure to it, extortion,
 5 Q And the motorcycle shop you said was on and off for 8 to   5 wire fraud, shylocking, all those different things?
 6 9 years?                                                     6 A Well, I was charged with all the underlying crimes that,
 7 A Yes.                                                       7 that were on the indictment because they put me in a
 8 Q Back in the '80s?                                          8 supervisory position.
 9 A '90s.                                                      9 Q And that was one of the things you were debating about,
10 Q Early '90s?                                               10 whether or not you were properly a supervisor or not?
11 A '89 to '89.                                               11 A Yes.
12 Q And when did you get made?                                12 Q Because that's a big enhancement to be a leader?
13 A 2008.                                                     13 A Yes.
14 Q Were you associated with anybody at that time?            14 Q When you talked about a meeting at Barnes & Noble about a
15 A Yes.                                                      15 $25,000 debt, do you recall that?
16 Q Who was that?                                             16 A Yes.
17 A I was associated with Allie Persico and the Colombo       17 Q Who was the guy who was owed the debt or claimed that you
18 family.                                                     18 owed the debt to him?
19 Q Were you kicking up any of the money that you made from 19 A The guy, the original guy that claimed I owed the money
20 the motorcycle shop?                                        20 to him, his name was Tony Cioffe.
21 A No.                                                       21 Q Did he ultimately sell that debt to someone else?
22 Q When you say that you supervised a crew in south Florida, 22 A Well, he spoke to a friend of his, Joseph Lubrano.
23 what time period was that about?                            23 Q And he came to you, you had a sit-down to settle this
24 A From around '97 to '99.                                   24 one?
25 Q So it was about 10 years before you were made?            25 A Yes.
           CMH OCR RMR CRR FCRR                                           CMH OCR RMR CRR FCRR

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                 Maragni - cross - Braverman            760                                   Maragni - cross - Braverman           762
 1 Q    And they ultimately decided, I think your words yesterday              1 Q One of the things that I think you've told us is that the
 2 is that you didn't owe him the money?                                       2 Cosa Nostra requires rules.
 3 A    I didn't owe him the money, no.                                        3 A There are rules.
 4 Q    Was that just a rational kind of conclusion on their part              4 Q And these rules, you know, if there's no punishment, then
 5 as far as you can tell or was that because of your position in              5 there's really no rule, right?
 6 the family?                                                                 6 A Well, punishment varies.
 7 A    Well, at that time, I had no position with the family, I               7 Q But this guy wasn't punished at all?
 8 was an associate, and the $25,000 debt was disputed over a                  8 A Well, he was, he was, he was abused verbally and told to
 9 load of shrimp that was supposed to be delivered to me in                   9 mind his business and actually the words that we use is, I
10 Florida that never got there.                                              10 want you to sit in a corner and I don't want you to come out
11 Q    It was intercepted?                                                   11 of there, I want you to behave yourself, and that's what he
12 A    It wasn't intercepted. It was never sent.                             12 was told. And he was told that in front of five people or
13 Q    So why would they claim that you owe them the money?                  13 four people. That's enough to embarrass a man and de-pants
14 A    Well, what happened was they sent it to someone else and              14 him and that's all it took.
15 didn't pay them the money, and they thought that I had what to             15 Q All those guys were made guys?
16 do with it and we straightened it out and they knew I had                  16 A All the guys at the table, yes, were made guys.
17 nothing to do with it.                                                     17 Q One of the things that you talked about the other day was
18 Q    You had a conversation?                                               18 about Cutolo, is it Billy Fingers?
19 A    Yes.                                                                  19 A Yes.
20 Q    Who were you associated with at that time?                            20 Q Do you know how he lost that middle finger?
21 A    I was associated with Tommy Gioeli.                                   21 A Don't have any idea.
22 Q    You talked before about the Allie Russo wedding?                      22 Q He also was called Wild Bill, right?
23 A    Yes.                                                                  23 A Yes.
24 Q    Was Dino Saracino at that wedding?                                    24 Q Why was he called that?
25 A    No.                                                                   25 A I have no idea.
              CMH    OCR      RMR      CRR     FCRR                                      CMH OCR RMR CRR FCRR
                                                                    Page 90                                                           Page 92
                 Maragni - cross - Braverman            761                                   Maragni - cross - Braverman          763
 1 Q    You talked about meeting at La Palina restaurant?                      1 Q You don't know?
 2 A    Yes.                                                                   2 A No.
 3 Q    About a guy named Louie Cannoli?                                       3 Q Did you know him personally?
 4 A    Yes.                                                                   4 A Yes.
 5 Q    Great name.                                                            5 Q Let's talk about your conversation with Mr. Manzo that we
 6        And he was pretending to be made, right?                             6 heard played.
 7 A    Yes.                                                                   7         As far as you knew, he had no idea that you were
 8 Q    What was he doing that he was pretending to be made?                   8 taping?
 9 A    Well, he was passing himself off on the street as a made               9 A Correct.
10 member, and even to a few made members of other families, he               10 Q There was nothing that you said or did that would tip him
11 was trying to pass himself off.                                            11 off, that's your testimony, right?
12 Q    Either get money, get power, get respect, territory,                  12 A Correct.
13 whatever?                                                                  13 Q You were not videotaped during any of these encounters
14 A    Yes.                                                                  14 with Mr. Manzo, right?
15 Q    That's a severe violation of the rules?                               15 A I'm not sure.
16 A    Yes.                                                                  16 Q You've never seen a videotape of your encounters?
17 Q    That is punishable by stringent punishment kind of                    17 A No, I never knew if I was videotaped or not.
18 situation?                                                                 18 Q And when you had this particular one where you talked
19 A    Could be.                                                             19 about the gun gesture and mouthed the words, where did you
20 Q    All right. Such as?                                                   20 actually meet him at the time?
21 A    Such as anything.                                                     21 A I was outside LaRocca's Restaurant in Staten Island on
22 Q    Anything?                                                             22 Midland Avenue.
23 A    From a kick in the ass to --                                          23 Q Were you on the street side, parking lot side?
24 Q    The ultimate? And was he punished?                                    24 A I was on the street side.
25 A    No.                                                                   25 Q And when you did -- this is the not the only time that
              CMH    OCR      RMR      CRR     FCRR                                       CMH OCR RMR CRR FCRR

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                 Maragni - cross - Braverman            764                                  Maragni - cross - Braverman           766
 1 you either mouthed words or did hand gestures; you did this a              1        THE COURT: Okay.
 2 couple different times?                                                    2 Q One of the things that you had said, in some of your
 3 A    Right.                                                                3 conversations, sometimes you used, I'm not going to get into
 4 Q    Did you ever explain to anybody why you were having a                 4 it exactly, but you've used colorful language before?
 5 quiet conversation with somebody and then would do something               5 A Yes.
 6 that kind of suggested it's not a private conversation? Did                6 Q And sometimes you say some things to the people you're
 7 you ever have to explain that to anybody?                                  7 talking with, you want to gain their confidence?
 8 A    No.                                                                   8 A Yes.
 9 Q    Like if, if you and I were talking in a corner, we're                 9 Q You're trying to tell them about who you are as a person
10 leaning in, we're talking quietly. You did that to gain                   10 because if you talk about your life, they might talk more
11 people's confidence, right?                                               11 about theirs?
12 A    Yes.                                                                 12 A Correct.
13 Q    Because you wanted them to feel like they could talk to              13 Q Now, sometimes the people know about your background,
14 you?                                                                      14 they may know what you're saying is true or not true, right?
15 A    Yes.                                                                 15 A Yes.
16 Q    You didn't want them to know you were recording every                16 Q And sometimes all they have is your word whether that's
17 word?                                                                     17 true or not true, right?
18 A    That's correct.                                                      18 A That's correct.
19 Q    But sometimes you did other things like hand somebody a              19 Q Now, one of the things that you talked about -- you've
20 note?                                                                     20 heard your own tapes, by the way?
21 A    Yes.                                                                 21 A No.
22 Q    Did you ever have to explain that to anybody why you were            22 Q You have not heard them all?
23 doing something that seemed to undercut the rest of your                  23 A No.
24 chameleon work?                                                           24 Q But you were there when they were recorded because you
25 A    No. It was understood that if we were in a place that                25 were there?
              CMH    OCR      RMR     CRR      FCRR                                      CMH OCR RMR CRR FCRR
                                                                   Page 94                                                          Page 96
                 Maragni - cross - Braverman            765                                Maragni - cross - Braverman            767
 1 was suspect, there could be a suspected bug in the place, we               1 A I guess I'm on them.
 2 would pass a note or something like that. We would blame it                2 Q Yes?
 3 on the place that we were in.                                              3 A Yes.
 4 Q    But at this particular point with Mr. Manzo, you're now               4 Q So one of the conversations where you talk about tossing
 5 outside. There's not going to be a bug outside, right?                     5 the guy out a window, do you recall this one?
 6 A    That's correct.                                                       6 A Yes.
 7 Q    And, in fact, what's much more likely would be seen from              7 Q You said a couple of times to a couple of different
 8 a distance by some agent who's videotaping you as a gesture as             8 people how you threw a guy out the third floor window?
 9 opposed to a word, correct?                                                9 A Yes.
10 A    Correct.                                                             10 Q And he had the gall, the temerity to hit the awning on
11 Q    So what you were doing at that point would appear to be              11 the way down and live, right?
12 totally opposite what you were trying to convey to Mr. Manzo,             12 A Yes.
13 right?                                                                    13 Q And that you kicked him afterwards a couple of times,
14 A    I think if I would have asked him out loud did you shoot             14 right?
15 him, it would have, it would have tipped him off or, it's a               15 A Yes.
16 trigger.                                                                  16 Q Because he survived, which was kind of annoying, right?
17 Q    Your choice of words, but he also -- you had good                    17 A No.
18 conversation with him generally about the whole event?                    18 Q Oh, either way, this conversation about this guy, it's
19 A    Yes.                                                                 19 recorded on these tapes, right?
20 Q    One of the things, and you were down in Florida, go back             20 A I don't know.
21 to Florida for a second. You know what? I'm going to change               21 Q Well, you were there, right?
22 the point.                                                                22 A I was, I was -- I don't know if this conversation was
23          Let me ask you this --                                           23 recorded. I don't know. I don't know that there was a
24          THE COURT: Mr. Braverman, how are we doing on time?              24 recording of it, so ...
25          MR. BRAVERMAN: Less than 5.                                      25 Q Okay.
              CMH    OCR      RMR     CRR      FCRR                                     CMH OCR RMR CRR FCRR

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 1 A I never heard it. I never heard the recording.                   1 A Well, it's my hope, but that's not what going to happen.
 2 Q Okay. Let me ask about this.                                     2 It's ultimately up to the judge.
 3        Do you recall a conversation -- you walk around in          3 Q Oh, I understand that. But that's why there calls to
 4 Florida at some point and you have a conversation with             4 Curtis and you try to be as proactive as you can.
 5 somebody. Do you recall the words, you say, Cops in Florida        5 A That's what I agreed to do.
 6 are good kids, I could kill someone?                               6 Q And that's what you wanted to do?
 7        MS. GEDDES: Objection.                                      7 A Yes. Yes.
 8        THE COURT: Well --                                          8 Q Some of the information that you got about targets or
 9 Q Do you recall saying that?                                       9 things of that, when you had conversations with Agent Curtis
10        THE COURT: I'm not sure of the grounds of the              10 or any other law enforcement agent, did you discuss potential
11 objection.                                                        11 targets?
12        MS. GEDDES: Hearsay.                                       12 A I discussed people I was going to have appointments with.
13        MR. BRAVERMAN: His words.                                  13          (Continued on next page.)
14        THE COURT: Overruled.                                      14
15 Q Do you recall saying that, sir?                                 15
16 A I recall saying that. I was referring to a fellow that          16
17 was at a, he had a restaurant detail that he worked and he        17
18 basically stopped all trouble and didn't want to arrest           18
19 anybody or bother anybody.                                        19
20        It was an expression used, not fact.                       20
21 Q Because you hadn't killed anybody in Florida to test it?        21
22 A I haven't killed anybody anywhere.                              22
23 Q In some of your conversations -- let me ask you this.           23
24        Sal, Salvatore Vitale, do you know him?                    24
25 A No, I don't.                                                    25
            CMH OCR RMR CRR FCRR                                                  CMH OCR RMR CRR FCRR
                                                           Page 98                                                          Page 100
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 1 Q Do you know of him?                                              1 By MR. BRAVERMAN:
 2 A Yes, I do.                                                       2 Q Did you discuss people you could make appointments with
 3 Q You're familiar with the deal that he got in his case?           3 potential to target them?
 4 A Yes.                                                             4 A I discussed people I could make appointments with and
 5 Q What do you -- what do you understand that to be?                5 have conversations with.
 6         MS. GEDDES: Objection.                                     6 Q You discussed, for instance, with the FBI about this
 7         THE COURT: Overruled.                                      7 doctor that you talking with about some narcotics conspiracy?
 8 Q You can answer it.                                               8 A Yes.
 9 A I understand he walked away.                                     9 Q And that if you wanted to, you could follow up on and
                                                                     10 perhaps get some good information, right?
10 Q And didn't have to, quote, unquote, run away?
                                                                     11 A Yes.
11 A Exactly.
                                                                     12 Q The FBI was interested in that?
12 Q You said the words the other day, yesterday, about a 5K
                                                                     13 A Yes.
13 letter, if the letter is written strongly enough. Do you
                                                                     14 Q And so. Before you had gone in and tape-recorded a
14 recall saying that yesterday?
                                                                     15 conversation with that doctor, you had discussed the
15 A Yes.
                                                                     16 possibilities and parameters, how you would do that with the
16 Q And you're kind of, the sentence kind of trailed off.           17 FBI, right?
17         If the letter is written strongly enough, then what?      18 A Yes.
18 A If the letter is written strongly enough outlining my           19 Q And like some of the your other conversations, you had
19 cooperation and my other criminal activities, because both        20 discussed you might do topics you might talk about?
20 things have to be written in the 5K1, the Judge will take into    21 A Right.
21 consideration what I've done against all I've done and she'll     22        MR. BRAVERMAN: One second, Your Honor?
22 make the ultimate decision on what happens with me.               23        (Mr. Braverman and defense conferred)
23 Q You might get out of jail?                                      24 Q The one you said before about Allie Persico, but your
24 A Or I might not.                                                 25 claim was that in the elevator it was Mr. Russo; is that
25 Q Certainly that's your hope, right?                                                MARSHA DIAMOND, CSR
             CMH OCR RMR CRR FCRR                                                     OFFICIAL COURT REPORTER

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 1 right?                                                        1 didn't commit any of those crimes?
 2 A Yes.                                                        2 A That's right.
 3 Q I was mistaken when I said that?                            3 Q And like when you talk to somebody like Manzo and the
 4 A Yes.                                                        4 other people you spoke with, one of the things that you are
 5 Q But nevertheless, that is still your story that that        5 doing, you are trying to gain their sympathy, right, or at
 6 event happened?                                               6 least appear sympathetic to them, how about that?
 7 A Yes.                                                        7 A Yes.
 8 Q Last question about this. One of the things that you        8 Q You are trying to get them to talk about things you want
 9 certainly were aware of was that the FBI would be listening   9 them to talk about?
10 to your tapes?                                               10 A Yes.
11 A Yes.                                                       11 Q You want to overcome their resistance to talk about
12 Q And that the government would be listening to your tapes? 12 things?
13 A Yes.                                                       13 A Yes.
14 Q And so some of the things that you say on these tapes      14 Q And you want to kind of get that information, like in
15 like, for instance, one of the conversation we had that we   15 this one here I think is the -- it is the third one. You go
16 listened to -- I think it was the end of conversation number 16 on and on about whether or not Mr. Manzo was ever -- whether
17 one, you still have your binder up there with you?           17 or not he did something more than just move a body, right?
18 A Yes.                                                       18 A Where are you at there?
19 Q Sir, if you look at Tab One in the last page, page four    19 Q That one here. I'm talking about page six under Tab
20 --                                                           20 Number Three. We've already heard page seven. Essentially
21         MR. BRAVERMAN: Ladies and gentlemen of the jury, you21 you talk to him about what he did and what your opinion of
22 would do that as well.                                       22 that is, you are giving him your advice, your counsel, right?
23 Q (Cont'd): You can all see on this page there's a long      23 A Yes.
24 little speech here by you?                                   24 Q Part of what you are doing, because all the time you know
25 A Yes.                                                       25 you are being recorded, would you say it is fair to say that
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 1 Q You know the FBI is listening to you, right?                1 you were kind of trying to control this person?
 2 A Yes.                                                        2 A I was trying to get information.
 3 Q You know the government is listening to you, right?         3 Q To do that part of what you have to do is get some kind
 4 A Yes.                                                        4 control. Mr. Manzo appeared to be relatively nervous in this
 5 Q Trying to make nice-nice with government, right?            5 conversation, right?
 6 A Yes.                                                        6 A We were both nervous.
 7 Q So say nice things about them, you don't say, you know,     7 Q You were nervous about getting caught, he was nervous
 8 something personal about Mr. Curtis or the government agents, 8 about the situation, you are describing he was nervous about
 9 you say when this guy's coming, government's coming, right?   9 the situation, you were nervous about getting exposed to
10 You know they're listening to you?                           10 somebody wearing a wire?
11 A Well, it was also back, you know, when -- when there was 11 A I wasn't nervous about being exposed at that point.
12 something going on the FBI visited you and told you there's  12 Q So what is there to be nervous about on your part?
13 something going on and there's something coming down the pipe13 A Nervous in general about the whole situation.
14 here, so you want to help yourself. You know now's the time  14 Q You don't strike mean as a nervous guy.
15 to do it. They just didn't come blowing smoke.               15        THE COURT: Ask a question please.
16 Q So, certainly, when the FBI knocks on your door it is      16 Q One of the things you have going for you is charisma,
17 certainly just business, no doubt about?                     17 that is the successful part of your career?
18 A That is what I was referring to.                           18 A You say that.
19 Q No doubt about that, about whether, in fact, they had a    19 Q Your a charming guy?
20 -- the proof is a totally different situation, right, your   20 A Again, if you say so.
21 story is -- your own story is an example of that?            21 Q It helps in your line of work, right?
22 A They knocked on my door and months later I was locked up 22 A Does it heard? It doesn't hurt.
23 in that.                                                     23 Q It doesn't hurt?
24 Q That is this case, but you talked about a variety of       24 A And it could help.
25 other cases. Government knocked on the door and you say you 25 Q It could help. And it could help in a situation like
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 1 this with somebody who is nervous enough to be saying things
 2 like, Jesus Christ?
 3 A That's an expression for the last hundred years.
 4 Q Maybe 2000?
 5 A Maybe longer.
 6 Q But in this context that charism you had was able to help
 7 you get Mr. Manzo where you wanted him on the tape, right?
 8 A I am not so sure about all of this charisma you are
 9 talking about. I am sure there are other people that you could
10 talk to and they will tell you about my lack of charisma.
11        MR. BRAVERMAN: I am at the end.
12        Thank you very much.
13        No further questions.
14        THE COURT: Redirect.
15        MS. GEDDES: Yes Judge, but before I redirect, may
16 we have a brief side-bar?
17        (Continued on next page)
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 1                                                                 1 questions regarding individuals you referred to a Peter Risk,
                                                                   2 do you know an individual by that name?
                                                                   3 A No.
                                                                   4 Q You were questioned, however, about individuals who made
                                                                   5 secret recordings of you prior to your arrest in January 2011;
                                                                   6 is that right?
                                                                   7 A Yes.
                                                                   8 Q Was one of those individuals named Peter?
                                                                   9 A Yes.
                                                                  10 Q Do you know his last name?
                                                                  11 A No.
                                                                  12 Q In cross examination Mr. Perlmutter showed you your plea
                                                                  13 agreement.
                                                                  14        MS. GEDDES: I am showing the witness what's been
                                                                  15 marked for identification Government Exhibit 3500-RM-20.
                                                                  16 Q (Cont'd): I believe he asked you questions about various
                                                                  17 conversations that were listed in paragraph 12-A; is that
                                                                  18 correct (handing)?
                                                                  19 A Yes.
                                                                  20 Q In paragraph 12-A were you given an agreement by the
                                                                  21 government to not further prosecute for any crimes, other than
                                                                  22 those you were initially charged with in your indictment from
                                                                  23 January 2011?
                                                                  24 A No.
                                                                  25 Q And with respect to your August 2011 guilty plea, what
                                                                                     MARSHA DIAMOND, CSR
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 1       (The following took place in open court).                 1 did you plead guilty to?
 2 REDIRECT EXAMINATION.                                           2 A I pled guilty to racketeering and all underlying crimes
 3 BY MS. GEDDES:                                                  3 that were on the indictment.
 4       THE COURT: Ladies and gentlemen, we are going to          4 Q With one exception; is that right?
 5 wrap up soon. Now, I know it's been a long morning. We get      5 A Yes.
 6 you to lunch soon. Please stay focussed on testimony, as you    6 Q What was that? What didn't you have to plead guilty to?
 7 have been.                                                      7 A I didn't have to plead guilty to extorting Local 6A.
 8 Q Good afternoon.                                               8 Q That is the union?
 9 A Good afternoon.                                               9 A Yes.
10 Q Mr. Braverman asked you whether you had listened to or       10 Q On cross-examination you were also shown a variety of
11 whether you were aware the FBI was going to listen to your     11 handwritten notes, do you recall that?
12 recordings; is that correct?                                   12 A Yes.
13 A Yes.                                                         13 Q Do you write any of those notes?
14 Q Were you aware that the FBI was listening to the             14 A No.
15 recordings?                                                    15 Q Prior to today have you reviewed any of those notes?
16 A Yes.                                                         16 A No.
17 Q You were also aware the FBI conducted surveillance of        17 Q You were also shown various typewritten reports; is that
18 your meetings from time to time?                               18 right?
19 A Yes.                                                         19 A Yes.
20 Q Were you aware of when the FBI conducted surveillance?       20 Q Do you write any of those typewritten reports?
21 A No.                                                          21 A No.
22 Q Were you given advance notice that the FBI would be          22 Q And prior to today had you reviewed any of those type
23 conducting your surveillance on a particular day?              23 written reports?
24 A No.                                                          24 A No.
25 Q To clarify the record, Mr. Braverman asked you some          25 Q On cross examination you were asked various questions
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 1 about Special Agent Curtis; is that correct?                 1 A Yes.
 2 A Yes.                                                       2 Q And they had access to that?
 3 Q Have you met with other FBI, special agents, in the        3 A Yes.
 4 course of your cooperation with the government?              4 Q When you were on cross-examination -- defense attorney
 5 A Yes.                                                       5 spent some time on notes that you had passed during certain
 6 Q More than one?                                             6 conversations. Where were you when you passed those notes the
 7 A Yes.                                                       7 first time?
 8 Q How many?                                                  8 A I was at the Cafe Sportive (ph) in Florida and another
 9 A Four, five, six.                                           9 time I was at the -- my meat business in Seville (ph),
10 Q Have you met with those individuals on occasion without   10 Florida.
11 Special Agent Curtis?                                       11 Q Did you ever pass a note when you were not inside a
12 A Most of the times, yes.                                   12 particular building or location?
13 Q You were also asked about your use of cellular telephones 13 A No.
14 during the time of your proactive cooperation when you were 14 Q Did you ever pass a note in a location which could not
15 making secret recordings; do you recall those questions?    15 have been bugged or had a secret recording device there?
16 A Yes.                                                      16 A No.
17 Q As part of your cooperation did you agree to have certain 17 Q Did you ever pass note when you were outside talking to
18 cellular telephones recorded by the FBI?                    18 an associate?
19 A Yes.                                                      19 A No.
20 Q Were you also given permission not to have all your       20 Q You were also asked various questions about meetings that
21 telephones recorded?                                        21 may not have been -- where your recording may have
22 A Yes.                                                      22 malfunctioned?
23 Q What was your understanding of what you were to do with 23 A That's correct.
24 those telephones that were not recorded?                    24 Q Following your meeting, did you learn which meeting had
25 A Use it to speak to my family.                             25 been recorded and which meeting may not have been recorded due
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             Maragni - redirect/ Geddes               785                        Maragni - redirect/ Geddes        787
 1 Q You were asked some questions about a conversation that 1 to a malfunction?
 2 you had with Special Agent Curtis regarding what conversations 2 A I found out a few days later.
 3 you were to have while you were still wearing the recording     3 Q And did you ever learn whether any of these meetings with
 4 device, do you recall?                                          4 Vincent Manzo were not recorded due to a malfunction?
 5 A Yes.                                                          5 A No -- yes, one time, yes.
 6 Q And during those questions you started so say that it         6 Q Do you recall which meeting that was?
 7 wasn't in the context do you recall your answering that?        7 A We met at the Colony Diner. I was wearing a watch that
 8 A Yes.                                                          8 day.
 9 Q What was your understanding of how you were to report         9 Q And did you discuss Manzo's participation in the
10 what occurred during the meetings that you recorded?           10 transport of William Cutolo's body?
11 A What I was supposed to do is after my day was finished of 11            MR. BRAVERMAN: Objection; leading.
12 making recordings, I was to call the FBI or they would call me 12         THE COURT: Sustained.
13 on another phone and I would not have the recording device on 13 Q What did you discuss during that meeting that you later
14 my person being active. I was to be debriefed without the      14 learned that was not recorded?
15 recording device with me, and I think that's what Mr. Curtis   15 A I discussed -- we were talking about what his involvement
16 was getting at. Don't talk to me while the recording device is 16 was in the --
17 active. We will debrief you afterwards, so it is not part of   17 Q -- what --
18 the recordings.                                                18 A In the transport of Billy Cutolo's body.
19 Q And the information that you were being debriefed about, 19 Q And following the meeting, what did you learn about what
20 what was that information?                                     20 happened to the recording device?
21 A It was the information of what took place that day.          21 A I found out that it wasn't recorded.
22 Q That day, which was recorded itself?                         22 Q What did the FBI tell you to do?
23 A Yes.                                                         23 A Told me to make an appointment with Vincent Manzo and do
24 Q You provided the FBI with the device that made that          24 it all over again.
25 recording?                                                     25 Q Did you?
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 1 A Yes.                                                          1 Q On cross examination you were --
 2 Q You were also asked various questions about pauses on the 2            MS. GEDDES: Let me rephrase, Judge.
 3 recordings that you made of your conversations with Manzo, do 3 Q (Cont'd): On cross-examination you were also asked about
 4 you recall those questions?                                     4 a recording on which Manzo said Dino's the main guy that can
 5 A Yes.                                                          5 put you there, do you recall that?
 6 Q You listened to at least some of your conversations with      6 A Yes.
 7 Vincent Manzo; is that correct?                                 7 Q And when I say you, I am actually referring to Manzo,
 8 A Yes.                                                          8 that can put me there. Mr. Perlmutter asked you about that,
 9 Q How did Vincent Manzo speak generally when you talked to 9 right?
10 him about his participation in the transport of Cutolo's body? 10 A Yes.
11       MR. PERLMAN: Objection?                                  11 Q Did you have any conversations with Gioeli about Dino?
12       THE COURT: Overruled.                                    12 A Yes.
13 A I am not sure what you mean.                                 13        MR. PERLMAN: Objection.
14 Q Did he speak up, did he speak loudly?                        14        THE COURT: It is not related to the tape.
15 A He was -- he whispered. He was whispering and then           15        MS. GEDDES: It is related.
16 sometimes when we were outside he would just speak, so it      16        THE COURT: Let's have a side-bar.
17 varied where were. If we were indoors he would whisper, if he 17         (Continued on next page)
18 were outdoors he would talk.                                   18
19 Q You met with Luca DiMatteo on November 23, 2011; is that 19
20 correct.                                                       20
21 A Yes.                                                         21
22       MR. PERLMAN: Objection beyond the scope?                 22
23       THE COURT: There was so much cross I really I can't 23
24 remember. I am going to allow it.                              24
25 Q Who else was present at that meeting?                        25
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 1 A Myself, Luca DiMatteo, Vincent Manzo Junior, Vincent
 2 Manzo Senior and Lenny Jr.
 3 Q And did you tell any of these individuals that you were
 4 wearing a wire?
 5 A No.
 6 Q Why not?
 7 A I didn't want to be found out that I was wearing a
 8 wire --
 9 Q -- did you ever have --
10 A -- no.
11         MS. GEDDES: One moment.
12         (Ms. Geddes and government conferred)
13 Q On cross examination Mr. Perlmutter referenced an
14 individual named Dino who is talked about on several of those
15 recordings, do you recall?
16 A Yes.
17 Q You responded he never met you?
18 A I never met the Dino he is referring to, no.
19 Q Have you ever had a conversation with Tommy Gioeli about
20 that individual Dino?
21 A Yes.
22 Q What did Gioeli say about Dino?
23         MR. PERLMAN: Objection; beyond the scope?
24         THE COURT: I am not seeing where that is going,
25 Ms. Geddes.
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 1                                                                 1      MR. PERLMAN: Judge, I am not going to have any
                                                                   2 cross.
                                                                   3        THE COURT: Anything, Mr. Braverman?
                                                                   4        MR. BRAVERMAN: No, Your Honor.
                                                                   5        Thank you.
                                                                   6        THE COURT: You may step down.




10 BY MS. GEDDES:
11 Q Mr. Maragni, just to clarify the record, and I am not
12 going to continue along this line of questioning, but when I
13 was referring to Dino and you testified about Dino, you were
14 not referring to Dino Saracino, were you?
15 A No, I wasn't.
16 Q You previously testified about a meeting that you had
17 with Mr. Gioeli at the Mirage nightclub, do you recall that?
18 A Yes.
19 Q A dinner you had there?
20 A Well, we went out, we had a few drinks.
21 Q Without disclosing the nature of the event, was there an
22 event that night at the Mirage while you were there?
23 A Yes.
24        THE COURT: Don't tell us what the event was.
25        THE WITNESS: It was --
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 1        THE COURT: Don't tell us what the event was.
 2        THE WITNESS: Oh, don't.
 3        THE COURT: Was there an event?
 4        THE WITNESS: Yes.
 5 Q Without naming the particular group that had the event
 6 there, what type of group or what -- give me one moment,
 7 Judge.
 8        MR. PERLMAN: She can lead on this one.
 9        MS. GEDDES: Okay. One moment.
10        THE COURT: Without telling the us the names, did
11 this involve a TV show?
12        THE WITNESS: There were celebrities.
13        THE COURT: Just tell us did it involve a TV show?
14        THE WITNESS: Yes.
15        THE COURT: Individuals of a cast of a TV show?
16        THE WITNESS: Yes.
17        THE COURT: Anything else?
18        MS. GEDDES: No further questions.
19        Thank you.
20        MR. PERLMAN: There is some recross but do you want
21 to take a break now?
22        THE COURT: How long can the recross be? She is out
23 there for five minutes.
24        MR. PERLMAN: Very, very short.
25        THE COURT: Let's do it and get him off.
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